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                   Exhibit 9-1
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              IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
                FOR THE THIRTIETH JUDICIAL CIRCUIT AT MEMPHIS


   ACUMENT GLOBAL TECHNOLOGIES,
   INC.                                        DOCKET NO. _______________

                            Plaintiff,         DIVISION:
         v.

   MALLINCKRODT ARD, INC.,                     JURY TRIAL DEMANDED
   Formally known as QUESTCOR
   PHARMACEUTICALS, INC.;

   MALLINCKRODT PLC;

   EXPRESS SCRIPTS HOLDING
   COMPANY;

   EXPRESS SCRIPTS, INC.;

   CURASCRIPT, INC., doing business as
   CURASCRIPT, SD;

   PRIORITY HEALTHCARE CORP. AND
   PRIORITY HEALTHCARE
   DISTRIBUTION, INC., doing business as
   CURASCRIPT SD AND CURASCRIPT
   SPECIALTY DISTRIBUTION SD,
   respectively;

   ACCREDO HEALTH GROUP, INC.;

   UNITED BIOSOURCE CORPORATION;

   and

   JAMES A. TUMLIN. M.D.

                            Defendants.


                                         COMPLAINT
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                                           COMPLAINT

         Acument Global Technologies, Inc. (“Acument” or “Plaintiff”) alleges as follows:

                                     NATURE OF THE CASE

         1.      Acument brings this action to challenge the anti-competitive, unfair and deceptive

  scheme and conspiracy by Defendants, Mallinckrodt ARD Inc., formally known as Questcor

  Pharmaceuticals, Inc. (“Questcor”) and its parent company, Mallinckrodt plc (collectively

  “Mallinckrodt”), as well as Mallinckrodt’s exclusive agent for the delivery of its principal

  product, Express Scripts Holding Company (“ESHC”) and Express Scripts, Inc.

  (“ESI”)(collectively “Express Scripts”), including their wholly-owned subsidiaries, CuraScript,

  Inc., doing business as CuraScript SD, formerly known as CuraScript Pharmacy, Inc.,

  (“CuraScript”), Priority Healthcare Corp. and Priority Healthcare Distribution Inc. (“Priority”)

  also doing business as CuraScript SD (collectively, “CuraScript SD”), Accredo Health Group,

  Inc. (“Accredo”), and United BioSource Corporation n/k/a United BioSource LLC

  (“UBC”)(collectively referred to as the "Express Scripts Entities") and one of Mallinckrodt’s

  principal medical provider advocates, James A. Tumlin, M.D. (“Dr. Tumlin”).

         2.      The anticompetitive scheme alleged herein sought to maintain and enhance

  Mallinckrodt’s monopoly power in the U.S. market for adrenocorticotropic hormone (ACTH)

  drugs, and to fix the prices of ACTH drugs, in violation of the Tennessee antitrust laws. The

  Defendants named herein conspired and agreed with one another to defraud patients and payors,

  like Acument, by overcharging them for Acthar when there existed other equally or more

  efficacious, and cheaper, treatments for the disease states for which Acthar was marketed,

  prescribed and sold.




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         3.      Mallinckrodt manufactures, markets, distributes and sells H.P. Acthar, NDC Nos.

  63004-8710-01 and 63004-7731-01 (“Acthar”). Acthar is the only therapeutic ACTH product

  sold in the United States. Mallinckrodt is the sole provider in the U.S. of approved ACTH drugs.

  Thus, Mallinckrodt is a monopolist.

         4.      Mallinckrodt acquired its ACTH monopoly in 2001 when Questcor purchased

  Acthar from Aventis for $100,000. By 2014, when Mallinckrodt purchased Questcor, the value

  of that Acthar monopoly was $5.9 billion—the price paid for the single-product company.

         5.      This case does not seek to challenge the lawfulness of Mallinckrodt’s monopoly.

  It seeks to challenge the lawfulness of Mallinckrodt’s exercise of its monopoly power, in

  conjunction with its co-conspirators, by taking actions to maintain and enhance that monopoly

  power, and to fix prices, in violation of the Tennessee antitrust laws.

         6.      The Tennessee antitrust laws permit indirect purchasers like Acument to recover

  for such unlawful conduct.

         7.      The issue is not whether Mallinckrodt possessed monopoly power in the ACTH

  market. It is whether Mallinckrodt’s actions in 2007 to contract with the agent of its leading

  customers, Express Scripts, in order to limit distribution, and to raise and fix the prices of Acthar

  above competitive levels, was unlawful.

         8.      Years later, in 2013, armed with this enhanced monopoly power through its direct

  agreements with Express Scripts, Mallinckrodt then further enhanced its monopoly power by

  acquiring the only competitive product in the marketplace, Synacthen. Express Scripts did not

  push back on behalf of its clients, the third party payors who, like Acument, pay vast sums for

  specialty medications for their employees and their families. Express Scripts brought no

  pressure against Mallinckrodt to either bring Synacthen to market or to lower Acthar prices.



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  Instead, Express Scripts continued to work with Mallinckrodt to preserve and protect the Acthar

  monopoly and price fixing scheme.

            9.    Acthar is a “specialty pharmaceutical”. It is not sold in retail pharmacies, nor is it

  distributed through wholesalers to retail pharmacies, as with most prescription drugs. Instead, it

  is distributed only through “specialty pharmacy distributors”.

            10.   While there are dozens of specialty pharmacy distributors in America, one of the

  largest is Express Scripts’ CuraScript, including CuraScript SD, which Express Scripts has

  owned since 2004.

            11.   In 2007, Mallinckrodt decided to embark on a self-described “new strategy”, and

  it changed its distribution of Acthar as part of such strategy. Express Scripts was critical to the

  success of this new strategy. Rather than continue to distribute Acthar to the existing distribution

  network available for specialty drugs, Mallinckrodt chose to limit Acthar distribution exclusively

  through Express Scripts’ CuraScript SD. In effect, Mallinckrodt contracted with the agent of its

  leading customers in order to create an exclusive arrangement whereby both companies would

  share the financial rewards of the Acthar monopoly and resulting price fixing agreement.

            12.   As described more fully below, this “new strategy” involved the implementation

  of actual, written agreements, signed by both Mallinckrodt and Express Scripts, by which

  Express Scripts was granted exclusive specialty distribution of Acthar in exchange for its

  agreement to allow Mallinckrodt to raise the prices of Acthar to exorbitant, non-competitive

  levels.

            13.   Immediately after signing the exclusive agreements in the summer of 2007,

  Mallinckrodt and Express Scripts jointly agreed in writing to raise and fix the average wholesale

  prices (“AWPs”) paid for Acthar by employers like Acument from $2,062.79 per vial to



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  $29,086.25, more than a 1,300% increase in the cost of Acthar in the span of a month.

         14.     As a result, this exclusive arrangement, Mallinckrodt was able to charge inflated

  prices for Acthar to all direct purchasers of Acthar, through Express Scripts acting as the

  “pharmacy benefits manager” or “PBM” of such direct purchasers, as well as all indirect

  purchasers of Acthar, like Acument, who purchase Acthar through a different PBMs.

         15.     While Acument initially utilized Express Scripts as its PBM when its beneficiary

  was started on Acthar in 2011, it switched to CVS/Caremark in 2015-2016, when it began being

  charged by Defendants for the Acthar.

         16.     In December 2015 Acument started paying for Acthar. Acument was charged a

  price based upon the AWP for Acthar. By that time, Mallinckrodt and Express Scripts had

  jointly agreed to raise the AWP for Acthar to over $40,000.00. In other words, these Defendants

  jointly agreed to raise the price paid by patients and payors, like Acument, from $40.00 in 2001

  to over $40,000.00 in 2015. Working with their provider partner, Dr. James Tumlin, the

  Defendants collectively were able to charge patients and payors in Tennessee this inflated AWP,

  and were able to reap monopoly profits from their scheme.

         17.     In the case of Acument, over the 13-month period between December 2015 and

  December 2016, Acument and its beneficiary spent $894,617.75 for just 13 prescriptions of

  Acthar given to the spouse of one of Acument’s employees. The employee’s co-pay was

  $200.00 per prescription, meaning the employee paid $2,600.00 for the 13 doses. Acument paid

  the full balance, $892,017.75.

         18.     Acument brings this lawsuit to obtain declaratory and injunctive relief, in order to

  have the conduct of Defendants declared unlawful and to enjoin such unlawful conduct going

  forward to arrest the scheme and to prevent a recurrence of the overcharges. Acument also seeks



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  to recover money damages for its past overcharge payments, including “the full consideration or

  sum paid” by it for Acthar, pursuant to Tennessee Trade Practices Act (“TTPA”), Tenn. Code. §

  47-25-106. Acument seeks recovery of its ascertainable loss of money expended in the

  payments for Acthar pursuant to Tennessee Consumer Protection Act (“TCPA”), Tenn. Code. §

  47-18-109(a)(1). Acument seeks compensatory damages pursuant to the Tennessee common law

  of unjust enrichment, fraud, conspiracy to defraud and aiding and abetting. Finally, Acument

  seeks punitive damages for the Defendants’ willful, outrageous and reckless conduct.

                                   JURISDICTION AND VENUE

         19.     This Court has personal jurisdiction over the parties because most of the

  Defendants are located in and conduct substantial business in this State, are registered to do

  business in this State, have had systematic and continuous contacts with this State, and have

  agents and representatives that can be found in this State.

         20.     Venue is proper in this Court because Defendants CuraScript SD, Accredo and

  UBS are all situated in this County, and the other Defendants transact business in this County.

  Venue is also proper pursuant to TTPA § 47-18-109(a)(2) because the alleged unfair or deceptive

  acts or practices took place, are taking place, and will continue to take place in this County

  unless abated by the declaratory and injunctive relief requested herein is granted.

         21.     Acthar is sold in both interstate and intrastate commerce, and the unlawful

  activities alleged in this Complaint have occurred in, and have had a substantial effect upon, the

  intrastate commerce of Tennessee.

         22.     In fact, the Defendants’ contacts both with and within this State have been to such

  degree that the anticompetitive conduct alleged herein has affected Tennessee trade and

  commerce to a substantial degree, as described more fully below.



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                                           THE PARTIES

                                            PLAINTIFF

         23.     Acument Global Technologies, Inc. (“Acument”) is a Delaware corporation

  which employs individuals in 12 locations in the United States and Mexico, including in

  Spencer, Tennessee. Specifically, Acument has a corporate office located 502 Industry Drive,

  Spencer, Tennessee 38585.

         24.     Acument provides healthcare benefits to its employees through Blue Cross Blue

  Shield of Michigan (“BCBS Michigan”). In 2011, BCBS Michigan provided prescription drug

  benefits to Acument through its contracted PBM, Medco. In July 2011, Medco was acquired by

  Express Scripts, along with Accredo and United BioSource. As of that date – which was the

  same year that Acument had one of its beneficiaries placed on Acthar – Express Scripts was

  Acument’s PBM. In 2015 and 2016, Acument contracted with a different PBM, CVS/Caremark.

         25.     The spouse of one of Acument’s employees [hereinafter referred to as the

  “Patient” to protect the patient’s HIPAA privacy rights] was treated by Defendant Dr. James A.

  Tumlin, of Chattanooga, Tennessee, during the time that Dr. Tumlin was serving as a paid

  consultant for Mallinckrodt. Specifically, in 2011, Dr. Tumlin prescribed Acthar to the Patient,

  but Acument was not charged for it. Then, between December 2015 and December 2016, Dr.

  Tumlin again prescribed Acthar to the Patient. This time, Acument was charged and it paid

  $894,617.75 for Acthar at cost of $68,816.75 per prescription, while the Patient paid co-pays of

  $200 per prescription at a total cost of $2,600. Acument paid the inflated price for Acthar as set

  by Mallinckrodt and Express Scripts and as charged by Dr. Tumlin. As explained more fully

  herein, these exorbitant charges were based upon the inflated AWPs established by Mallinckrodt

  and Express Scripts, causing Acument to suffer antitrust injury.



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                                           DEFENDANTS

         26.     Questcor Pharmaceuticals, Inc. (“Questcor”) was acquired by Mallinckrodt on

  August 14, 2014 for $5.9 billion, after Questcor had paid only $100,000 for Questcor’s lone

  product Acthar 13 years earlier.

         27.     Following the acquisition, Questcor became a wholly-owned subsidiary of

  Mallinckrodt and its name was changed to Mallinckrodt ARD Inc (“Mallinckrodt ARD”).

  Defendant Mallinckrodt ARD is a biopharmaceutical company incorporated in California, with

  offices located at 675 McDonnell Boulevard, Hazelwood, Missouri 63042, 26118 Research

  Road, Hayward, California 94545 and 1425 U.S. Route 206, Bedminster, New Jersey 07921.

         28.     At the time of the Mallinckrodt acquisition of Questcor in 2014, Mallinckrodt

  ARD’s only product sold in the United States was Acthar. Since the acquisition, Mallinckrodt

  has continued to manufacture, distribute, market and sell Acthar directly to patients, exclusively

  through Express Scripts, by a program known as the “Acthar Support and Access Program”

  (“ASAP”) described more fully below.

         29.     Defendant Mallinckrodt plc (“Mallinckrodt plc”) is an Irish public limited

  company, with its corporate headquarters in Staines-upon-Thames, United Kingdom. Its

  principal executive offices are located at 3 Lotus Park, the Causeway, Staines-upon-Thames,

  Surrey, TW18 3 AG.

         30.     Where appropriate, Mallinckrodt plc and Mallinckrodt ARD are collectively

  referred to as “Mallinckrodt”.

         31.     Defendants Express Scripts, Inc. (“ESI”) and Express Scripts Holding Company

  (“ESHC”) are Delaware corporations with their principle executive offices located at 1 Express

  Way, Saint Louis, Missouri 63121 and Century Center Drive, Memphis, Tennessee (collectively,



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  “Express Scripts”).

         32.     Defendants Priority Healthcare Corp. and Priority Healthcare Distribution Inc.

  (“Priority”) d/b/a CuraScript SD (collectively, “CuraScript SD”), are wholly-owned subsidiaries

  of Express Scripts. Priority/CuraScript SD has maintained corporate offices at 1680 Century

  Center Parkway, Memphis, Tennessee 38134-8827.

         33.     Defendant CuraScript, Inc., d/b/a CuraScript SD, f/k/a CuraScript Pharmacy, Inc.,

  is a wholly-owned subsidiary of Express Scripts. ESHC acquired CuraScript in January 2004.

  Its operation was expanded when ESHC acquired Priority in October 2005 and combined it with

  CuraScript. The combined Priority and CuraScript SD (collectively “CuraScript”) became one

  of the nation’s largest specialty pharmacy and distribution companies with more than $3 billion

  in annual revenue.

         34.     CuraScript is an Indiana corporation with corporate offices located at 255

  Technology Park, Lake Mary, Florida 32746. This is the same Florida address patients are

  required to mail any revocation of the broad authorization granted by patients to Mallinckrodt

  and Express Scripts via the Acthar Start Form (see, Exhibit “A” hereto). CuraScript has been

  Mallinckrodt’s exclusive specialty pharmacy distributor for Acthar since 2007.

         35.     Significantly, Express Scripts chose to end this exclusive distribution relationship

  in September 2017 only after it was sued for antitrust in 2017 by the City of Rockford, Illinois.

         36.     Defendant Accredo Health Group, Inc. (“Accredo”) is a wholly-owned subsidiary

  of Express Scripts. Accredo became a wholly-owned indirect subsidiary of Medco Health

  Solutions, Inc. (“Medco”) on August 18, 2005, months before Express Scripts acquired Priority,

  and then became part of Express Scripts when Express Scripts acquired Medco in 2012. At that

  time, Medco became a wholly owned subsidiary of ESHC.



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         37.     Accredo is a Delaware corporation with its corporate headquarters at 1640

  Century Center Parkway, Memphis, Tennessee 38134 and a business location at 201 Great Circle

  Road, Nashville, Tennessee 37228. Accredo also has operations in Warrendale, Pennsylvania;

  Corona, California; Greensboro, North Carolina; Orlando, Florida; and Indianapolis, Indiana.

         38.     Defendant United BioSource Corporation n/k/a United BioSource LLC (“UBC”)

  is a Delaware corporation with its corporate headquarters at 920 Harvest Drive, Blue Bell,

  Pennsylvania 19422 and a business location at 1670 Century Center Drive, Memphis, Tennessee.

  UBC was a wholly-owned subsidiary of Express Scripts from 2012, when it was acquired by

  Express Scripts as part of the Medco merger, until November 2017, when Express Scripts

  announced that it sold UBC to Avista Capital Partners, a private equity firm.

         39.     UBC is a wholly owned subsidiary of United BioSource Holdings, Inc., the

  interests of which are held by and through various privately held intermediary entities, which are

  ultimately owned by private investment funds sponsored by and/or affiliated with Avista Capital

  Partners and as-yet-unknown individuals associated with Avista Capital Partners.

         40.     UBC is described as Mallinckrodt’s “agent” on the Acthar Start Form (see Exhibit

  “A” hereto) which Mallinckrodt employs exclusively to operate the ASAP program and to

  manage the Express Scripts Entities’ exclusive distribution, sales and reimbursement of Acthar

  by its 3 operating arms, CuraScript, Accredo and Express Scripts.

         41.     UBC provides customer support and reimbursement support for Acthar as the

  “HUB” of Express Scripts’ three operating arms, CuraScript (providing specialty distribution

  services), Accredo (providing specialty pharmacy services) and Express Scripts (providing

  pharmacy benefit management services).

         42.     Defendant James A. Tumlin, M.D. (“Dr. Tumlin”) is a physician who specializes



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  in nephrology and is associated with Nephrology Associates of Chattanooga located at 2300 E.

  3rd Street, Chattanooga, Tennessee.

         43.     Dr. Tumlin is founder and medical director of Southeast Renal Research Institute

  (SERRI) since 2005. The institute was brought to Chattanooga in 2008 and merged with

  Nephrology Associates’ Research Department.

         44.      Dr. Tumlin is one of Defendant Mallinckrodt’s principal medical providers and

  key opinion leaders (“KOLs”). He has been paid hundreds of thousands of dollars for his work

  on behalf of the company.

         45.     Dr. Tumlin was the treating physician for one of Acument’s employee’s spouse.

         46.     As stated in Paragraph 1 above, ESI, ESHC, CuraScript, Accredo and UBC are

  collectively referred to herein as “Express Scripts”.

         47.     Mallinckrodt and Express Scripts are collectively referred to herein as

  “Defendants”, as appropriate.

         48.     The Defendants’ acts alleged in this Complaint to have been done by each of the

  Defendants were authorized, ordered, done and/or ratified by their respective officers, directors,

  agents, employees or representatives while engaged in the management, direction, control or

  transaction of their respective business affairs.

                                     FACTUAL BACKGROUND

         49.      “I have a Cadillac in my refrigerator.” That is how one Acthar patient named

  Sharon Keller described an unused 5-ml vial of the medication sitting in her kitchen refrigerator.

         50.     The tale of how a 65 year-old brand medication could rise in price from $40 per

  vial in 2001, to $40,840.80 per vial by 2015, raising that value of the brand from $100,000 to

  $5.9 billion, is a story of perhaps the most egregious fraud and monopolistic conduct in U.S.



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  history by a prescription drug company.

         51.     The issue in this case is how Mallinckrodt achieved such a startling outcome.

                    History of Acthar Development, Distribution and Pricing

                                        Acthar Development

         52.     Acthar was approved by the Food and Drug Administration (“FDA”) in 1952 for

  over fifty conditions, ranging from alcoholism, poison ivy, and radiation sickness to nephrotic

  syndrome. Over time, with additional evidence-based requirements for prescription drugs, the

  list was winnowed to the fewer, present-day nineteen indications.

         53.     Acthar is adrenocorticotropic hormone (“ACTH”), which causes the body to

  produce cortisone and other steroid hormones. Two Mayo Clinic researchers, Drs. Philip Hench

  and Edward Kendall, developed the treatment, which won them the Nobel Prize for medicine at

  the time it was developed. Acthar was developed by Armour Pharmaceutical Company. As

  described by the Seventh Circuit in Armour & Co. v. Wilson & Co., 274 F.2d 143, 145-46 (7th

  Cir. 1960):

                 In a human being, . . . (ACTH) appears in the anterior lobe of the
                 pituitary gland located at the base of the brain. When the human
                 body is under stress or attacked by certain diseases, control centers
                 in the brain excite the pituitary, and the pituitary secretes ACTH.
                 In the blood stream the ACTH thus secreted is carried to the
                 adrenal glands situated in the human body above the kidneys. As
                 the ACTH hits the outer wall of the adrenal glands, it stimulates
                 the adrenals to produce a set of chemical substances such as
                 steroids, including the hormones, cortisone and hydrocortisone.

                 The cortisone hormones then act in the tissues of the body to
                 suppress inflammations and allergic reactions. ACTH thus is used
                 to relieve such conditions as rheumatoid arthritis and allergies.
                 ACTH does not, itself, directly attack disease. However, it
                 stimulates the adrenals which produce more than twenty-eight
                 steroids, and these hormones attack the diseased tissues. When the
                 human body itself does not supply sufficient ACTH,
                 pharmaceutical ACTH can fill the gap.


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         54.     By the 1960s, injectable ACTH medications faced a variety of competing

  products. See id. at 145 (“Both Armour and Wilson manufacture and sell gelatin-ACTH

  preparations . . . . Gelatin-ACTH now constitutes more than 80% [o]f all forms of ACTH

  products sold by Armour and Wilson. Other companies . . . produce similar products”).

         55.     For the majority of the drug’s lifespan, however, generic corticosteroids, such as

  prednisone, effectively treated the majority of the indications for which Acthar was approved.

  That factor tended to limit the market for Acthar to treating infantile spasms (“IS”) which was

  originally an “off-label” indication. Consequently, because of the limited, off-label market for

  Acthar, by 2001, the drug was priced at $40 per vial and accounted for less than a million dollars

  of revenue for Aventis Pharmaceuticals, Inc. (“Aventis”), the then-owner.

         56.     In 2001, Questcor acquired Acthar from Aventis for only $100,000, but in 2014

  Mallinckrodt acquired Questcor for $5.9 billion.

         57.     Acthar’s value was limited because it was the “gold standard” for treating only

  one condition, infantile spasms (“IS”). IS is a serious condition in infants, but one with an

  annual patient population of less than 2,000 children per year. However, Acthar was not

  originally approved by the FDA to treat IS, further limiting its value. In 2010, the IS indication

  was approved by the FDA, and orphan drug status was granted.

        Acthar Distribution: Mallinckrodt Adopts a "New Strategy" to Restrict Acthar
           Distribution to Maintain and Enhance its Monopoly Power over Acthar

         58.     Acthar is a specialty pharmaceutical distributed directly to patients, like the

  beneficiary Patient of Acument in this case.

         59.     For decades, Acthar was distributed to any doctor, hospital, wholesaler or

  specialty pharmacy who requested the drug to treat seriously ill patients. After Questcor

  acquired the rights to Acthar, it initially maintained that broad distribution network.


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         60.     However, on July 2, 2007, Mallinckrodt restricted its distribution from three

  wholesalers, termed Wholesalers “A”, “B”, and “C” in its 2007 10-K, to just Express Scripts, the

  agent of its largest customers. Mallinckrodt’s announcement stated, “[e]ffective August 1,

  2001, Acthar…will be available exclusively through Specialty Pharmacy Distribution.

  Acthar Gel will no longer be available from traditional pharmaceutical wholesalers or retail

  pharmacies.” See July 2, 2007, “Urgent Product Alert H.P. Acthar Gel” (attached to the

  Complaint at Exhibit “B”). All distribution would now be done exclusively through CuraScript.

  Mallinckrodt directed that “all new Acthar Gel prescriptions should be submitted to the Acthar

  Support & Access Program.” Id. From that point on, all aspects of Acthar distribution were

  handled by the Express Scripts Entities.

         61.     The goal of this “new strategy” was to lock patients into receiving Acthar through

  one distribution channel controlled by Mallinckrodt and the Express Scripts Entities, and to

  ensure prescription distribution and payment through one source, Express Scripts Entities.

  Mallinckrodt has maintained this exclusive arrangement with the Express Scripts Entities since

  2007 up through at least September 2017 when the Express Scripts Entities claim that CuraScript

  SD “is no longer the exclusive distributor of Acthar”.

         62.     Of course, Mallinckrodt and the Express Scripts Entities were sued for antitrust in

  April 2017 by the City of Rockford, and thus apparently only ended the “exclusive distribution”

  aspect of their unlawful arrangement in response to such claims. However, other aspects of their

  unlawful arrangement remain, including their use and employment of the ASAP, which

  continues to be operated by their self-described “HUB”, UBC, as described more fully below.

  As a result, declaratory and injunctive relief continues to be required in this case to eradicate the

  harmful effects of Defendants’ unlawful conduct moving forward.



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         63.      Mallinckrodt’s “new strategy” was the brainchild of Greg LaPointe, a member of

  the Questcor Board of Directors and former Chief Executive Officer of Sigma-Tau

  Pharmaceuticals, the largest shareholder in Questcor in the early 2000s, and Steve Cartt,

  Questcor’s Chief Operating Officer and Executive Vice-President in charge of sales and

  marketing of Acthar. LaPointe also served as a member of the Corporate Council of the National

  Organization for Rare Diseases (“NORD”), which served as an important player in

  Mallinckrodt’s scheme to minimize resistance and pushback by patients and physicians to

  Acthar’s higher prices by serving as a leading distributor of free Acthar supplied by Mallinckrodt

  to patients who could not afford to pay the newly established monopoly prices.

         64.      LaPointe and Cartt approached then-Questcor Board member Don Bailey to

  garner his support for the new strategy. Their “offline” discussions did not sit well with

  Questcor’s President and CEO at the time, James L. Fares.

         65.      In February 2005, Mr. Fares was appointed President and CEO of Questcor by the

  Board of Directors. According to Albert Hanson, the Chairman of the Board, “the Board sought

  an accomplished pharmaceutical executive with substantial expertise in selling and marketing

  pharmaceutical products.” Chairman Hanson further explained the selection of Feres as follows:

               [T]he Board assessed each candidate's track record and capability to
               think creatively about Questcor's business. Such skills are critical in
               developing and executing a successful long-term strategy for a
               specialty pharmaceutical business. We looked for a talented executive
               who understood the specialty pharmaceutical market and had
               demonstrated the leadership skills necessary to create shareholder
               value. We believe that in Jim Fares we have found that executive. His
               successful track record in sales, marketing, business development, and
               general management, coupled with his energy and enthusiasm for
               pharmaceuticals, convinced us that we had found the right individual
               to lead Questcor.

         66.      Prior to joining Questcor, Feres held senior management positions at Merck,


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  Athena Neurosciences and Elan Pharma. He founded and served as Sr. Vice President of

  Commercial Operations at Xcel Pharmaceuticals from 2001 – 2003. In his last position, he

  served as CEO and President of FGC Pharm/Novella Neurosciences.

         67.     Feres resigned in May 2007. He was replaced by Don Bailey, whom the Board

  first appointed as Interim President, but then elevated to full-time President and CEO in

  conjunction with Questcor’s adoption of the new strategy.

         68.     Mallinckrodt signed contracts with the Express Scripts Entities in late June 2007.

         69.     Shortly thereafter, in July 2007, three Board members resigned, including the

  Chairman Albert Hanson.

         70.     Questcor’s Sr. Vice President of Strategic Planning and Communications, Eric

  Liebler, also quit. Liebler quit less than a year after being hired. He quit just three weeks after

  the “new strategy” was announced.

         71.     In spite of this mass exodus of leading executives and Board members,

  Mallinckrodt chose to adopt a controversial “new strategy” to allow Mallinckrodt to “optimize”

  its monopoly status for Acthar, especially in the IS market.

         72.     The self-described “orphan drug strategy” worked as follows: despite the fact that

  Acthar was an older drug, Mallinckrodt would “re-launch” Acthar with a new, limited

  distribution system and a substantially higher price, to make it appear as if Acthar were a new

  product being launched as the only product indicated for IS, an off-label indication at the time.

         73.     The IS market was a captive market involving a life-threatening disease afflicting

  infant children. Like other debilitating or life-threatening, orphan conditions, for which there

  was only one, sole-source drug treatment, IS presented Mallinckrodt with an opportunity to

  leverage its monopoly power against a particularly fragile, powerless patient population in an



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  extremely narrow market.

           74.    As a result, Mallinckrodt predicted that the IS market would likely be able to

  absorb a much higher price with little resistance. In contrast, Mallinckrodt feared that the market

  for drug treatments of other disease states, such as the MS market, would not tolerate such a

  higher price. Nevertheless, Mallinckrodt only viewed the anticipated resistance to higher prices

  by patients and payors as a challenge to be overcome.

           75.    Mallinckrodt overcame such challenge in at least two ways after the launch of the

  new strategy in August 2007: (1) conspiring and agreeing with the Express Scripts Entities to

  eliminate competition, enhance Mallinckrodt’s monopoly power, and to raise and fix the prices

  for Acthar; and (2) engaging leading medical providers, described as “key opinion leaders” or

  “KOLs”, like Defendant Dr. Tumlin, in the treatment of the various disease states for which

  Acthar was narrowly indicated to ensure that Acthar was prescribe as a primary course of

  treatment.

           76.    The new pricing established by Mallinckrodt and Express Scripts was only

  limited by what these companies predicted that payors, like Acument, would be willing to bear.

           77.    Mallinckrodt Executive Vice-President, Steve Cartt, admitted “‘[w]e did some

  market research,’ . . . [t]alking to physicians and others about pricing ‘gave us some comfort that

  the [new] strategy would work, and physicians would continue to use the drug, and payers would

  pay’ . . . . ‘The reality was better than we expected.’” 1

      Acthar Distribution: the Acthar Support & Access Program and Express Scripts’ “HUB”

           78.    One of the primary means by which Defendants manifested their unlawful scheme

  was through a program known as the “Acthar Support & Access Program” or “ASAP.” This
  1
   Milt Freudenheim, Benefit Managers Profit by Specialty Drug Rights, New York Times, C1,
  April 19, 2008 (titled The Middleman’s Markup in New York Print Ed.)(hereinafter,
  “Fruedenheim”).

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  program is structured so that Mallinckrodt ships Acthar directly to patients and receives payment

  directly from the associated third party payors.

         79.       Once the patient (or their physician) contacts Mallinckrodt for a prescription of

  Acthar, they are directed to UBC. Otherwise, patients and/or their providers contact UBC

  directly, as directed by the Acthar Start Form at attached as Exhibit “A” hereto. UBC then

  serves as the “HUB” for Mallinckrodt and the Express Scripts Entities. UBC also serves as the

  primary interface with other PBMs, like CVS/Caremark utilized by Acument in 2015-2016 when

  it paid for Acthar. As the HUB, UBC confirms the prescription by the provider with a specialty

  pharmacy, whether Accredo or some other specialty pharmacy. UBC then confirms the patient’s

  insurance coverage or other source of payment, whether with Express Scripts, CVS/Caremark or

  some other PBM or insurer. UBC then arranges for Acthar to be delivered directly to the patient

  by CuraScript.

         80.       This process is laid out in the form provided by Mallinckrodt, the “Acthar Start

  Form” (Exhibit “A” hereto). The form requires patient, physician/pharmacy and payor

  authorization before Mallinckrodt ships the Acthar to patients via CuraScript. At no point is any

  Express Scripts Entity at risk, as Mallinckrodt ensures its payment at each level of the process.

         81.       The Acthar Start Form consists of 3 sections: (1) a section requiring signature by

  the “HCP” (or health care professional); (2) a patient authorization requiring signature by the

  “patient or legal representative”; and (3) information concerning Acthar indications and usage.

  The required signature of the patient authorizes “Mallinckrodt and its agents” to do a number of

  things in relation to the prescription and distribution of Acthar. It further authorizes

  Mallinckrodt and its agents, “including Mallinckrodt reimbursement support personnel and

  United BioSource Corporation (“UBC”) or any other operator of the Acthar Support Access



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  Program on behalf of Mallinckrodt (collectively, ‘Designated Parties’)” to provide Acthar and

  receive payment, among other things.

            82.   Specifically, the patient authorizes Mallinckrodt, UBC, “or any other operator” of

  ASAP on behalf of Mallinckrodt, referred to as Mallinckrodt’s “Designated Parties”, “to provide

  certain services to [the patient], including reimbursement and coverage support, patient

  assistance and access programs, medication shipment tracking, and home injecting training.” In

  other words, the patient directly authorizes Mallinckrodt and its agents to ship Acthar to them

  directly via CuraScript, and authorizes payment by both the patient and any third party payor

  prior to obtaining the medication. So, the patient authorizes Express Scripts to bill the payor for

  Acthar.

            83.   Similarly, the physician must “authorize[ ] United BioSource Corporation

  (“UBC”), the current operator of the Acthar Support and Access Program (“Program”), and other

  designated operators of the program, to perform a preliminary assessment of benefit verification

  for this patient…”. The physician also “agree(s) that the designated specialty pharmacy receive

  this prescription via a designated third party, the Program and that no additional confirmation of

  receipt of prescription is required by the designated specialty pharmacy.”

            84.   The interaction of all 4 elements of the Express Scripts Entities’ functions on

  behalf of Mallinckrodt are described below.

            85.   Express Scripts is one of the largest PBMs in the United States.

            86.   PBMs pool together the purchasing power of all their health plan clients to get

  greater volume discounts and rebates from drug manufacturers than a single plan could do on its

  own.

            87.   Express Scripts negotiates with pharmaceutical manufacturers for both discounts



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  and rebates on prescription drugs. Express Scripts then offers its health plan customers both

  discounts and rebates on such prescription drugs.

           88.     In terms of the financial benefits to Express Scripts’ health plan customers, drug

  discounts and rebates are the same. Paying rebates to a plan for a prescription drug is

  functionally equivalent to charging the plan a reduced price for that drug (a rebate is simply a

  retroactive discount on the price of the drug).

           89.     As a large purchaser of prescription drugs, aggregating the purchasing power of

  its many health plan clients, Express Scripts has a financial advantage in its negotiations with

  pharmaceutical manufacturers that arises from its market power.

           90.     The “family” of Express Scripts Entities does more than simply process claims for

  prescriptions filled at pharmacies for their plan customers. In addition to “retail pharmacy

  claims processing, formulary management, utilization management and home delivery pharmacy

  services”, the Express Scripts Entities offer “specialty services that deliver . . . high-cost

  injectable, infused, oral or inhaled drugs,” and “compliance programs, . . . drug therapy

  management programs, [] data analysis, and [] distribution services.” 2 Acting “either directly or

  through its subsidiaries”, including the Express Scripts Entities, Express Scripts acts as a direct

  pipeline from a pharmaceutical manufacturer to the patient, facilitating the direct distribution of a

  prescription drugs from the factory to the patient’s home.

           91.     Express Scripts is able to act as a manufacturer’s direct distributor of specialty

  drugs to patients because it provides what it calls “integrated specialty services.” (emphasis in

  original). 3 As one Express Scripts’ executive put it “we’re family.” These integrated services


  2
   Express Scripts Holding Company Annual Report on Form 10-K for the Fiscal Year Ending
  December 31, 2012.
  3
      https://curascriptsd.com/corporate-overview

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  include a PBM (Express Scripts), a specialty pharmacy distributor (CuraScript), and a specialty

  pharmacy provider (Accredo).

           92.     Express Scripts coordinates all of these functions through its so-called

  pharmaceutical support services unit, UBC. UBC acts as a “‘hub,’ that serves as a centralized

  point of contact for [] patients [] and prescribers” 4 by “[w]orking hand-in-hand with Express

  Scripts’ specialty pharmacy and specialty distribution organizations, Accredo and CuraScript

  [],”5 to coordinate delivery of and reimbursement for specialty pharmaceuticals.

           93.     In total, UBC operates “an integrated service model that involves UBC . . .

  manag[ing] multiple system applications that support one product. [UBC’s] services include the

  UBC coordinating center, nurse coordination . . . product fulfillment through Accredo and

  wholesale fulfillment through CuraScript[]. When a patient is prescribed [a specialty]

  medication, the doctor sends a referral to the Reimbursement Hub. [UBC’s] team serves as the

  liaison among doctors, patients, and insurance companies as [UBC] . . . navigate[s] the coverage

  process. [UBC] . . . ensure[s] a smooth transition from enrollment through shipment of the

  medication.”

           94.     Part of the reimbursement hub process is coordination with Express Scripts’

  CuraScript, which acts as an “integrated delivery network” connecting patients to manufacturers

  through “end-to-end distribution services.” 6 Simply put, CuraScript is similar to a FedEx, DHL,

  or UPS for specialty prescription drugs. CuraScript advertises that it is “recognized by the

  manufacturing community as [] a reliable partner in the management of brands” through


  4
      http://www.ubc.com/services/loyalty/reimbursement-patient-assistance
  5
      http://www.ubc.com/about/about-ubc
  6
      https://curascriptsd.com/Rare-Disease-Specialty-Distribution-Program


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  CuraScript’s “integrated specialty services,” which deliver medications to patients “alongside

  sister organizations Accredo and UBC.” 7

            95.    To facilitate these end-to-end distribution services, UBC coordinates CuraScript’s

  activities with Accredo, which provides so-called specialty pharmacy services. By acting as the

  hub, UBC ensures that a patient whose pharmacy benefits are managed by Express Scripts can

  get a specialty medication delivered to him or her by coordinating direct shipment through

  CuraScript and Accredo and direct payment through Express Scripts. “As one UBC executive

  has explained “if UBC is the Hub and Accredo is the [specialty pharmacy] . . . we can send the

  patient’s prescription over to Accredo, and they will not have to duplicate any of our efforts,

  which another pharmacy would be compelled to do because of risk. Accredo trusts us.”

            96.    Accredo provides specialty pharmacy and related services for patients with certain

  complex and chronic health conditions. Accredo’s staff is comprised of a team of specialty-

  trained pharmacists, nurses, patient care advocates, social workers and insurance coordinators

  whom, among other things, “handle everything about” a patients’ medications and/or specialty

  therapy.

            97.    Along with UBC, Accredo provides: (a) support to orphan and ultra orphan

  patient populations; (b) HUB employees to navigate insurance requirements, like prior

  authorizations, for patients and prescribers; (c) clinicians who are available 24/7 to address

  patient concerns and provide guidance on mitigating adverse events; (d) reimbursement HUB

  specialists to steer patients to funding solutions, and (e) an integrated solution allowing patients

  to start therapy twice as fast.

            98.    The Acument patient at issue dealt with CVS Caremark Specialty for their

  fulfillment of Acthar. It is believed, and therefore averred, that UBC coordinated the shipment
  7
      https://curascriptsd.com/supplier-relations

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  of Acthar directly to the Patient via the same integrated “hub” network with the lone exception

  being that Acument’s payment was made to its PBM, CVS Caremark, before being routed to

  Mallinckrodt. In all other respects, the operations of the hub were the same, with the Acthar

  being shipped by Express Scripts’ CuraScript pursuant to the same 2007 exclusive agreement .

          99.    In simple terms, through UBC’s coordination with Accredo, CuraScript, and

  Express Scripts, Express Scripts delivers a prescription drug directly from the manufacturer to

  the patient, removing all impediments to delivery and payment, whether medical, logistical or

  financial.

          100.   With respect to Acthar, Mallinckrodt has a contract with UBC to coordinate the

  delivery of Acthar through what it has called the ASAP Program. Beginning with its July 2,

  2007 announcement, Mallinckrodt directed physicians to prescribe Acthar through the ASAP

  program. See Exhibit “B”. In this announcement, Mallinckrodt directed physicians that “all new

  Acthar [] prescriptions should be submitted to the [ASAP program].” Prescriptions are

  submitted to the ASAP program through the “Acthar Start Form.” See Exhibit “A”. This form

  authorizes UBC to coordinate reimbursement with Express Scripts and direct the prescription to

  a “designated specialty pharmacy.” This designated specialty pharmacy is Accredo. Accredo

  dealt with the Acument patients in 2015. Part of UBC’s activities involve coordinating the

  shipment of Acthar from CuraScript through Accredo to the patient. Indeed, in order to revoke

  UBC’s authorization to perform these services, the patient must mail a letter to CuraScript’s

  address in Florida. It is believed and therefore averred that Acument’s patient provided a similar

  authorization to UBC for shipment from CuraScript.

          101.   The Acthar direct distribution arrangement between Mallinckrodt and Express

  Scripts is illustrated in the following two figures. In Figure 1, the product distribution



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  arrangement is as follows.




  Figure 1

          102.     Figure 2 below illustrates how Acthar is prescribed, authorized, distributed and

  paid for through Express Scripts. Although these payments pass through Express Scripts,

  payment flows and products flows are ultimately aligned between Mallinckrodt and UBC,

  Express Scripts’ reimbursement hub, through a contract with Mallinckrodt to operate the ASAP

  program, which confirms the medical necessity of the prescription (by Accredo or other specialty

  pharmacy), arranges for payment (by PBMs like Express Scripts and CVS Caremark) and then

  for shipment and billing (by CuraScript).

                                                            Dispense                            Co-Payment

        QCOR                 Payment

                                   Sales


                                                                                                                       Patient
                      Chargeback                            Payment
                                     CuraScript Specialty                 Specialty Pharmacy
       ICS (3PL)
                                         Distributor                         Network (10)



                                                                                                             Payment
                                      Payment



                                                                                                                       Payer
                                           Hospitals
                                                                        Adjudicate
                                                                       Product Claim




  Figure 2
                                                                                        Referral
                                                                                                                     Acthar Hub
                                                                                       & Dispense




                                                              23
                                                                                                             Data Transmission

                                                                                                             Product Flow

                                                                                                             Payment Transmission
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         103.    Since the launch of the new strategy, CuraScript has contracted directly with

  Mallinckrodt to ship Acthar. Through such contractual arrangement, Acthar travels from

  Mallinckrodt directly to the patient, and payments are channeled directly back to Mallinckrodt.

         104.    As depicted above, the patient typically has prescription insurance coverage

  through his or her health plan. In this case, Acument had the health plan that covered its Patient.

  The health plan contracted with Medco/Express Scripts to supply prescription drugs, including

  specialty drugs like Acthar. Express Scripts thus collects payments for the price of Acthar from

  the payer on behalf of Mallinckrodt. Later, Acument’s health plan contracted with CVS

  Caremark to provide prescription drug services for its covered employees and their families.

  CVS Caremark, like Express Scripts, thus collects payments for the price of Acthar from the

  payer on behalf of both Express Scripts and Mallinckrodt, and transfers a portion of those

  payments to the Defendants.

         105.    By these arrangements, Acthar product flows directly from Mallinckrodt through

  Express Scripts to the patient, while the money flows directly from the patient and payor through

  Express Scripts back to Mallinckrodt for all payers who contract with Express Scripts for PBM

  services. For payers who contract with other PBMs, like Acument in 2015 and 2016, the money

  flows indirectly through the other PBM and then on to the Defendants. However, the product

  flow remains direct, as depicted in Figure 1 above.

         106.    Wielding both the largest collection of patients in the United States and a direct

  shipment channel for specialty drugs, Express Scripts is in a unique position to negotiate the

  most competitive, discount prices for specialty drugs in the United States. This bargaining

  power has allowed Express Scripts to push back against attempts by pharmaceutical drug

  manufacturers to charges inflated prices for drugs above the actual market value of the drugs.


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         107.    Mallinckrodt leveraged and enhanced its monopoly power by limiting the

  distribution of its sole specialty drug to just one specialty pharmacy distributor, CuraScript, and

  employing as its agents, Express Scripts, Accredo and UBC, along with CuraScript, to

  coordinate all aspects of the distribution and sales of Acthar: from prescription by the physician,

  to direct home delivery to the patient, to direct reimbursement by the payor. This allowed

  Mallinckrodt to raise its prices tenfold initially, and nearly double in the ensuing years.

                           Express Scripts Lowers the Cost of Daraprim

         108.    Turing Pharmaceuticals, LLC (“Turing”) acquired the rights to Daraprim, and

  proceeded to increase the price 5000% from $13.50 to $750.00 per pill. One year’s course of

  treatment rose from $6,500 to $361,000.

         109.    Strikingly, Express Scripts employed its market power to counter Turing’s action.

  It worked to create an alternative that was much less expensive than Daraprim.

         110.    On December 1, 2015, Express Scripts announced that it would “partner with

  Imprimis Pharmaceuticals to drive access to a low-cost alternative to Daraprim.” “Express

  Scripts Champions $1 per Pill Access to an Alternative for Daraprim”, Dec. 1 2015,

  http://lab.express-scripts.com/lab/insights/drug-options/express-scripts-champions-1-per-pill-

  access-to-an-alternative-for-daraprim. In partnership with Express Scripts, “Imprimis [] offer[ed]

  a compounded oral formulation of pyrimethamine and leucovorin (a form of folic acid) for as

  low as $1 per capsule for people whose pharmacy benefit is managed by Express Scripts.” Id.

  When it is in Express Scripts’ interest, it acts to “improve access and affordability.” Id.

         111.    Express Scripts’ Chief Medical Officer, Dr. Steve Miller, stated that Express

  Scripts had found a way to deliver “a safe, high-quality and extremely cost-effective way to

  provide access to a Daraprim alternative.” However, because of its agreement with



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  Mallinckrodt, Express Scripts has not served as an effective agent for pharmaceutical buyers to

  seek to lower the cost of Acthar, or the availability of reasonably priced alternatives.

                                    Acthar Pricing Manipulation

         112.    Mallinckrodt acquired the rights to Acthar from Aventis in July 2001.

         113.    At the time of its acquisition, the end payor price of a vial of Acthar was

  approximately $40.00.

         114.    After acquisition, Mallinckrodt raised the per vial substantially. By September

  2001, Mallinckrodt raised the list price for Acthar, or the wholesale acquisition cost (“WAC”), to

  $748.16. It raised the end payor price, or the average wholesale price (“AWP”), to $935.20.

         115.    From 2001 until Mallinckrodt executed its new strategy in 2007, the WAC grew

  from $748.16 to $1,650.23, while the AWP grew from $935.20 to $2,062.79.

         116.    The below table reflects the WAC price changes implemented by Mallinckrodt

  from 2001 through February 2007:

                               Sept. 21, 2001             $748.16

                               June 24, 2002              $782.60

                                April 1, 2003             $859.20

                               March 1, 2004              $902.00

                              January 1, 2005             $988.00

                                April 1, 2005           $1,037.20

                              January 1, 2006           $1,120.40

                              October, 1, 2006          $1,232.44

                            December 21, 2006           $1,269.41

                              February 2, 2007          $1,650.23


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         117.    When Mallinckrodt implemented its new strategy on August 27, 2007, it raised

  the WAC for Acthar from $1,650.23 to $23,269.00. It also raised the AWP for Acthar from

  $2,062.79 to a staggering $29,086.25 – representing a 1,310% increase in the span of a month,

  and a 72,615% increase from the time Mallinckrodt first acquired the drug.

         118.    Express Scripts was keenly aware of this price increase, as it participated directly

  in the decision-making with Mallinckrodt. However, when it reported the increase to its

  customers and the public as part of its annual “Drug Trend Report” for 2007, Express Scripts

  reported only that Acthar “experienced a significant price increase in 2007.” 8 It further stated

  that “[i]n August 2007, the manufacturer of this drug increased its wholesale price from $2,062

  per vial to more than $29,000 per vial, increasing the average cost per prescription to $11,041.”

         119.    This statement by Express Scripts was false, misleading and deceptive. It sought

  to lay the blame for the price increase on the manufacturer of Acthar, Questcor, without

  revealing the truth about its direct involvement in decision to raise prices in the wake of

  contracting for exclusive distribution rights.

         120.    Until Mallinckrodt obtained FDA approval for the IS indication in 2010, the price

  of Acthar remained relatively stable. However, in 2011, Mallinckrodt increased the price of

  Acthar three times: by 5% on January 3, 2011, by another 5% on June 1, 2011, and then by 6.5%

  on December 27, 2011. These three price increases totaled a staggering 16.5% in one year. As

  of 2012, Acthar’s end payor price/AWP stood at $34,150.00.

         121.    Each such price increase was reviewed with Express Scripts and approved by

  Express Scripts, in writing, as required by the parties’ written agreements.


  8
   Express Scripts 2007 Drug Trend Report at p. 35, available at http://lab.express-
  scripts.com/lab/publications (“2007 Drug Trend Report”).


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         122.    Despite the fact that both Mallinckrodt and Express Scripts were keenly aware

  that Acthar pricing was a sensitive topic for payors, like Acument, they continued to the raise the

  Acthar prices each year. They raised the price by 5% on May 15, 2012.

         123.    Further, as discussed more fully below, Mallinckrodt, along with Express Scripts,

  continued to conceal and suppress the truth about their coordinated conduct in raising Acthar

  prices, and continued to misrepresent publicly the reasons for the many Acthar price increases.

         124.    A poignant example is the attempted price increase in September of 2012.

         125.    That month, Mallinckrodt desired to take another 5% price increase. The decision

  to raise the Acthar price was made by Questcor’s COO Steve Cartt in early September. Mr.

  Cartt then communicated with Express Scripts executives via email on September 5 to seek their

  approval, as required by the parties’ agreements. Their intention was to make the price increase

  effective on September 25, 2012.

         126.    There was no expectation by either Mallinckrodt or Express Scripts that the

  additional 2012 price increase – raising the total increase for the year to 10% – would materially

  impact Acthar ordering levels, due to the monopoly Mallinckrodt held over Acthar and the

  substantial assistance of the Express Scripts Entities in ensuring that Acthar was prescribed, and

  paid for, at the ever-increasing price levels.

         127.    Furthermore, the parties jointly agreed to conceal their joint agreement, keeping

  their awareness of and involvement in the price increase on a “need to know” basis within their

  respective organizations.

         128.    However, before the parties’ could finalize their agreement to raise the Acthar

  price by an additional 5% for 2012, a problem arose. On September 19, 2012, health insurer

  Aetna announced that it would cut back reimbursements for Acthar, due to the lack of evidence



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  of Acthar efficacy for various disease states among other reasons.

         129.    Questcor’s stock (as opposed to Mallinckrodt at the time) declined 56% the same

  day as the Aetna announcement. Within a week, Questcor’s stock fell another 37%.

         130.    Mallinckrodt and Express Scripts then jointly agreed to place the intended price

  increase on hold, due to the Aetna situation.

         131.    This price increase was later taken by Mallinckrodt and Express Scripts on June 7,

  2013, when the Acthar WAC was increased 5% to $30,120.00 and the Acthar AWP was

  increased 5% to $37,650.

         132.    In 2014, Mallinckrodt and Express Scripts resumed their aggressive price increase

  strategy, just prior to Mallinckrodt plc’s $5.9 billion acquisition of Questcor.

         133.    On January 16, 2014, the Acthar WAC and AWP were raised 5%, to $31,626 and

  $39,532.50, respectively.

         134.    Prior to Questcor’s acquisition by Mallinckrodt plc in 2014, Questcor had planned

  an additional 5% increase for Acthar in December 2014. This would have meant a total

  percentage increase of 10% for the year.

         135.    However, after the acquisition, Mallinckrodt raised the planned increase to 8.9%,

  or 13.5% for the year.

         136.    On December 14, 2014, Mallinckrodt notified Express Scripts of the impending

  8.9% price increase.

         137.    In the interim, the Executive Committee (“EC”) of Mallinckrodt met. The EC

  consists of the senior management of Mallinckrodt, including President and CEO Mark Trudeau

  and Executive Vice President and Chief Commercial Officer Hugh O’Neill.

         138.    COO O’Neill raised the matter of the 8.9% price increase with the EC on Friday



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  December 12, 2014, and it was decided by the Mallinckrodt leadership team to “change[] the

  magnitude” of the pricing action, reducing the proposed increase from 8.9% to 2%. The EC did

  this in order to take advantage of a future “opportunity for breakthrough pricing strategies” in the

  future.

            139.   It is believed and therefore averred that such pricing opportunity was presented by

  the Synacthen acquisition.

            140.   As described more fully below, under the section titled the “Mallinckrodt

  Synacthen Acquisition”, Mallinckrodt completed its acquisition of Synacthen in 2013.

            141.   As a result of such Synacthen acquisition, and the existing express agreements

  and implied understandings with the Express Scripts Entities that Synacthen would not be

  brought to market to threaten the established Acthar monopoly prices, Mallinckrodt was

  confident that reducing the planned 8.9% Acthar price increase in late 2014 to little more than

  the consumer price index [which stood at about 1.7% in 2014] -- causing a $26 million shortfall

  in the forecasted revenues [based on the 5% increase that was “baked in” for December] -- would

  not negatively affect the company moving forward. This decision, while ostensibly made against

  Mallinckrodt’s economic self-interest, was made to further enhance the monopoly profits of all

  Defendants in the long run.

            142.   Accordingly, with the direct input and hands-on decision-making by President

  and CEO Trudeau, Mallinckrodt reduced its December 2014 Acthar price increase to 2%. This

  led to a WAC increase to $32,260.00 and an AWP increase to $40,325.00, respectively, on

  December 16, 2014.

            143.   Due to its already announced intention to effectuate an 8.9% price increase,

  Mallinckrodt had to correct its prior notice to Express Scripts. However, Express Scripts agreed



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  with both decisions, even though the lower price increase was far better for Express Scripts’

  direct customers and indirect purchasers, like Acument, than the announced 8.9% price increase.

         144.    Mallinckrodt then notified the other Express Scripts Entities, as well as the

  pricing compendia that published its AWP for Acthar, of the new price increase.

         145.    Under Mallinckrodt plc’s stewardship, the AWP of Acthar continued to rise in to

  well above $40,000, while Acument was paying for it.

         146.    Remarkably, Mallinckrodt’s CEO, Mark Trudeau, deliberately lied to the public

  in a press release, directly responding to Rockford’s and Acument’s claims against the

  Defendants. He willfully misrepresented that “[t]he current ‘list price’ per vial for the drug is

  $36,382, not the higher numbers which have appeared in various reports, and Mallinckrodt

  discounts this list price to both public and private payers.” See Mallinckrodt’s June 29, 2018

  Press Release H.P. Acthar® Gel Value to Patients attached hereto as Exhibit “C”.

         147.    The price paid by “private payers” like Acument is the AWP. As set forth above,

  that price has been in excess of $40,000 since 2014. Mallinckrodt does not “discount” that price

  to Acument, or any other private payer, as claimed.

         148.    If Mr. Trudeau was actually representing that the WAC for Acthar was $36,382 as

  of June 2018, which is not the end payer price paid by private payers like Acument, then the

  AWP paid by private payers was actually a staggering $45,477.50, based on the historical 25%

  markup Mallinckrodt has employed for its Acthar AWPs!

         149.    Since the acquisition of Acthar in 2001, the end payor price of Acthar has grown a

  over 100,000% reflecting the precipitous rise in the value of the Acthar assets from $100,000 in

  2001 to $5.9 billion in 2014 – a 5,899,900% increase in value. The dramatic increase in value of

  the Acthar assets, coupled with the durable and repeated ability to raise the price of Acthar,



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  underscore the monopoly power wielded by Mallinckrodt in the ACTH market. Mallinckrodt’s

  tactics described in this Complaint, however, reflect Mallinckrodt’s willingness to undertake

  actions to maintain and grow its monopoly in the ACTH market, in violation of the antitrust

  laws.

          150.   Mallinckrodt has continued to deceive payors like Acument and the public about

  the actual prices of Acthar, and the reasons for its many price increases.

          151.   In fact, in direct response a lawsuit filed against Mallinckrodt in April 2017,

  Mallinckrodt issued a public statement, claiming to “set the record straight” about Acthar pricing

  and other issues. See Mallinckrodt’s June 29, 2018 Press Release H.P. Acthar® Gel Value to

  Patients attached hereto as Exhibit “C”. This Press Release is replete with misrepresentations

  and deliberate falsehoods that only continues to try deceive the public about Acthar pricing and

  reasons for the high Acthar prices.

          152.   Defendants named herein all conspired and agreed to conduct a fraudulent scheme

  and conspiracy to deliberately inflate the AWPs for Acthar and to maintain such high AWPs for

  Acthar in the face of complaints by patients and payors, like Acument. As Defendants well

  know, the AWP is used by government and private assistance programs for prescription drug

  reimbursement.

          153.   Government and private assistance programs have used the AWPs published in

  pharmaceutical industry publications, such as the Red Book and Medispan, for years as a basis

  for reimbursement, in whole or in part.

          154.   These publications set forth the AWP for Acthar. However, in periodically

  announcing the AWPs for Acthar, the publications simply published the prices that were

  supplied to them by the Mallinckrodt, as agreed to by Express Scripts. These Defendants knew



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  that they could, and did directly, control and raise the AWP for Acthar at any time simply by

  forwarding to the pricing compendia a new and higher AWP.

            155.   This scheme allowed the Defendants to control, as part of their sales, marketing

  and distribution strategies, their respective profit levels by the direct manipulation of the Acthar

  AWP.

            156.   Years before Defendants engaged in their scheme to increase their monopoly

  profits, in 2003, the Office of Inspector General (“OIG”) admonished, “[i]f a pharmaceutical

  manufacturer purposefully manipulates the AWP to increase its customers' profits by increasing

  the amount the federal health care programs reimburse its customers, the anti-kickback statute is

  implicated.” In re Pharm. Ind. Average Wholesale Price Litig., 491 F.Supp. 2d 20, 39-44 (D.

  Mass. 2007). Ironically, this published decision appeared the same month that Mallinckrodt and

  Express Scripts signed their first of many conspiratorial agreements to manipulate the AWP for

  Acthar.

            157.   Thus, as of 2003, the OIG had made it clear to prescription drug manufacturers,

  like Questcor, that the deliberate manipulation of AWP put the company at potential risk under

  the federal anti-kickback statute. See OIG Compliance Program Guidance for Pharmaceutical

  Manufacturers, 68 FR 23731-01 (May 5, 2003).

                        The Views of Express Scripts’ Chief Medical Officer,
                        Dr. Steve Miller, on Express Scripts’ Market Power

            158.   Beginning in 2007, Express Scripts became the exclusive agent of Mallinckrodt

  for the distribution of Acthar. When Mallinckrodt chose to increase the price of this 50-plus year

  old medication, Express Scripts did not push back. Instead, when confronted with the 2007 price

  increase, Express Scripts’ Chief Medical Officer Steve Miller stated that “[t]he increase was a




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  manufacturing decision. I can’t comment on it.”9

           159.   The circumstances of this case demonstrate why Dr. Miller chose to stay silent in

  the face of Express Scripts’ decision to join Mallinckrodt in overcharging payors for Acthar.

           160.   Express Scripts’ Director of Network Audit in Supply Chain, Greg Blaies, has

  stated under oath that “Express Scripts’ mission is to make prescription drugs safer and more

  affordable for its clients and their members. Express Scripts provides value to its client health

  plans by reducing waste and inefficiency in prescription drug spend.”

           161.   However, in the case of Acthar, Express Scripts did the opposite: it conspired and

  agreed with the manufacturer of Acthar to raise the prices of Acthar, to the substantial detriment

  of its clients, and other third party payors, like Acument, who pay for the Acthar supplied by

  Express Scripts directly to its members.

           162.   By the time Acument’s Patient was prescribed Acthar, Express Scripts was

  handling each and every aspect of Acthar distribution through the above-described functions.

  CuraScript was the exclusive specialty pharmaceutical distributor, Accredo was the specialty

  pharmacy provider, and UBC coordinated both the product and money flows through the ASAP

  Program. As Mallinckrodt’s exclusive agent, Express Scripts had no interest in lowering the

  price for Acthar because it was making money off all aspects of its exclusive arrangement with

  the manufacturer. In other words, by helping Mallinckrodt maintain and enhance its monopoly

  power in the ACTH market, Express Scripts along with Mallinckrodt realized greater profits at

  the expense of payors, like Acument.

           163.   On May 19, 2017, just weeks after Mallinckrodt and Express Scripts had been

  sued by the City of Rockford in early April 2017 for, inter alia, price fixing, Express Scripts

  senior officers made comments about the “somewhat controversial” drug Acthar on a private
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      Freudenheim, supra.

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  investor conference call hosted by Citi. 10 The Citi interviewer stated, “it’s been in the news as

  – given the pricing around the drug over the past – I don’t know – 12 months at least,” and then

  asked for “any thoughts around … how that can be managed and how you see cost of the playing

  out?” Citi Transcript at 12.

         164.    In response, Express Scripts’ Senior Vice President, Supply Chain and Specialty

  Pharma, Everett Neville stated:

         I don’t think [Acthar is] a very great [drug] – it’s a pretty poor drug with a very limited
         need and certainly [Express Scripts Chief Medical Officer, Dr,] Steve [Miller] could
         comment. He’s a doctor and I’m just a really bad pharmacist.

         …[Y]ou know, and Steve, you could chime in here too, but I think Steve and I both
         would agree, and I think everybody in our company would agree, that the product is
         vastly overpriced for the value. We don’t set the price. We’ve told [Mallinckrodt] that.
         I personally told [Mallinckrodt’s] management team that their drug is hugely overpriced.
         I know Steve has as well.

  Citi Transcript at 12 (emphasis added) (brackets added).

         165.    Many of these statements were false, misleading and deceptive when made. They

  were made willfully, in order to deceive the public and payors, like Acument, who were paying

  the “vastly overpriced”, inflated AWPs for Acthar, as set by both Mallinckrodt and Express

  Scripts under exclusive agreements concealed from the public through confidentiality provisions

  in the agreements.

         166.    What was true is that Acthar had a “very limited need”. But Express Scripts did

  nothing to limit the prescription approval (through Accredo), the distribution (through

  CuraScript), or the coordination of payment (through UBC) for Acthar, because it was making

  money off the monopoly profits realized by the “vastly overpriced” Acthar sales.


  10
    See Conference Call Transcript of call hosted by the Citigroup Healthcare Team on May 19,
  2017 at 11:00a.m. est, with Dr. Steve Miller, Chief Medical Officer from Express Scripts, and
  Mr. Everett Neville, Senior Vice President of Supply Chain and Specialty (“Citi Transcript”) at
  https://ir.citi.com/l2GW3%2FspXqa99R2rvpFJS8QKZpf%2BRi62n5DFshd7bPciqQPr7uiAlekB%2FjbbEhWR

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         167.    Mr. Neville also made deliberate, willful misrepresentations about the roles of

  CuraScript and UBC in the maintenance of Mallinckrodt’s monopoly and price fixing schemes.

         168.    As for UBC, while he admitted that Express Scripts “interacts” with Acthar

  through UBC, he claimed that UBC only “does pharma services [like] running the patient

  assistance program, pre-screening drug program [t]hat is for patients that meet a need-based

  criteria for poverty.” Citi Transcript at 12 (brackets added). Clearly, as set forth above, UBC

  does much more in its central role as the hub of the Express Scripts/Mallinckrodt relationship

  and the sole operator of the ASAP.

         169.    As for CuraScript, while Mr. Neville admitted that Express Scripts “interacts”

  with Acthar through CuraScript, he sought to deliberately conceal the exclusive distribution

  arrangement, claiming “[w]e wholesale the drug, i.e., we sell it to physicians, for office use,

  which is where most of this [Acthar] is used. We don’t control the criteria whether the drug is

  used or not used or paid or what [is] paid. We merely serve the same role that an ABC

  [AmerisourceBergen] or a Cardinal or McKesson would in supplying a product with a very

  minimal markup to a physician. That’s it.” Citi Transcript at 12 (brackets added).

         170.    Clearly, as set forth above, CuraScript does much more as the exclusive

  distributor of Acthar for Mallinckrodt, shipping the drug directly to patients, not their doctors,

  and charging the patients and their third-party payors, not the doctors, for the drug. CuraScript

  also applies more than a “minimal markup” to Acthar’s price charged to third party payors, like

  Acument.

         171.    Finally, Mr. Everett sought to willfully deceive the public and consumers of

  Acthar by stating, “[t]his is a drug that has very little impact in our company.” Citi Transcript at

  12. In conspiring and agreeing with Mallinckrodt to raise and fix the AWP-based prices of



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  Acthar to exorbitant, anticompetitive levels, and in conspiring and agreeing with Mallinckrodt to

  keep Synacthen off the market to maintain and enhance Mallinckrodt’s monopoly, Express

  Scripts worked to protect its share of the Acthar monopoly profits, the loss of which would have

  had a huge “impact” on the Express Scripts Entities.

         172.     On the same conference call, Dr. Miller stated that he was in “100% agreement

  with [Mr.](Everett).” Citi Transcript at 12 (brackets added). Then, he added, “[i]f you look at

  the data, the indications for the drug are really – while it had, in the compendium, it’s listed

  under a lot of indications, its real use should be very, very limited. It’s an old drug. There’s

  better products in the marketplace and so we’re going to continue to be very vigilant in our

  utilization management.” Citi Transcript at 12-13.

         173.     Despite this express acknowledgment by Express Scripts’ Chief Medical Officer,

  in the weeks and months following Mallinckrodt’s settlement with the FTC, Express Scripts did

  not act to contain costs, to limit prescriptions of Acthar where it has not be shown to be effective,

  or to provide a reasonable alternative for Acthar, such as the Synacthen Depot owned by

  Mallinckrodt.

         174.     Indeed, it was not until December 21, 2017 that Express Scripts provided an

  updated “Prior Authorization Policy” for Acthar, effective January 2018 (hereinafter “2018 Prior

  Authorization Policy”) – far too late to save payors like Acument from the exorbitant

  overcharges it suffered in 2015 and 2016 as a result of the conspiracy between Mallinckrodt and

  Express Scripts, with the substantial assistance of Dr. Tumlin.

         175.     As discussed more fully below, Dr. Tumlin prescribed the Acthar to Acument’s

  Patient for the treatment of nephrotic syndrome, specifically idiopathic membranous

  nephropathy (iMN), and also produced the “limited data” on the use of Acthar for such treatment



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  which Express Scripts’ senior management now was rejecting. See 2018 Prior Authorization

  Policy at 6 (“very limited data have studied the use of Acthar, in patients with diagnoses

  including idiopathic membranous nephrology (iMN)…”, citing articles published by Dr.

  Tumlin).

         176.    It is believed and therefore averred in his role as Express Scripts’ Chief Medical

  Officer, Dr. Miller reviewed and approved of the updated 2018 Prior Authorization Policy.

         177.    In that update, Express Scripts finally, affirmatively admitted all the following

  facts about Acthar, in particular that it should not have been “recommended for approval” by Dr.

  Tumlin for treatment of iMN in Acument’s Patient for more than a year:

                 a. “Initial approval of Acthar in the US was in 1952. At that time, original
                    approval only required that the medication was safe for human use.” 2018
                    Prior Authorization Policy at 4 (emphasis supplied)

                 b. “Other reviews have been published regarding nephrotic syndrome but do not
                    mention use of Acthar or note that experience with the agent is far too
                    preliminary.” Id. (emphasis supplied)

                 c.    “The recommended authorization criteria address the use of Acthar in
                      infantile spasms and MS exacerbations in adults. Regarding Acthar’s other
                      uses [like nephrotic syndrome and iMN], data and guidelines do not suggest
                      that Acthar has a substantial role in therapy. Further data are needed before
                      use in other areas can be recommended.” Id. (emphasis supplied)(brackets
                      added).

                 d. In its “Policy Statement”, Express Scripts stated, “[p]rior authorization is
                    recommended for prescription benefit coverage of Acthar. The recommended
                    authorization criteria address the use of Acthar in infantile spasms and MS
                    exacerbations in adults.” But even as to these limited indications, “[a]ll
                    approvals are provided for one month in duration, where 1 month is equal to
                    30 days, unless otherwise noted below.” Id. at 5.

                 e. Under a heading titled, “Conditions Not Recommended for Approval”,
                    Express Scripts expressly listed “Treatment of Nephrotic Syndrome”. Id. at
                    6. That section further explained as follows:

                      The prescribing information for Acthar states that it may be used in an
                      edematous state, such as to induce a diuresis or a remission of proteinuria in


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                     the nephrotic syndrome without uremia of the idiopathic type or that due to
                     lupus erythematosus. (citing the January 2015 H.P. Acthar Gel prescribing
                     information as its source). However, very limited data in nephrotic
                     syndrome have studied the use of Acthar, in patients with diagnoses
                     including idiopathic membranous nephropathy (iMN),
                     membranoproliferative glomerulonephritis (MPGN), focal segmental
                     glomerulosclerosis (FSGS), minimal change disease (MCD), immunoglobulin
                     A (IgA) nephropathy, class V SLE glomerulonephritis, and monoclonal
                     diffuse proliferative glomerulonephritis. Other data in nephrotic syndrome
                     are available regarding use of a synthetic ACTH analog that is available
                     in Europe (tetracosactide [Synacthen Depot]). Id. at 6 (emphasis
                     supplied)(brackets in original).

         178.    Express Scripts expressly took issue with Dr. Tumlin’s published data about the

  use of Acthar for the treatment of nephrotic syndrome in articles published in 201111 (when Dr.

  Tumlin started Acument’s Patient on Acthar) and 2013.12 This is the same data that

  Mallinckrodt provided to its sales representatives to promote the use of Acthar for the treatment

  of nephrotic syndrome.

         179.    It is significant that Express Scripts only made these factual admissions about the

  lack of efficacy of Acthar to treat nephrotic syndrome after it lost the exclusive distribution

  rights to Acthar in late 2017, after it was sued by the City of Rockford and Acument.

         180.    Dr. Miller, Express Scripts Chief Medical Officer, has articulated the power of

  Express Scripts in the prescription drug marketplace to extract lower prices for its customers,

  using its tremendous buying power and influence. He has made all of the following public

  comments:


  11
    Tumlin J, Galphin CM, Rovin BH. Advanced diabetic nephropathy with nephrotic range
  proteinuria: a pilot study of the long-term efficacy of subcutaneous ACTH gel on proteinuria,
  progression of CKD, urinary levels of VEGF and MCP-1. J Diabetes Res. 2013; 2013:489869
  (“Tumlin 2013 Pilot Study”).
  12
    Bomback AS, Tumlin JA, Baranaski J, et al. Treatment of nephrotic syndrome with
  adrenocorticotropic hormone (ACTH) gel. Drug Des Devel Ther. 2011; 5:147-153 (“Tumlin
  2011 Study”).


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         “When I joined the company, we represented 12 million members. We’re
         at 85 million today. That gives us extraordinary sway in the marketplace.
         If you think about any other aspect of health care, no one else has that
         many lives that they can represent.” 13

          “We have tremendous scale, which allows us to get the best deals for our
         plan sponsors from both the pharmaceutical manufacturers and also the
         pharmacies. If any pharmacy chain ever becomes too large, we’re able to
         move our patients and … get the lowest cost.” 14

          “I think that because of the continued escalation of cost, you need a PBM
         now more than ever. And what a best-in-class PBM like Express Scripts
         does really ensure is great health outcomes and more affordable costs.” 15

         “Pharma has shown that they feel very emboldened with their pricing
         power. We’re using our clout in the marketplace to really tamp these
         down for our clients.” 16

         “There are pharma companies that recognize this is in their best interest,”
         he says. “They, like us, want to get to a sustainable marketplace. They
         know if they’re overcharging for drugs that have very little efficacy, that
         puts them in a competitive disadvantage.” 17



  13
    Managed Care Magazine Online, “A Conversation with Steve Miller, MD: Come in and Talk
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  https://www.managedcaremag.com/archives/2015/4/conversation-steve-miller-md-come-and-
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  talk-us-pharma
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  increases/
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    Medical Marketing and Media, “Express Scripts’ Steve Miller Takes on Drug Industry in
  Pricing Battle,” by Jaimy Lee, February 1, 2015, http://www.mmm-online.com/payersmanaged-
  markets/express-scripts-steve-miller-takes-on-drug-industry-in-pricing-battle/article/460559/


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         “Discussions to control costs have never been more important, as recent
         estimates put global drug spend at $1.5 trillion by 2021, according to data
         from Quintiles IMS Holding. Yet sometimes, in the drug pricing debate,
         blame is placed on one part of the drug distribution system when, in fact,
         all of us – pharmaceutical companies, pharmacy benefit managers
         (PBMs), policymakers and payers – have a role to play in achieving better
         affordability and accessibility for medicine. As the largest PBM, our job
         is to make sure our patients, and our clients who provide them a pharmacy
         benefit, are getting medicines at the lowest net cost while working with
         our industry partners to make that possible.” 18

         “…[I]t is incumbent upon the pharmacy benefits managers to more
         forcefully illustrate the critical role we play in making medicine more
         affordable and accessible. For example, we partnered with a drug maker
         who was willing to lower the price of its hepatitis C drug. In doing so, we
         were able to provide 50,000 patients affordable access to this
         medication.” 19

         “The biggest problem is not new expensive drugs but repricing old ones,
         and not just ones being purchased by Martin Shkreli or Valeant. ‘You
         have no new research. You have no innovation. You have nothing but
         increased drug prices.” 20

         “We are constantly trying to be vigilant and chase the bad actors out of the
         marketplace.” 21

         181.   Through such statements, Express Scripts acknowledged its strong influence on

  18
    Real Clear Health, “Is Drug Pricing at an Inflection Point?” by Dr. Steve Miller, April 14,
  2017,
  http://www.realclearhealth.com/articles/2017/04/14/is_drug_pricing_at_an_inflection_point_110
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  20
    Forbes, Pharma & Healthcare, “Solving Pharma’s Shkreli Problem,” by Matthew Herper,
  January 20, 2016, https://www.forbes.com/sites/matthewherper/2016/01/20/solving-pharmas-
  shkreli-problem/#6dcce78c6be3
  21
    The New York Times, “Specialty Pharmacies Say Benefit Managers Are Squeezing Them
  Out,” by Katie Thomas, January 9, 2017,
  https://www.nytimes.com/2017/01/09/business/specialty-pharmacies-say-benefit-managers-are-
  squeezing-them-out.html


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  pharmaceutical markets. The striking feature of the current circumstance is that Express Scripts

  has not asserted its influence to effectuate lower prices for Acthar.

         182.    While acknowledging the lack of “value” of the medication does not warrant its

  high prices, Express Scripts has facilitated, rather than forestalled, Mallinckrodt’s desire for ever

  growing profits by “repricing” an “old drug”.

         183.    Ironically, just one month after Express Scripts was sued by the City of Rockford

  in April 2017 for antitrust, Dr. Miller appeared on CNBC’s program “Squawk Box”. On May

  31, 2017, Dr. Miller stated, “when there’s competition in the marketplace, we [Express Scripts]

  do a great job of holding down prices. When we have competition in the marketplace, we are

  able to play them [the drug companies] off against each other.” 22

         184.    On the same program, in direct response to a line of questioning about the

  increased pricing of Mylan’s Epipen, Dr. Miller further stated as to Epipen:

         It’s a 100 year-old drug in a 20 year-old pen that used to be $95 for a two-pack. Over the
         course of several years, they raised the price to $600. So, only one company controls that,
         that’s the manufacturer.

         So, what really works is when we [Express Scripts] can move market share, we can bring
         prices down. You guys saw this in Hepatitis C. When we got competition into the
         marketplace, the market worked. We brought the price of Hepatitis C down by over
         50%. It’s actually cheaper in the United States then it is in Europe. So, that’s when the
         market really is working.

         185.    The situation described by Dr. Miller about Epipen is similar to Acthar in that one

  drug manufacturer “controlled” the product. However, with Acthar, unlike Epipen, the

  manufacturer went to the largest payor representative, Express Scripts, conspired and agreed to

  preclude competition in the marketplace, to maintain and enhance monopoly power and to

  continue to fix and raise prices without issue.


   https://www.cnbc.com/video/2017/05/31/competition-is-key-to-contain-drug-prices-dr-steve-
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  miller.html?hootPostID=a33432e4e0f1a67ae2bd68ae4bdf65d6

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         186.    In an article published by Forbes Magazine on February 8, 2016, titled “Solving

  Pharma’s Shkreli Problem”, Dr. Miller was presented with the problem of “repricing” old drugs,

  like Acthar and “the ones being purchased by Martin Shkreli or Valeant”, including Turing’s

  Daraprim. He responded, “[y]ou have no research. You have no innovation. You have nothing

  but increased drug prices.” What Dr. Miller failed to acknowledge publicly is that the increased

  prices of Acthar we caused due in large part to Express Scripts’ decision to withhold its market

  power to effectuate lower prices for Acthar by its exclusive agreements with Mallinckrodt to set

  the prices of Acthar at anticompetitive levels.

       THE MALLINCKRODT SYNACTHEN ACQUISITION AND EXPRESS SCRIPTS’
         ROLE IN THE MAINTENANCE OF MONOPOLY PRICING FOR ACTHAR

         187.    Since 2007, Acthar has provided the vast majority of Mallinckrodt’s revenue.

  Acthar was so important to Questcor that its then-CEO, Don Bailey announced publicly on

  multiple occasions that Questcor “is basically a single product company.”23

         188.    Through its exorbitant price increases, Mallinckrodt was able to grow its revenue

  from Acthar sales from less than $1 million in 2001 to $798.9 million in 2013. Much of this

  increase occurred between 2011 and 2013 when Mallinckrodt’s revenues increased $218.2

  million to $798.9 million.

         189.    However, by 2013, Mallinckrodt had identified a competitive threat. Novartis AG

  (“Novartis”) had developed Synacthen Depot (cosyntropin depot) (“Synacthen”), a synthetically

  derived ACTH medication, which, like Acthar, could be injected intra-muscularly. While it was

  used outside the United States, it was not yet approved by the FDA for use in the United States.


  23
    Exhibit 99.1 to Questcor form 8-K, Aug. 11, 2011 Canaccord Genuity Conference Transcript at
  1; see also UBS Investment Bank’s Global Life Sciences Conference, Sept. 19, 2011, Transcript
  at 2 (wherein CEO Bailey stated “Questcor is a single-product company” and affirmed “this
  presentation was filed with the SEC on [September] 9th”).


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  Recognizing that the entry of Synacthen in the U.S. market for ACTH drugs would threaten its

  exercise of its monopoly power, Mallinckrodt first attempted to buy the rights to Synacthen in

  2009. It failed.

         190.    As of 2013, Novartis agreed to sell Synacthen to Retrophin, Inc., which at the

  time was helmed by Mr. Shkreli. Mr. Shkreli founded Turing (the maker of Daraprim) after he

  departed Retrophin.

         191.    When faced with a competitive threat to its monopoly, Mallinckrodt disrupted the

  bidding process for Synacthen by intervening at the last minute to pay multiple times what had

  been offered by three competitors, including Retrophin. Retrophin had agreed to buy Synacthen

  for $16 million. Upon learning of this imminent threat, Mallinckrodt acted to protect and

  enhance its monopoly power by licensing Synacthen for a minimum of $135 million from

  Novartis. It licensed the U.S. exclusive rights to Synacthen from Novartis, not to bring this

  viable synthetic alternative to Acthar to market, but to eliminate the nascent competitive threat

  posed by an independently owned Synacthen.

         192.    Acquiring Synacthen allowed Mallinckrodt to maintain and enhance its monopoly

  power in the ACTH market by removing a competitive threat from the marketplace. The

  Synacthen acquisition had the purpose and effect of suppressing competition and allowing

  Mallinckrodt to continue to raise prices for Acthar, which it did.

         193.    From 2013 through 2017, Mallinckrodt raised the price of Acthar from $36,144 to

  $43,658.

         194.    But Mallinckrodt could not have gotten away with increasing its monopolistic

  prices without the express written consent of Express Scripts, as required by the parties’

  contracts. Accordingly, Express Scripts had to agree with Mallinckrodt to allow it to not bring



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  Synacthen to market.

           195.   While the details of this consent are not yet known, and can only be discovered by

  Plaintiff through discovery in this case, this much is known.

           196.   As the largest PBM in America, and the exclusive distributor of Acthar for

  Mallinckrodt, Express Scripts knew that Mallinckrodt had acquired Synacthen Depot from

  Novartis. It is believed and therefore averred that Express Scripts also knew at the time of the

  Synacthen acquisition that there were other bidders for Synacthen, who were expecting to bring

  the product to market to directly compete with Acthar.

           197.   Certainly, after Retrophin sued Mallinckrodt in January 2014, which lawsuit is

  discussed below, these facts were known to Express Scripts. And yet, Express Scripts did

  nothing to force Mallinckrodt to bring Synacthen to market to compete with Acthar to lower

  Acthar prices for the benefit of its direct-purchasing customers, like Rockford, and indirect

  purchasing customers, like Acument.

           198.   Instead, Express Scripts continued its unlawful conspiracy and agreements with

  Mallinckrodt to maintain inflated monopoly prices for Acthar, unchallenged by Synacthen

  competition.

           199.   In its 2018 Prior Authorization Policy, Express Scripts acknowledged that

  “[o]ther data in nephrotic syndrome are available regarding use of a synthetic ACTH analog that

  is available in Europe (tetracosactide [Synacthen Depot]). Id. at 6. And yet, Express Scripts did

  not utilize its substantial market power for force the competition that its Chief Medical Officer

  Dr. Miller affirmed is critical to lowering drug prices, as it did in the case of Daraprim discussed

  above.




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     THE QUI TAM WHISTLEBLOWER COMPLAINT AGAINST MALLINCKRODT

         200.     On April 30, 2019, CNN reported that the United States Department of Justice

  (“DOJ”) had intervened in a false claims act action brought by two former employees of

  Mallinckrodt.

         201.     The intervention actually took place the month before, on March 6, 2019, but the

  case was sealed at the time. See Plaintiff Under Seal v. Defendant Under Seal, Civil Action No.

  12-CV-0175-BMS, E.D.Pa., at Dkt. No. 55. The government’s decision to intervene, a relatively

  rare occurrence, was done after the government conducted its own extensive investigation of the

  claims by the former employees and concluded that the allegations are credible.

         202.     The case, now known as U.S. ex. Rel. Charles Strunck and Lisa Pratta, was filed

  in 2012 by Charles Strunck, New York-based former Multiple Sclerosis (“MS”) Sales Specialist

  for Questcor, and Lisa Pratta, a New Jersey-based Acthar neurology specialist for both Questcor

  and Mallinckrodt (collectively, the “Relators”). Strunck worked from September 2010 through

  August 2011, while Pratta worked from September 2010 through June 2017.

         203.     As reported by CNN, and as averred in their Qui Tam Complaint, the Relators

  allege that Mallinckrodt has engaged in a long—standing scheme to bribe doctors to prescribes

  Acthar at the exorbitant, inflated prices detailed herein. They claim there was a “culture” at

  Mallinckrodt designed to sell Acthar at all costs, from lying to the FDA to offering bribes to

  doctors.

         204.     Importantly, Mallinckrodt has not denied the allegations. Instead, Mallinckrodt

  claims the conduct alleged is a “legacy matter” involving Questcor and its conduct prior to

  Mallinckrodt’s acquisition.

         205.     However, Relator Pratta, who worked at both Questcor and Mallinckrodt after the



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  2014 acquisition, has alleged that the conduct continues at Mallinckrodt.

         206.    In a conference call with investors held May 7, 2019, CEO Mark Trudeau

  publicly stated that the company has reserved for the settlement of the Relators’ case and is

  actively pursuing settlement which he stated is “likely to resolve sooner than later”.

         207.    The conduct alleged by Relators involved kickbacks to doctors in the form of free

  Acthar, as well as active concealment by Mallinckrodt of the conduct for years.

         208.    For this reason, Acument did not know and could not have known about such

  unlawful conduct until the earliest date of April 30, 2019. As a result, Plaintiff’s claims stated

  herein premised upon the unlawful conduct revealed by the Relators’ case are timely.

         209.    Plaintiff had no way of knowing that Mallinckrodt was paying doctors in

  Tennessee thousands of dollars to prescribe Acthar to their patients.

         210.    The kickback scheme involved the promotion of Acthar to treat disease states for

  which Acthar was not the “gold standard”, as in the case of IS, and for treatments that were not

  covered by the Acthar label.

         211.    For instance, Acthar is approved to treat acute exacerbations of disease. But the

  scheme uncovered by Relators involved widespread promotion of Acthar for the long-term

  treatment of disease.

         212.    In the case of Acument’s beneficiary, they have been prescribed Acthar for years

  to treat nephrology syndrome. As a result of Mallinckrodt’s promotional effort, instead of

  treating Acument’s beneficiary for an acute exacerbation, or flare-up, they have been treated

  with Acthar as maintenance medication for more than a year. Acument was forced to pay

  hundreds of thousands of dollars for Acthar.

         213.    The conduct revealed by the Relators goes to the manner in which Mallinckrodt



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  was able to convince doctors to prescribe the high-priced Acthar, after the Defendant’ conspired

  and agreed to raise the prices and maintain the prices at artificial levels. The conduct involved

  systematically promoting and marketing Acthar for unapproved off-label uses, including the

  nephrology syndrome for which Acument’s beneficiary was prescribed Acthar.

          214.   The scheme involved compensating sales representatives thousands of dollars to

  promote the sale of Acthar for unapproved uses and doses, to benefit Mallinckrodt and the sales

  reps. Sales representatives have been paid tens of thousands of dollars for such promotional

  efforts. As detailed in the Relators’ complaint, one sales representative was paid a $124,000

  bonus in the second quarter of 2011, including $75,000 for just one month. Others received

  bonuses of $110,000 and $80,000 in the same period.

          215.   The compensation of sales reps was directly tied to sales growth, a growth that

  was possible by expanding the approved uses for Acthar which had a narrow, limited market of

  patients.

          216.   Mallinckrodt employed a team of “Medical Science Liaisons”, like Sagar Shah,

  who were directed by Nikki Mutschler to join with sales specialists, like Strunck and Pratta to

  promote the sale of Acthar for unapproved uses.

          217.   To hide the fact that the promotional effort was for unapproved, off-label uses,

  Mallinckrodt referred to such uses as “new indications.”

          218.   The sales of Acthar for these “new indications” became a primary focus for

  Mallinckrodt, as it strived to grow its revenue to the more than $1 billion in sales it achieves each

  year for Acthar alone.

          219.   Mallinckrodt achieved such exponential growth, despite the price increases

  detailed herein, by providing valuable remunerations to doctors to induce and encourage them to



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  prescribe Acthar for unapproved uses and doses.

         220.    As the Relators’ Complaint reveals, and as Acument alleges herein, Mallinckrodt

  engaged in such conduct in violation of the Tennessee laws by providing secret kickbacks to

  doctors throughout the country, including Tennessee, to get them to prescribe Acthar at

  exorbitant prices, which Acument has been forced to pay, and continues to pay to this day. As

  detailed herein, Dr. Tumlin received hundreds of thousands of dollars from Mallinckrodt to

  prescribe Acthar. That is why Plaintiff seeks declaratory and injunctive relief against

  Mallinckrodt to end such practices.

                     RELEVANT MARKETS, MONOPOLY POWER,
                 AND THE FTC COMPLAINT AGAINST MALLINCKRODT

         221.    The supra-competitive and exorbitant prices that Mallinckrodt and Express

  Scripts charge for Acthar, and Mallinckrodt’s limitation on distribution through the entry into an

  exclusive distribution arrangement with Express Scripts in 2007, are direct evidence of

  Mallinckrodt’s monopoly power and actions to maintain and enhance such monopoly power, in

  violation of the antitrust laws. That Acthar holds a dominant share of the relevant market for

  ACTH drugs in the United States shows Mallinckrodt’s monopoly power by indirect evidence.

         222.    The exercise of such monopoly power is also shown by Mallinckrodt’s

  acquisition of Synacthen, and decision, without pressure from Express Scripts, to keep

  Synacthen off the market to maintain and enhance its monopoly prices for Acthar.

         223.    The relevant product market is the sale of ACTH drugs, dominated by just one

  product, Acthar. The geographic market for purposes of this case is the State of Tennessee, as

  part of the larger United States market, but governed by the antitrust laws of this State. In this

  market, Mallinckrodt is the single seller, and the third party payors are the leading buyers.

         224.    That market is and has been characterized by significant barriers to entry.


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         225.    There are no medical or reasonably available substitutes for Acthar. The only

  potential substitute was Synacthen, which Mallinckrodt purchased the rights to from Novartis in

  2013, only to shelve the product, with the consent of Express Scripts, rather than seek to bring it

  to market in the United States, and specifically to the Tennessee market.

         226.    On January 18, 2017, the Federal Trade Commission (“FTC”) sued Mallinckrodt,

  alleging that Mallinckrodt exercised, and continues to exercise, monopoly power in the United

  States in the sale of Acthar. See generally, Complaint for Injunctive Relief and Other Equitable

  Relief (“FTC Complaint”) at Exhibit “D” hereto.

         227.    The FTC alleged that such purchases “extinguished a nascent competitive threat

  to [Mallinckrodt’s] monopoly.” FTC Complaint, ¶ 1.

         228.    At all relevant times material to this case, Mallinckrodt possessed monopoly

  power—the ability to profitably raise price significantly above competitive levels without losing

  significant sales—in the relevant product market. None of the vast price increases taken by

  Mallinckrodt between 2007 and the present have caused a significant loss of sales. To the

  contrary, Mallinckrodt’s sales have increased during that time.

         229.    Mallinckrodt has repeatedly and profitably raised Acthar’s price from the time it

  acquired the product for $100,000 in 2001 from Aventis to the present. Mallinckrodt has been

  able to raise prices unchecked, as set forth above, and achieve corresponding revenue growth to

  more than $1 billion.

         230.    Mallinckrodt has encountered no competitive constraints on its ability to

  repeatedly increase Acthar’s price and, by extension, its revenue and profit margins.

  Mallinckrodt does not set the price of Acthar in reference to the price of any of the other drugs

  that are prescribed to treat the same indications that Acthar treats. Acthar is priced significantly



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  higher than non-ACTH drugs used to treat the same indications, except for IS.

         231.    Indeed, one Mallinckrodt executive, Steve Cartt, commented that the price for

  Acthar “was chosen by looking at the prices of other specialty drugs and estimating how much

  insurers and employers would be willing to bear.” According to Cartt, Mallinckrodt took “some

  comfort that the strategy would work, and physicians would continue to use the drug, and payers

  would continue to pay.” In fact, according to Cartt, the “reality was better than expected.”

         232.    In its Annual Report on Form 10-K for the Fiscal Year ended December 31, 2007,

  Questcor illustrated the effect of its monopolization strategy on its “5 Year Cumulative Total

  Return”, illustrating a 290% return between 2006 and 2007 as follows:




         233.    FDA approval is required to market pharmaceuticals to U.S. consumers. As a

  result, drugs sold outside of the United States are not viable competitive alternatives for U.S.


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  consumers, even in the event of a significant price increase for ACTH drugs available in the

  United States.

         234.      Acthar has a 100% share of the market for ACTH drugs in Tennessee and

  throughout the United States. No other ACTH drug is FDA-approved for therapeutic use.

         235.      The Tennessee ACTH market, like the larger United States ACTH market, is

  characterized by high barriers to entry. Developing a long-acting, depot-injection formulation of

  a drug product containing ACTH (natural or synthetic) that is stable, safe, and effective would

  require significant time, cost, and effort, with no guarantee of success. The requirements for

  entry include sourcing the active pharmaceutical ingredient, formulating a sustained-release

  depot-injection formulation, scaling production to clinical scale, and successfully conducting

  clinical trials necessary for FDA approval. Mallinckrodt’s former CEO Don Bailey assured

  investors that Acthar “has significant durability in the marketplace” because “it will be very

  difficult for this product to be replicated in any way [by] a generic.”

         236.      Former CEO Don Bailey also claimed that one of the barriers to entry is the

  Acthar drug formulation. While Acthar is a biologic extraction of porcine pituitaries, Bailey

  claimed, “[i]t’s an undisclosed composition, so that’s a trade secret.” He also claimed “[t]he

  manufacturing process is also a trade secret. It’s complex, it’s unique, and we own all elements

  of the manufacturing process. …The composition of Acthar that comes out of the manufacturing

  process is tied to the process, so if you don’t know the process you can’t figure out what’s

  actually in Acthar.”

         237.      If what the former CEO was saying was that Mallinckrodt enjoyed a natural

  monopoly, that does not necessarily imply the absence of market constraints. These constraints

  can come from a new competitive product, like Synacthen, or from a dominant buyer on the



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  other side of the market, like Express Scripts. Both of these factors are relevant here.

           Mallinckrodt Engaged in Anticompetitive Conduct By Acquiring the Only
                               Competitor Drug, Synacthen

         238.    Synacthen posed a threat to Mallinckrodt’s ACTH drug monopoly, so

  Mallinckrodt intervened at the time when other firms were attempting to acquire the U.S. rights

  to Synacthen from Novartis. Mallinckrodt submitted a bid that included substantially more

  guaranteed money than the other bidders had offered, effectively ending the bidding process. By

  acquiring Synacthen, Mallinckrodt eliminated the possibility that another firm would develop it

  and compete against Acthar.

         239.    Synacthen constituted a nascent competitive threat to Mallinckrodt ’s ACTH drug

  monopoly, notwithstanding the uncertainty that Synacthen, a preclinical drug, would be

  approved by the FDA.

         240.    For years, Mallinckrodt viewed Synacthen as a significant potential competitive

  threat to its monopoly.

         241.    When Mallinckrodt first decided to pursue an “orphan drug” (i.e., high) pricing

  model for Acthar, it recognized the potential threat Synacthen posed to Acthar’s revenue growth.

         242.    Nevertheless, in 2007, Mallinckrodt adopted and pursued the above-described

  “new strategy”, consolidating Acthar distribution to just one distributor (Curascript) and

  streamlining its control over sales and distribution through the implementation of ASAP (run by

  UBC). These functions were consolidated in one significant company, Express Scripts.

         243.    In 2009, Mallinckrodt approached Novartis about acquiring Synacthen. At that

  time, Mallinckrodt continued to view Synacthen as a possible future competitor, especially given

  the increasing prices Mallinckrodt was commanding for Acthar. Unsuccessful in that initial

  attempt, Mallinckrodt continued to monitor the competitive threat from Synacthen.


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         244.     Then in 2012, Mallinckrodt again concluded that Synacthen posed a more

  immediate threat to Acthar if Synacthen was approved for sale in the United States.

         245.     By 2013, Mallinckrodt feared that if another company were to acquire Synacthen

  and obtain FDA approval, it could undermine its business model.

         246.     On information and belief, as long as Mallinckrodt believed no other firm was

  seeking to bring Synacthen to the United States, Mallinckrodt did not make further attempts to

  acquire it. Indeed, just months before Mallinckrodt began pursuing the acquisition of Synacthen,

  top Mallinckrodt officials questioned whether Synacthen would provide any affirmative value to

  Mallinckrodt.

           Other Bidders Planned to Use Synacthen to Challenge Acthar’s Monopoly

         247.     Unbeknownst to Mallinckrodt at the time, Novartis decided in late 2011 to divest

  exclusive rights to seek FDA approval for Synacthen and commercialize it in the United States,

  along with the marketing rights for Synacthen in over thirty-five other countries where the drug

  was already approved and sold. Dozens of companies contacted Novartis and expressed interest

  in acquiring Synacthen. Three firms proceeded through several rounds of negotiations with

  Novartis, submitted formal offers, and drafted near-final agreements.

         248.     It is alleged that each of the three firms planned to develop Synacthen for IS and

  to use Synacthen to compete directly with Acthar. With this indication, each firm expected to

  capture a significant share of the U.S. ACTH market from Mallinckrodt by pricing Synacthen

  below Acthar’s prices. Having the requisite pharmaceutical expertise and financing, the three

  firms independently conducted due diligence, crafted business plans and regulatory approval

  strategies, and took other affirmative steps in furtherance of developing Synacthen for the U.S.

  ACTH market.



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                                The Value of the Synacthen Assets

         249.    The Synacthen assets and related rights provide a proven formulation for a long-

  acting, depot-injection drug containing synthetic ACTH. The drug product manufactured using

  the Synacthen formulation has been safely and effectively used to treat patients suffering from IS

  and other conditions worldwide for decades. The Synacthen assets would therefore facilitate

  commercializing a synthetic ACTH therapy in the United States.

         250.    The asset package being sold by Novartis included valuable trade secrets,

  including technical documentation detailing both the precise formulation for the Synacthen drug

  product and the manufacturing process.

         251.    In possession of the Synacthen assets, a buyer would not need to create a

  synthetic ACTH drug formulation de novo, nor would it need to develop from scratch the

  manufacturing and testing protocols necessary for production of the drug product.

                     Mallinckrodt Disrupted the Synacthen Bidding Process

         252.    It is alleged that, on October of 2012, Mallinckrodt learned that at least one

  unidentified firm was attempting to acquire Synacthen from Novartis to develop it to compete

  with Mallinckrodt for the ACTH market. Mallinckrodt immediately reached out to Novartis,

  signed a confidentiality agreement with Novartis, and submitted a confidential offer for the

  purchase of Synacthen.

         253.    Novartis negotiated with the three alternative bidders in parallel with

  Mallinckrodt. By the spring of 2013, all three of the alternative bidders had submitted offers for

  Synacthen, with plans to develop and launch Synacthen in the United States in direct competition

  with Acthar. At the point where those negotiations left off, each company exchanged deal terms

  with Novartis and submitted formal offers. The offers by the three alternative bidders were



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  comparable in value and structured similarly, and included an upfront payment, milestone

  payments upon FDA approval, and significant royalties on U.S. sales of Synacthen.

         254.    Unlike the three alternative bidders, Mallinckrodt had only incomplete plans for

  Synacthen and conducted limited due diligence when it submitted its initial offer to Novartis.

  Retrophin ultimately prevailed in the bidding war with a bid of $16 million.

         255.    However, on June 11, 2013, the day Retrophin was to sign its agreement with

  Novartis, Mallinckrodt and Novartis entered into a Licensing Agreement, Asset Purchase

  Agreement, and Supply Agreement (collectively, “the Agreements”). By the Agreements,

  Mallinckrodt gained the exclusive rights to develop, market, and sell Synacthen in the United

  States and over thirty-five other countries. Under the Agreements, Mallinckrodt is obligated to

  pay a minimum of $135 million, and likely will pay $300 million to Novartis for Synacthen.

         256.    In other words, Mallinckrodt swept in at the eleventh hour to overpay—at least 8

  times more than the market had determined—for the only immediate competitive threat to its

  monopoly for Acthar. Despite paying this amount, they did not seek FDA approval to bring the

  product to market.

   The Lawsuit Between Retrophin and Mallinckrodt for Mallinckrodt's Antitrust Violations

         257.    In January 2014, Retrophin sued Questcor (n/k/a Mallinckrodt) for antitrust

  violations in the United States Federal District Court for the Central District of California. See

  Retrophin, Inc., v. Questcor Pharmaceuticals, Inc., CV-14-00026-JLS (C.D.Cal) ("Retrophin

  Complaint") (attached hereto at Exhibit “E”). (To the extent relevant to Plaintiff’s Complaint, the

  averments of antitrust conduct interposed by Retrophin are incorporated by reference herein).

         258.    In the Retrophin Complaint, Retrophin claimed,

                 "[i]n June of 2013, plaintiff Retrophin was poised to challenge
                 Questcor's monopoly. It had negotiated an agreement to purchase


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                 from Novartis AG ("Novartis"), the rights to sell in the US a
                 product called Synacthen. ...

                 Retrophin planned to obtain FDA approval to sell Synacthen in the
                 US and compete head to head against Questcor by dramatically
                 undercutting Questcor's price for Acthar. It had negotiated and
                 was ready to sign an agreement to purchase the US rights to
                 Synacthen from Novartis. The signing was scheduled for June 11,
                 2013. The signing of the agreement was so imminent that a press
                 release had been prepared to announce the deal.

                 On June 11, 2013, the day Retrophin was to sign its agreement
                 with Novartis, Questcor swept in and acquired the rights to
                 Synacthen. In doing so, it preserved and entrenched its ACTH
                 monopoly in US and eliminated the competitive threat posed by
                 Retrophin's acquisition of Synacthen.            There was no
                 procompetitive aspect of Questcor's acquisition of Synacthen.

  Retrophin Complaint, ¶¶ 4-6, at Exhibit “E” hereto.

          259.   The FTC agreed with Retrophin's assessment.

          260.   The government, in its 2017 FTC complaint, mirrored Retrophin's 2014

  allegations that Mallinckrodt engaged in anticompetitive conduct in violation of the antitrust

  laws.

          261.   Mallinckrodt chose to settle the Retrophin lawsuit for $15.5 million, slightly less

  than the $16 million Retrophin bid to purchase Synacthen from Novartis.

                 Mallinckrodt’s Acquisition of Synacthen Harmed Competition

          262.   Mallinckrodt’s strategy to conspire with Express Scripts and continue to protect

  its monopoly power in the market for ACTH drugs was successful. But for Mallinckrodt’s

  acquisition of Synacthen, one of the three alternative bidders, including Retrophin, would have

  acquired Synacthen and pursued its plan to develop Synacthen for IS to compete directly with

  Acthar at a lower price. With the acquisition of Synacthen, Mallinckrodt was able to thwart an

  imminent threat to its Acthar monopoly and thereby harmed competition. But it was only


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  because Express Scripts agreed with Mallinckrodt to not bring Synacthen to market that

  Mallinckrodt’s scheme was successful.

            263.   Mallinckrodt claimed at the time that it acquired Synacthen to develop it for new,

  non-Acthar indications, but given the similarities between the two drugs, any therapeutic

  indication that Mallinckrodt was to pursue for Synacthen could easily have been pursued for

  Acthar.

            264.   In a public statement released by Mallinckrodt on June 29, 2018, in direct

  response to the Rockford lawsuit, Mallinckrodt admitted “Mallinckrodt did not pursue

  commercialization of Synacthen for IS.” However, it falsely claimed that the reason for not

  doing so was because “the barriers to completion were, in our view, virtually impossible to

  overcome.” See June 29, 2018 Press Release, “The Facts About H.P. Acthar Gel” at Exhibit “C”

  hereto.

            265.   Fourteen months after Questcor acquired Synacthen, Mallinckrodt acquired

  Questcor for $5.9 billion. The vast majority of Questcor’s value was attributable to Acthar and

  Synacthen.

            266.   However, despite its claims about a willingness to bring Synacthen to market, to

  date, Mallinckrodt has not brought Synacthen to market for any indication. Instead, it keeps

  Synacthen off the market to protect its monopoly power and high prices for Acthar. Express

  Scripts continues to allow Mallinckrodt to restrict competition in the market for ACTH products.

                                  Mallinckrodt Settles with the FTC

            267.   On January 18, 2017, the FTC announced that Questcor and its new parent

  Mallinckrodt plc agreed to pay $100 million to settle FTC charges that Questcor and

  Mallinckrodt violated antitrust laws when Questcor acquired the rights to Synacthen from



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  Novartis in 2013.

          268.   According to FTC Chairwoman Edith Ramirez, “Questcor took advantage of its

  monopoly to repeatedly raise the prices of Acthar, from $40 in 2001 (when it acquired the rights

  to sell Acthar for $100,000) to more than $34,000 per vial today – an 85,000 percent increase.”

          269.   The brunt of these monopoly prices was borne by self-funded payors, like

  Acument, located throughout the country, whose employees and beneficiaries whom were at the

  mercy of Mallinckrodt and treated with Acthar.

          270.   From the time it sought FDA approval for the treatment of IS, Mallinckrodt has

  raised the price of Acthar to over $45,000.

          271.   Remarkably, Mallinckrodt continues to deceive payors like Acument and the

  public about the true prices of Acthar. In its June 29, 2018 Press Release, “The Facts About H.P.

  Acthar Gel” at Exhibit “C”, Mallinckrodt claimed that “[t]he price of H.P. Acthar Gel today is

  $38,892, before discounts provided to payors.” As set forth above, this is demonstrably false and

  misleading, as Mallinckrodt raised the WAC for Acthar to $31,626.00 on January 16, 2014, 4 ½

  years prior, which in turn raised its AWP to $39,532.50 in 2014. Since that time, Mallinckrodt

  has raised the WAC multiple times, at least once a year, pushing the AWP to over $45,000.00 in

  2018.

          272.   Mallinckrodt claimed that these exorbitant price increases were in response to

  demand. But its former Chief Executive Officer, Don Bailey, acknowledged in 2009 that “we

  only have about 800 patients a year. It’s a very, very small – tiny – market.” Consequently, the

  limited use of the product did not justify an over 58,000% price increase from acquisition until

  2009.

          273.   Since the Acthar market for the treatment of IS was so limited, Mallinckrodt



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  sought to expand its use. By 2012, Acthar was prescribed for Medicare recipients 3,387 times.

  To Medicare alone, this represented a cost of $141,500,000 in 2012.

         274.    Quantified another way, Dr. William Shaffer, a neurologist in Greeley, Colorado

  who was the highest prescriber of Acthar in 2012, wrote only 78 prescriptions for the drug, but

  the prescribed Acthar cost Medicare $4,000,000.

         275.    Acthar represented 98% or more of Mallinckrodt’s sales and revenue from sales

  since 2007. Its manipulation of the market has resulted in a 266% increase in revenue year-over-

  year from 2011 to 2013. Total net sales for Mallinckrodt in 2011 were $218.2 million, $509.3

  million in 2012, and $798.9 million in 2013. In each of those years, Acthar represented at least

  95% of Mallinckrodt’s net sales – over $1.45 billion in revenue.

         276.    In the words of former CEO Don Bailey “Questcor is basically a single-product

  company.” But, by flexing its monopoly power, Mallinckrodt has been able to raise Acthar

  prices and increase revenue from Acthar in a “tiny market” from less than $1 million for fiscal

  2001 to $799 million for fiscal 2013 - a nearly 80,000% increase. It did so in conjunction with

  Express Scripts.

         277.    Mallinckrodt's decision to exclusively contract with the agent for its largest

  customer to provide limited distribution for Acthar removed Express Scripts’ competitive

  pressure in the marketplace to cause Acthar prices to be lower. Instead, by entering into an

  exclusive arrangement with Express Scripts, Mallinckrodt was able to enhance its monopoly

  power and to raise its Acthar prices above competitive prices throughout the relevant time period

  from 2007 through the present.

     Dr. Tumlin’s Role in the Acthar Scheme as a Leading “KOL” for Mallinckrodt in the
      Development and Promotion of Acthar for the Treatment of Nephrology Syndrome

         278.    In order to effectuate their scheme and conspiracy fully, the corporate Defendants


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  needed some help with the promotion of Acthar to physicians, especially in the medical fields

  where Acthar was not the preferred course of treatment. Indeed, Acthar was not approved by the

  FDA for the long-term treatment of most diseases for which Acthar had a narrow indication from

  its 1952 label. One such field was nephrology.

            Mallinckrodt targets nephrology syndrome as a “potential new market”
                             to promote off-label sales of Acthar.

         279.    As Express Scripts’ 2018 Prior Authorization Policy acknowledged, “data and

  guidelines do not suggest that Acthar has a substantial role in therapy” for nephrotic syndrome,

  including iMN. Instead, “[f]urther data are needed before use in other areas [beyond IS and MS]

  can be recommended.” Id. at 4 (brackets added).

         280.    To overcome this lack of data to support to use of Acthar to treat nephrotic

  syndrome, and to support its marketing effort in nephrology, Mallinckrodt engaged certain

  nephrologists strategically situated throughout the country. These doctors became known as

  “Key Opinion Leaders” or “KOLs”.

         281.    Mallinckrodt turned to KOLs initially to determine whether there was a viable

  potential market for Acthar with nephrologists.

       Mallinckrodt engages KOLs for “white coat marketing” of Acthar to nephrology

         282.    The monopoly profits realized by the implementation of the “new strategy” in

  2007 made it possible for Mallinckrodt to pay doctors to serve as KOLs as part of the

  Mallinckrodt white coat marketing strategy into nephrology.

         283.    The practice of “white coat marketing” was identified by the Office of Inspector

  General (OIG) of the federal government as a potential area of fraud and abuse as early as 1991.

  See, e.g., OIG Advisory Opinion No. 11-08, issued June 12, 2011, at 6 (citing 56 Fed. Reg.

  35952, 35974 (July 29, 1991)). As described in Advisory Opinion No. 11-08:


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         The fraud and abuse risks are compounded where, as here, a physician or other health
         care professional is involved in the marketing activity – a practice sometimes referred to
         as “white coat” marketing. White coat marketing is closely scrutinized under the anti-
         kickback statute because physicians and other health care professionals are in an
         exceptional position of public trust and thus may exert undue influence when
         recommending health care-related items or services – especially when marketing to their
         patients. See, e.g., 56 Fed. Reg. 35952, 35974 (July 29, 1991). Given the nature of these
         relationships, when physicians or other health care professionals market items and
         services to their patients, patients may have difficulty distinguishing between
         professional medical advice and a commercial sales pitch.

         284.    In order to cultivate KOLs for its white coat marketing scheme, Mallinckrodt

  directed its sales force call on select nephrologists to discuss their treatment of nephrotic

  syndrome and to begin sharing the available data on synthetic ACTH treatment.

         285.    However, it is believed and therefore averred that the only available data was data

  relating to the use Synacthen Depot in Europe.

         286.    Mallinckrodt then began working with KOLs, like Dr. Tumlin, were interested in

  generating new data in the United States to support the off-label use of Acthar to treat

  nephrology syndrome. This became a major focus for Mallinckrodt in 2009.

                            Dr. Tumlin is hired as a Mallinckrodt KOL

         287.    By at least March 2009, Dr. James Tumlin was hired by Mallinckrodt to develop

  supporting data using his existing patients as test subjects in a non-FDA approved clinical study.

  Mallinckrodt paid Dr. Tumlin handsomely for such work on behalf of the company.

         288.    It is believed and therefore averred that around that time Mallinckrodt entered into

  a contract with Dr. Tumlin to conduct clinical studies of his patients using Acthar to treat their

  nephrology syndrome. This engagement was not to conduct any FDA-approved clinical study.

  Instead, it was to pay Dr. Tumlin to conduct clinical studies of his own patients by prescribing

  Acthar to them for unapproved uses and doses to treat their nephrotic syndrome in order to learn

  about the effects of Acthar on their disease and assist Mallinckrodt in developing anecdotal data


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  with which to promote Acthar’s use to other nephrologists. One such patient was Acument’s

  Patient.

         289.    The 2009 contracted study was titled “A Randomized, Placebo-Controlled,

  Parallel-Group, Double-Blind Study of H.P. Acthar Gel (Acthar) in Treatment-Resistant Subjects

  With Persistent Proteinuria and Nephrotic Syndrome Due to Idiopathic Membranous

  Nephropathy (iMN)” (hereinafter, “Tumlin 2009 Randomized Study”). It is believed and

  therefore averred that Dr. Tumlin “enrolled” 15 patients for this study. While Acument’s Patient

  had iMN, it is unknown to Acument at this time whether its Patient beneficiary was included

  among the 15 patients Dr. Tumlin treated with Acthar as part of this contracted study. Only

  discovery will reveal the truth.

         290.    However, it is known Dr. Tumlin did not charge either the Patient or Acument for

  the Acthar he prescribed in 2011. Instead, it is believed and therefore averred that Mallinckrodt

  provided the drug for free in order that Dr. Tumlin could develop data to assist in its marketing

  and sales of Acthar to other nephrologists. Typically, a prescription drug company will not

  charge patients for the drug used in a clinical study.

         291.    Dr. Tumlin’s work on behalf of Mallinckrodt became a centerpiece of its

  marketing plan for nephrologists, not just in Tennessee, where Dr. Tumlin’s practice, Southeast

  Renal Research Institute, was located in Chattanooga, but throughout the country.

         292.    It is believed and therefore averred that Dr. Tumlin travelled across the country on

  all expenses paid trips funded by Mallinckrodt to promote the use of Acthar for nephrology

  syndrome and other disease states for which there were no clinical studies to support the

  treatment. Instead, it is believed that Dr. Tumlin cited his own anecdotal experience with his

  patients, about which he published in two papers, the Tumlin 2001 Study and the Tumlin 2013



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  Pilot Study. See notes 12 and 13 above.

         293.    While it is not yet known the total dollars Mallinckrodt paid Dr. Tumlin for these

  two “studies” which led to published articles, it is believed and therefore averred that those

  monies were only part of Dr. Tumlin’s compensation for working for Mallinckrodt.

         294.    For instance, it is known that Dr. Tumlin conducted a study titled “Safety and

  Efficacy of Acthar Gel on Albuminuria and Urinary Transforming Growth Factor Excretion in

  Type II Insulin Requiring Diabetics with Nephrotic Range Proteinuria: A Pilot Study”. It is

  believed that Mallinckrodt paid Dr. Tumlin for that study.

         295.    In prior authorization update released by Express Scripts in 2018 – 9 years after

  Mallinckrodt began white coat marketing of Acthar through KOLs like Dr. Tumlin – Express

  Scripts admitted that Acthar should not have been “recommended for approval” by any doctor,

  including Dr. Tumlin, for treatment of iMN in patients.

         296.    In fact, Express Scripts cited Dr. Tumlin’s 2 published papers sponsored and paid

  for by Mallinckrodt, the Tumlin 2011 Study and the Tumlin 2013 Pilot Study,24 in concluding

  that “very limited data in nephrotic syndrome have studied the use of Acthar, in patients with

  diagnoses including idiopathic membranous nephropathy (iMN)…”. Express Scripts also

  pointed to the very same European data studying Synacthen’s use in nephrotic syndrome as

  support for its conclusions that Acthar was inappropriate for the treatment of nephrology

  syndrome.

         297.    It is significant that Express Scripts only made these factual admissions about the

  lack of efficacy of Acthar to treat nephrotic syndrome after it lost the exclusive distribution

  rights to Acthar in late 2017, and after it was sued by the City of Rockford and Acument.
  24
    Bomback AS, Tumlin JA, Baranaski J, et al. Treatment of nephrotic syndrome with
  adrenocorticotropic hormone (ACTH) gel. Drug Des Devel Ther. 2011; 5:147-153 (“Tumlin
  2011 Study”).

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          298.    It is believed and therefore averred that Dr. Tumlin has been paid handsomely for

  his work on behalf of Mallinckrodt.

          299.    According to the website sponsored by Propublica, 25 Dr. Tumlin was paid by

  Mallinckrodt at least the following disclosed sums for his promotional activity selling Acthar to

  other doctors throughout the country, apart from the monies he has earned conducting clinical

  studies of his patients:

                                    Aug. 2013 -        $15,318
                                    Dec. 2013
                                    Jan. 2014 -        $27,733
                                    Dec. 2014
                                    Jan. 2015 –        $28,839
                                    Dec. 2015
                                    Jan. 2016 –        $50,840
                                    Dec. 2016

          300.    As described more fully below, Dr. Tumlin began treating Acument’s Patient with

  Acthar to treat iMN in 2011, but did not charge for the drug. He renewed the treatment in

  December 2015 through December 2016, and this time charged the full, inflated AWP price for

  the Acthar, as established by Mallinckrodt and Express Scripts.

          301.    On multiple occasions, Dr. Tumlin was paid twice by Mallinckrodt for the same

  services and reimbursements.

          302.    For instance, on May 23, 2016, Propublica reports that Dr. Tumlin received two

  payments from Mallinckrodt for “promotional speaking” in the amount of $3,400 each. He also

  received two equal payments of $2,050 for “promotional speaking” July 2, 2015.

          303.    On June 17, 2015, Mallinckrodt paid Dr. Tumlin the following sums for “travel

  25
    See https://projects.propublica.org/docdollars/ According to Propublica, “[p]harmaceutical and
  medical device companies are required by law to release details of their payments to a variety of
  doctors and U.S. teaching hospitals for promotional talks, research and consulting, among other
  categories. Use this tool to search for general payments (excluding research and ownership
  interests) made from August 2013 to December 2016.”

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  and lodging” for just one day: $537, $529, $393, $393, $276, $87, $50, $50, $30, $30 and $22.

          304.   Based on the Propublica information, it is believed that Dr. Tumlin travelled the

  country for Mallinckrodt to promote Acthar use in nephrology. Mallinckrodt paid with

  substantial “honoraria” paid, totaling up to $5,000 at time, for his time and effort.

          305.   The specific dates, locations and payments relating to these trips lies within the

  exclusive control of Mallinckrodt and Dr. Tumlin. Only discovery will reveal these details to the

  Plaintiff.

      Acument’s Payments for Acthar in Tennessee for Long-Term the Treatment of iMN,
                                   and Antitrust Injury

          306.   Throughout the relevant time period, Acument has provided healthcare benefits to

  its employees through Blue Cross Blue Shield of Michigan. Since 2010, Acument has provided

  prescription drug benefits for its employees. At the time, and through 2011 when the Patient was

  prescribed Acthar, Acument’s prescription drug benefits were administered by Express Scripts.

  When the Patient was prescribed Acthar a second time in last 2015, Acument had moved to

  CVS/Caremark for its PBM services.

          307.   Acument received no bill from Dr. Tumlin or Express Scripts for the Acthar

  prescribed to the Patient in 2011. However, in 2015 through 2016, Acument was billed for

  Acthar by CVS/Caremark at a discounted priced based on AWP. The discount CVS/Caremark

  provided Acument for the Acthar was AWP minus 15.75%.

          308.   Acthar paid such AWP-based amounts for the Acthar prescribed to the Patient.

  These payments totaled $892,017.75, which was the amount due after the Patient paid the $200

  co-payment for each of the 13 prescriptions, which were filled between December 17, 2015 and

  December 6, 2016 at a gross cost of $68,816.75 for ten total dispensed units. As set forth on the

  ASAP form, the typical dosage was 10 units; however, Dr. Tumlin prescribed twice that amount


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  for the Acument Patient.

         309.    Acument suffered antitrust injury cognizable under Tennessee law because it was

  charged and paid an artificially inflated and fixed price for the Acthar based upon the inflated

  AWP for Acthar as set by Mallinckrodt and the Express Scripts Defendants, and as charged by

  Dr. Tumlin through his submission of the prescription through the ASAP program.

         310.    The Acthar was supplied directly to Acument’s Patient by the Express Scripts

  Entities, pursuant to their exclusive agreements with Mallinckrodt. The Acthar was prescribed to

  the Patient by Dr. Tumlin, one of Mallinckrodt’s leading KOLs in the promotion of Acthar for

  nephrology syndrome.

         311.    As set forth above, the payments made by Acument were sent to its PBM,

  CVS/Caremark, which then routed the payments to Express Scripts, the exclusive distributor of

  Acthar and Mallinckrodt’s designated, exclusive agent.

         312.    Although Acthar was not approved to treat the Patient’s condition, in 2011, Dr.

  Tumlin prescribed Acthar. However, neither Dr. Tumlin nor the other Defendants charged the

  Patient or Acument for the Acthar in 2011. Instead, the therapy ended. Then, Dr. Tumlin put the

  Patient back on Acthar in order to charge him and Acument the artificially inflated AWP for

  Acthar, and to garner monopoly profits for all Defendants charged herein.

                                    COUNT I
                            ACUMENT v. ALL DEFENDANTS
                               MONOPOLIZATION OF
                     THE ACTH MARKET IN VIOLATION OF THE TTPA

         313.    Acument hereby incorporates by reference the averments of the foregoing

  paragraphs as if fully set forth herein and further allege as follows.

         314.    The Tennessee Trade Practices Act (“TTPA”) declares unlawful, void and against

  public policy the following:


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         All arrangements, contracts, agreements, trusts, or combinations between persons or
         corporations made with a view to lessen, or which tend to lessen, full and free
         competition in the importation or sale of articles imported into this state, or in the
         manufacture or sale of articles of domestic growth or domestic raw material, and all
         arrangements, contracts, agreements, trusts, or combinations between persons or
         corporations designed, or which tend, to advance, reduce, or control the price or the cost
         to the producer or the consumer of any such product or article….

  Tenn. Code Ann. § 47-25-101.

         315.    The TTPA further provides relief to the following persons:


         Any person who is injured or damaged by such arrangement, contract, agreement, trust,
         or combination described in this part may sue for and recover, in any court of competent
         jurisdiction, from any person operating such trust or combination….

  Tenn. Code Ann. § 47-25-106.

         316.    Such persons injured may recover “the full consideration or sum paid by the

  person for any goods, wares, merchandise, or articles, the sale of which is controlled by such

  combination or trust.” Tenn. Code Ann. § 47-25-106.

         317.    In Sherwood v. Microsoft Corp., 2003 WL 21780975, *29 (Tenn. Ct. App. July

  31, 2003), the Tennessee Court of Appeals held that indirect purchasers, like Acument, have

  standing to bring an action under the TTPA to recover damages resulting from price-fixing. See

  Freeman Indus. LLC v. Eastman Chem Co., 172 S. W.3d 512, 519 (Tenn. 2005).

         318.    Tennessee municipalities and third party payors (“TPPs”), like Acument, have

  standing to sue within the meaning of Tenn. Code Ann. § 47-25-106. See Metro. Gov’t of

  Nashville & Davidson Cnty. v. Ashland Oil, Inc., 535 F. Supp. 328 (M.D. Tenn. 1982).

         319.    Acument paid the artificially inflated prices as set by Mallinckrodt and Express

  Scripts, and as charged by all Defendants, including Dr. Tumlin, for the Acthar prescribed to its

  covered Patient. As a result, Acument was injured by the conduct alleged herein.

         320.    The transactions at issue in this case were predominantly intrastate in character,


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  due to the presence of the Plaintiff, its Patient, and most of the Defendants in this State.

          321.    The Express Scripts Entities all forged alliances in this State, in particular in

  Memphis, while Mallinckrodt forged alliances with the Express Scripts Defendants and Dr.

  Tumlin, situate in Chattanooga.

          322.    The Acthar at issue was marketed and sold in this State, was prescribed in this

  State, was delivered in this State, was administered in this State, and was paid for in this State by

  the Plaintiff and its Patient.

          323.    Accordingly, while certain acts may have occurred outside this State, the

  arrangements, agreements and understandings between the Defendants had the effect of

  lessening competition in the sale of articles sold within this State and/or imported into this State.

          324.    Such arrangements, agreements and understandings between the Defendants also

  affected the price to consumers in this State, like Acument and its Patient.

          325.    As a result, the illegal conduct alleged herein substantially affected commerce

  within this State within the meaning of the TTPA.

          326.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

  maintain the supra-competitive prices of Acthar through the ASAP Program, limiting distribution

  of the drug and stifling the ability of a competitor to enter the ACTH market.

          327.    As a result, Defendants had “arrangements, contracts, agreements, trusts or

  combinations” between themselves “designated, or which tend, to advance, reduce, or control the

  price or the cost to the producer or the consumer” of Acthar. Tenn. Code Ann. § 47-25-101.

          328.    Further, to maintain these supra-competitive prices, Mallinckrodt acquired

  Synacthen and refused to bring it to market. Express Scripts conspired and agreed with

  Mallinckrodt to keep Synacthen off the market in order to maintain their monopoly profits.



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         329.    This conduct caused Acument to pay the inflated, AWP-based prices for Acthar

  that were significantly greater than in a competitive market. Therefore, Acument is entitled to

  relief under the TTPA.

         330.    Acument was injured as a result of Defendants’ conduct in violation of the TTPA,

  and hereby seeks damages in the amount of “the full consideration or sum paid” for Acthar.

         331.    Mallinckrodt has, and at all relevant times hereto, had monopoly power in the

  market for the sale of ACTH drugs in Tennessee and throughout the United States. While the

  genesis of this monopoly power may be natural, since 2007 Mallinckrodt has acted and

  conspired with Express Scripts to maintain and enhance its monopoly power in the ACTH

  market.

         332.    Dr. Tumlin has conspired and agreed with his co-Defendants to work with them

  maintain this monopoly by creating clinical data to promote the off-label uses of Acthar and to

  charge patients exorbitant AWP-based prices for Acthar.

         333.    As described above, Acthar’s value was limited because it was the “gold

  standard” for treating only one condition, infantile spasms (“IS”). IS is a serious condition in

  infants, but one with an annual patient population of less than 2,000 patients per year. However,

  by 2015, Mallinckrodt was able to grow sales of Acthar to approximately $1.1 billion.

         334.    As set forth above, Mallinckrodt’s announced a “new strategy” was created in

  order to maintain and enhance its monopoly. This new strategy could not have succeeded

  without the involvement of Express Scripts as Mallinckrodt’s exclusive agent, and providers like

  Dr. Tumlin who are willing and able to advance the prescriptions of Acthar for off-label uses and

  doses at inflated prices well any purported “value” of the medicine.




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                            Anticompetitive Act 1: Restricted Distribution

         335.    On July 2, 2007, Mallinckrodt decided to restrict distribution from three

  wholesalers, termed Wholesalers “A”, “B”, and “C” in its 2007 10-K, to Express Scripts. The

  goal of this strategy was to lock patients into receiving Acthar through one channel and prevent a

  competitive product from entering the market.

         336.    When Mallinckrodt began its new strategy on July 16, 2007, it established the

  ASAP Program. See Exhibit “B”. July 2, 2007 Urgent Product Alert H.P. Acthar Gel. The

  ASAP Program allowed Mallinckrodt to limit its direct distribution of the drug to the patient to

  just one avenue, through Express Scripts. Mallinckrodt entered an exclusive arrangement with

  Express Scripts to provide Acthar directly to patients, and to receive payments for Acthar

  directly from patients.

         337.    Express Scripts was Mallinckrodt’s exclusive agent to operate the ASAP

  Program. Through ASAP, UBC facilitated all aspects of Acthar’s distribution and payment as

  Mallinckrodt’s exclusive agent. UBC’s utilized Express Script’s pharmacy arrangement services

  (Accredo), specialty drug distribution (CuraScript) and direct billing and payment (Express

  Scripts) functions to allow Mallinckrodt to maintain and enhance its monopoly power in the

  ACTH market.

         338.    Mallinckrodt has willfully maintained its monopoly power in the ACTH drug

  market through its exclusive arrangement with Express Scripts from 2007 through 2017. Having

  Express Scripts as its exclusive agent, Mallinckrodt was able to raise its prices tenfold initially,

  and nearly double in the ensuing years.

                         Anticompetitive Act 2: The Synacthen Acquisition

         339.    By 2013, Mallinckrodt had identified a competitive threat to its monopoly power,



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  despite its exclusive arrangements with Express Scripts. When Novartis decided to sell

  Synacthen Depot to a competitor, Mallinckrodt acted to protect its monopoly. Recognizing that

  the entry of Synacthen to the ACTH market would threaten its monopoly power, Mallinckrodt

  first attempted to buy the rights to Synacthen in 2009, it was unable to do so.

            340.   When Novartis agreed to sell Synacthen to Retrophin in 2013, Mallinckrodt

  disrupted the bidding process for Synacthen by intervening at the last minute to pay multiple

  times what had been offered by Retrophin. Retrophin had agreed to buy Synacthen for $16

  million, Mallinckrodt paid $135 million. It licensed the U.S. rights to Synacthen from Novartis,

  but did not bring this viable synthetic alternative to market. Instead, it acted only to eliminate

  the nascent competitive threat to its monopoly posed by an independently owned Synacthen.

            341.   This conduct contributed to Mallinckrodt’s maintenance of monopoly power.

  Both anticompetitive acts – the exclusive arrangement with Express Scripts and the Synacthen

  acquisition had the purpose and effect of suppressing rather than promoting competition in the

  ACTH market. Mallinckrodt was able to raise prices at will.

            342.   But Mallinckrodt could not get away with keeping Synacthen off the market

  without the substantial assistance and agreement of Express Scripts, who traded exclusivity and a

  share of monopoly profits for withholding its demonstrated power and leverage to reduce drug

  prices.

            343.   Mallinckrodt used its enhanced monopoly power to inflate the prices of Acthar as

  set forth herein. Today the prices stand at over $43,000.

            344.   The challenged conduct caused Acument to pay artificially inflated prices for

  Acthar in the ACTH drug market.

            345.   There is no procompetitive justification for the conduct of Mallinckrodt, Express



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  Scripts or Dr. Tumlin. Rather these Defendants combined to lock Acthar into a restricted

  distribution model, overseen by the ASAP program, to ensure enhanced monopoly profits for all

  of them. The Synacthen acquisition only prevented competition, and preserved the enhanced

  monopoly power Mallinckrodt enjoyed due to Express Scripts’ collusion.

                     Plaintiff is an Indirect Purchaser of Acthar Harmed by
                              Defendants’ Anti-Competitive Conduct

         346.    Acument has been indirectly injured in its business and property by reason of

  Mallinckrodt's unlawful monopolization in concert with Express Scripts and Dr. Tumlin.

  Acument’s injuries consist of paying higher prices to purchase Acthar than it would have paid

  absent the conduct of Mallinckrodt and its exclusive agent, Express Scripts. Acument’s injuries

  are the type of harm the Tennessee laws were designed to prevent and flow from which makes

  Mallinckrodt's, Express Scripts’ and Dr. Tumlin’s conduct unlawful.

         347.    The product ships from Mallinckrodt’s agent directly to the patient. Payments

  flow directly from Rockford to Express Scripts, via CVS Caremark, for the benefit of

  Mallinckrodt. Express Scripts deducts its agreed-upon share of Acument’s payments before

  forwarding them to Mallinckrodt.

         348.    As described herein, Defendants’ acts and practices constitute monopoly

  maintenance in violation of the Tennessee antitrust laws.

         WHEREFORE, Acument demands that judgment be entered in its favor, and against

  Defendants, in an amount to be determined at trial, including but not limited to costs, attorneys’

  fees, and such other relief deemed just and appropriate by this Court.




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                                   COUNT II
                          ACUMENT v. ALL DEFENDANTS
                 ANTI-COMPETITIVE AGREEMENTS IN UNREASONABLE
                  RESTRAINT OF TRADE IN VIOLATION OF THE TTPA

         349.    Acument hereby incorporates by reference the averments of the foregoing

  paragraphs as if fully set forth herein and further allege as follows.

         350.    As set forth above, Mallinckrodt has entered into exclusive agreements with the

  agent for its largest customers, Express Scripts. These agreements preserved and extended

  Mallinckrodt’s monopoly power, and allowed both Mallinckrodt and Express Scripts to raise and

  fix the prices for Acthar to Express Scripts’ direct clients, including Rockford, and indirect

  clients, like Acument.

         351.    These agreements violated the TTPA, § 47-25-101 et seq., as set forth herein.

                    The Role of Express Scripts in the Specialty Drug Market

         352.    The maintenance of Mallinckrodt’s monopoly over the ACTH market would not

  be possible without its agreement in restraint of trade with Express Scripts.

         353.    As described above, Express Scripts is one of the largest PBMs and thus one of

  the largest buying agents of pharmaceuticals in the country.

         354.    It has substantial buying power, and therefore market power, as a result of its

  position as one of the largest purchasers of pharmaceuticals in the country, and one of largest

  representatives of health plans that purchase pharmaceuticals for their beneficiaries.

         355.    The Express Scripts Entities have developed a consolidated network of specialty

  pharmaceutical management, distribution and reimbursement that creates a direct pipeline

  between the manufacturer and the patient. The Express Scripts Entities operate a specialty

  pharmaceutical distributor, a specialty pharmacy, and a reimbursement HUB, all of which

  operate in service of the specialty drug manufacturer [here, Mallinckrodt] concomitantly with


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  Express Scripts’ service as a PBM for health plans and patients.

         356.    Because Express Scripts represents more than 80% of pharmaceutical buyers in

  the United States, it has the unique position to use its market power to push back against high

  pharmaceutical prices, especially specialty drugs like Acthar. Express Scripts has demonstrated

  its ability to wield its market power to effectuate lower costs for high priced specialty drugs.

         357.    The above-described example of Turing’s Daraprim is stark in that Express

  Scripts used its market power to produce a comparable drug for $1. Instead of the $750.00 per

  pill charged by Turing, Express Scripts charges its clients $1. Instead of one year’s course of

  treatment costing $361,000, it costs less than $100 to Express Scripts customers.

       Express Scripts’ Agreement with Mallinckrodt to Raise and Fix Prices for Acthar

         358.    In 2007, when Express Scripts entered its exclusive arrangement with

  Mallinckrodt’s predecessor Questor, it did not push back against Questcor’s decision to raise

  prices. Instead, when confronted with the price increase, Dr. Miller asserted that “[t]he increase

  was a manufacturing decision. I can’t comment on it.” Id.

         359.    There was no legitimate business justification on the part of Express Scripts to

  agree to charge the inflated end payor prices set by Questcor to its clients, but it so agreed.

         360.    By 2015, Acument contracted with CVS Caremark for the provision of specialty

  drugs, like Acthar, to its employee beneficiaries. CVS Caremark simply charged the same

  inflated AWP-based prices based on the prices set by Mallinckrodt in agreement with Express

  Scripts, as the product continued to flow directly from Express Scripts to the patients of other

  PBMs, like CVS Caremark. As a result, the Mallinckrodt-Express Scripts’ agreement to fix

  prices preserved and enhanced Mallinckrodt’s monopoly power and injured payors like Acument

  being charged the same artificially inflated prices for Acthar.



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         361.    As a result, Express Scripts conspired and agreed with Mallinckrodt to fix and

  charge artificially inflated prices for Acthar to CVS Caremark clients, like Acument.

         362.    At all relevant times, Mallinckrodt's exclusive agreements with Express Scripts

  assisted Mallinckrodt in: (a) effectively excluding less expensive, potentially superior

  competitive products from the ACTH drug market; (b) maintaining Mallinckrodt's dominant

  market share and monopoly power in the ACTH drug market; (c) maintaining prices at

  artificially high levels for Acthar; and (d) otherwise reaping the benefits of its Mallinckrodt’s

  enhanced monopoly power.

         363.    There is no procompetitive justification for the conduct of either Mallinckrodt or

  Express Scripts.

         364.    Acument has been injured in its business and property by reason of the alleged

  collusion and conspiracy between Mallinckrodt and Express Scripts, its exclusive agent, which

  had the purpose and effect of raising and stabilizing inflated prices for Acthar. Express Scripts

  facilitated, enabled, assisted, and furthered Mallinckrodt's substantial foreclosure and exclusion

  of competition and monopolization of the ACTH drug market.

         365.    Acument’s injuries consist of paying higher prices to purchase Acthar than they

  would have paid absent the unlawful conduct of Mallinckrodt and Express Scripts. Acument’s

  injuries are the type the Tennessee antitrust laws were designed to prevent and flow from that

  which makes Defendants’ conduct unlawful.

         366.    Defendants’ acts and practices constitute anti-competitive agreements in

  unreasonable restraint of trade in violation of the Tennessee antitrust laws.

         WHEREFORE, Acument demands that judgment be entered in its favor, and against

  Defendants, in an amount to be determined at trial, including but not limited to costs, attorneys’



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  fees, and such other relief deemed just and appropriate by this Court.

                                  COUNT III
                         ACUMENT v. ALL DEFENDANTS
              VIOLATIONS OF THE TENNESSEE CONSUMER FRAUD LAWS

         367.    Acument hereby incorporates by reference the averments of the foregoing

  paragraphs as if fully set forth herein and further alleges as follows.

         368.    The Tennessee Consumer Protection Act of 1997 (“TCPA”) creates a private right

  of action for consumers to sue for violations thereof. Tenn. Code Ann. § 47-18-101, et. seq.

         369.    The TCPA was enacted “to protect consumers and legitimate business enterprises

  from those who engage in unfair or deceptive acts or practices in the conduct of any trade or

  commerce . . ., to encourage and promote the development of fair consumer practices; [and] . . .

  to declare and to provide for civil legal means for maintaining ethical standards of dealing

  between persons engaged in business and the consuming public to the end that good faith

  dealings between buyers and sellers at all levels of commerce be had in this state . . .” Tenn.

  Code Ann. § 47-18-102.

         370.    A consumer is defined as “any natural person who seeks or acquires by purchase,

  … or other disposition, any goods…”. Tenn. Code Ann. § 47-18-103(2). “Person” includes

  corporations, like Acument. Tenn. Code Ann. § 47-18-103(13). Therefore, Acument is both a

  consumer and “legitimate business enterprise” for purposes of the TCPA.

         371.    The consumer transaction at issue here – the sale of Acthar – took place in the

  conduct of trade or commerce within Tennessee.

         372.    The TCPA "is to be liberally construed to protect consumers and others from

  those who engage in deceptive acts or practices." Morris v. Mack's Used Cars, 824 S.W.2d 538,

  540 (Tenn. 1992); Tenn. Code Ann. § 47-18-102(2).



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         373.   A plaintiff-consumer suing under the TCPA must prove two things: (1) that the

  defendants engaged in unfair or deceptive acts or practices declared unlawful by the TCPA, and

  (2) that the defendants’ conduct caused an ascertainable loss of money or property. Tenn. Code

  Ann. § 47-18-109(a)(1).

         374.   Tenn. Code Ann. § 47-18-104(a) makes unlawful any “unfair or deceptive acts or

  practices affecting the conduct of any trade or commerce”.

         375.   Tenn. Code Ann. § 47-18-104(b) defines “unfair or deceptive acts or practices”

  include the following, among others:

                (2) Causing likelihood of confusion or of misunderstanding as to the
                source, sponsorship, approval or certification of goods or services.

                (3) Causing likelihood of confusion or of misunderstanding as to
                affiliation, connection or association with, or certification by another.

                (5) Representing that goods or services have sponsorship, approval,
                characteristics, ingredients, uses, benefits or quantities that they do not
                have or that a person has a sponsorship, approval, status, affiliation or
                connection that he does not have.

                (7) Representing that goods or services are of a particular standard, quality
                or grade, or that goods are of a particular style or model, if they are of
                another;

                (8) Disparaging the goods, services or business of another by false or
                misleading representations of fact.

                (11) Making false or misleading statements of fact concerning the reasons
                for, existence of, or amounts of price reductions.

         376.   Defendants engaged in the following unfair and deceptive acts or practices, which

  violate the aforesaid provisions of the TCPA:

                a.      By entering into the exclusive distribution arrangement described herein in
                        2007, and not disclosing the same to Acument, especially in the ASAP
                        form given to Acument’s beneficiary and Dr. Tumlin, Defendants engaged
                        in unfair or deceptive acts, made misrepresentations and omissions of
                        material fact, to Plaintiff that impeded Plaintiff’s efforts to contain its


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                    costs for specialty drugs like Acthar, and then sending bills for Acthar
                    which charged the artificially inflated prices which Defendants agreed
                    amongst themselves to charge Plaintiff. This caused at least a likelihood
                    of confusion or of misunderstanding as to the source, sponsorship,
                    approval and/or certification of Acthar sold by Mallinckrodt, the
                    affiliation, connection or association between the various Defendants and
                    the roles in the Acthar scheme alleged, misrepresented the same, and/or
                    constituted unfair or deceptive conduct which created a likelihood of
                    confusion or a misunderstanding by Plaintiff.

              b.    Defendants conspired and agreed to adopt the above-described ASAP
                    program and the ASAP form (Exhibit “A” hereto) in 2007, and to
                    maintain the Program and form through 2015-16 (when Plaintiff paid for
                    Acthar), in order to mislead and deceive Acument and its beneficiary
                    about Express Scripts’ direct role as the “hub” of patient care as it
                    concerns the medical conditions for which Acthar is indicated, and to
                    bypass Plaintiff’s efforts to contain and reduce costs for specialty drugs.

              c.    Starting in July 2007, Mallinckrodt issued a misleading and deceptive
                    announcement about its new distribution strategy, but the announcement
                    failed to disclose that more than pharmacy distribution was being handed
                    over to Express Scripts; all aspects of distribution, pricing and product
                    sales were now being handled by Express Scripts, and its wholly-owned
                    subsidiaries, as part of a “hub” of services for which Mallinckrodt
                    contracted.

              d.    Express Scripts made material misrepresentations and engaged in
                    deception about its contractual relationships with Mallinckrodt and the
                    real reasons for the exorbitant Acthar price increases between August
                    2007 and 2016. In 2007, when asked directly about the huge price
                    increase, Dr. Miller of Express Scripts’ misled and deceived the public by
                    claiming “[t]he increase was a manufacturing decision. I can’t comment
                    on it.” In truth, it was a joint decision by Defendants, reflected in
                    contracts, agreements and understandings between them.

              e.    Express Script’s Dr. Miller and Express Scripts remained silent about the
                    truth about Acthar’s “value” for years, so that Express Scripts could
                    continue to charge false, misleading and excessive prices for Acthar to
                    payors like Plaintiff. In fact, it was not until the spring of 2017 – after
                    Plaintiff made its first payment for Acthar—that Express Scripts admitted
                    Acthar was not worth the price Express Scripts and Mallinckrodt were
                    charging for it. That year, ESI’s Senior Vice President of Supply Chain
                    and Specialty Pharma, Everett Neville, stated, “I don’t think [Acthar is] a
                    very great [drug] – it’s a pretty poor drug with a very limited need and
                    certainly [ESI’s Chief Medical Officer, Dr,] Steve[Miller] could

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                    comment.” Mr. Neville went on to say, “I think [Dr. Miller] and I both
                    would agree, and I think everybody in our company would agree, that
                    [Acthar] is vastly overpriced for the value.”. Mr. Neville stated that he
                    “personally told [Mallinckrodt’s] management team that their drug is
                    hugely overpriced and that he “know[s] [Dr. Miller] has as well.” In the
                    same public setting, Dr. Miller stated, “[i]f you look at the data, the
                    indications for the drug are . . . in the compendium, it’s listed under a lot
                    of indications, its real use should be very, very limited. It’s an old drug.
                    There’s better products in the marketplace and so we’re going to continue
                    to be very vigilant in our utilization management.” These revelations came
                    far too late to save Plaintiff from being overcharged for Acthar, and
                    demonstrate that Defendants conspired and agreed to commit acts or
                    practices in violation all of the above-described sub-sections of 73 Pa.
                    Stat. Ann. §§201. For instance, Express Scripts misled Plaintiff and
                    deceived Plaintiff about its approval of Acthar and the benefits of Acthar
                    as a valuable specialty drug “worth” what it and Mallinckrodt were
                    charging, in relation to other drugs and treatments (in violation of above
                    listed subsections (5) and (7) of the TCPA).

              f.    Defendants misled and deceived Acument and the public about their direct
                    relationship, their joint decision to raise the prices of Acthar, and the lack
                    of value of Acthar for the prices being charged, in order to intentionally
                    and deceptively charge false, misleading and excessive prices for Acthar,
                    during the period between 2007 (when they entered into their exclusive
                    distribution arrangement), through 2013 (when Mallinckrodt acquired
                    Synacthen in 2013 and Express Scripts did nothing about it), and up to at
                    least 2017 when Express Scripts began to tell the truth. Express Scripts
                    then offered discounts off the inflated prices of Acthar which were far less
                    than the discounts offered for either brands or generics, while failing to
                    disclose the truth about the pricing disparity for Acthar (even with the
                    discounts), thereby misleading Plaintiff as to the reasons for, existence of,
                    or amounts of the Acthar price reductions, including the provision of free
                    Acthar as part of an undisclosed “buy 1, get 1” program for doctors, in
                    violation of sub-section (11).

              g.    In their promotion of Acthar to treat diseases other than IS, like the
                    DM/PM suffered by Acument’s beneficiary, Defendants have disparaged
                    the goods, services or business of other sellers of drugs that treat such
                    diseases more effectively and safely, and for much less money, by false or
                    misleading representations of fact.

              h.    Defendants acts or practices, including the failures to act and to speak the
                    truth in the face of false, misleading and deceptive statements about
                    Acthar’s pricing, distribution and value, constitute unfair and deceptive
                    acts or practices.


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         377.    The acts and practices described herein demonstrate that Mallinckrodt, Express

  Scripts and Dr. Tumlin acted unlawfully within the meaning of the TCPA such that Acument

  may be awarded up to three times its actual damages sustained, and such additional relief as

  deemed necessary or proper. These damages consist of, inter alia, the difference between the

  true price of Acthar before Mallinckrodt engaged with Dr. Tumlin in at least 2011 and with

  Express Scripts beginning in 2007 to artificially inflate the “average wholesale price” of Acthar,

  as required by contract to be charged, and the inflated prices of Acthar charged to Plaintiff in

  2015-2016.

         378.    Acument seeks relief against Mallinckrodt, Express Scripts and Dr. Tumlin for

  their unfair and deceptive conduct which allowed Defendants to raise and fix the prices of Acthar

  at supra-competitive levels, and to maintain Mallinckrodt’s monopoly power in the market for

  ACTH drugs allowing unfettered price increases.

         379.    Mallinckrodt and Express Scripts agreed to raise the prices of Acthar, and Dr.

  Tumlin agreed to charge Acument and its beneficiary these prices.

         380.    Acument was injured as a direct and proximate result of the Defendants’ conduct

  in violation of the TCPA sections above, and hereby seeks damages.

         WHEREFORE, Acument demands that judgment be entered in its favor, and against

  Defendants in an amount to be determined at trial, including but not limited to costs, attorneys’

  fees, and such other relief deemed just and appropriate by this Court.

                                        COUNT IV
                                ACUMENT v. ALL DEFENDANTS
                                   UNJUST ENRICHMENT

         381.    Acument hereby incorporates by reference the averments of the foregoing

  paragraphs as if fully set forth herein and further alleges as follows.



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         382.      This Count alleges unjust enrichment against all Defendants.

         383.      Acument’s covered beneficiary received direct shipments of Acthar from

  Mallinckrodt via CVS Caremark. In exchange for Acthar, Acument made direct payments to

  CVS Caremark for the benefit of Mallinckrodt, via Dr. Tumlin and Express Scripts. Indeed,

  such payments were transferred by CVS Caremark to Mallinckrodt through its exclusive agent,

  Express Scripts pursuant to a prescription written by Dr. Tumlin that charged the inflated Acthar

  AWP. Like Express Script, CVS Caremark reduced its payment to Mallinckrodt via Express

  Script by a certain amount previously agreed to by Mallinckrodt, Express Scripts and CVS

  Caremark. The amount charged by Mallinckrodt for the Acthar was the amount paid by

  Acument, less the applicable co-pay paid by the Patient.

         384.      The amounts paid by Acument were valuable to Mallinckrodt, Express Scripts

  and Dr. Tumlin, and all Defendants were unjustly enriched by such payments, in that, the prices

  charged by Defendants at extremely high prices were valuable and beneficial to all Defendants.

         385.      By engaging in the conduct described in this Complaint, Defendants have

  knowingly obtained benefits from Acument, namely grossly inflated payments, revenues and

  profits from their coordination all aspects of Acument’s receipt of and payments for Acthar,

  under circumstances such that it would be inequitable and unjust for the Defendants to retain

  such benefits.

         386.      By engaging in the unlawful conduct described herein, Defendants have been

  knowingly enriched by the amount charged for Acthar over and above what it could have

  charged in a competitive market.

         387.      Defendants were able to extract exorbitant revenue from Acument beyond what

  they could have received in the absence of such unlawful conduct. This conduct violated



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  Tennessee law and, as such, interfered with the legally protected interests of Acument.

           388.   Acument is therefore entitled to an award of compensatory damages in an amount

  to be determined at trial, or the imposition of a constructive trust upon the monies derived by the

  Defendants by means of the above-described actions.

           WHEREFORE, Acument demands that judgment be entered in its favor, and against

  Defendants in an amount to be determined at trial, including but not limited to costs, attorneys’

  fees, and such other relief deemed just and appropriate by this Court.

                                         COUNT V
                                 ACUMENT v. ALL DEFENDANTS
                                          FRAUD

           389.   Acument hereby incorporates by reference the averments of the foregoing

  paragraphs as if fully set forth herein and further allege as follows.

           390.   Defendants’ acts violate the common law against negligent misrepresentation and

  fraud.

           391.   In setting the inflated, AWP-based prices for Acthar, which prices Acthar paid,

  the Defendants made material misrepresentations that those prices represented the purported

  “average” of “wholesale prices” for Acthar, or some price reasonably related thereto, which they

  did not. Defendants also misrepresented that the inflated AWP prices for Acthar represented the

  actual value of the product in the marketplace, which they did not.

           392.   These representations were material to the transactions at hand in that Acument

  used and relied upon these AWP prices, as set forth in its PBM contracts, as the amount to pay

  and/or reimburse for Acthar.

           393.   As set forth more fully above, these prices were artificial prices, unrelated to any

  actual, reasonable price in the marketplace, or the actual value of Acthar, but created and



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  manipulated by the Defendants for the purpose of generating exorbitant revenue, thus

  constituting false representations which the Defendants knew or, in the absence of recklessness,

  should have known to be false.

          394.    The Defendants made these false representations about the prices of Acthar with

  the intent of misleading Acument into relying on the prices as real and fact-based prices, rather

  than artificially inflated prices.

          395.    Acument justifiably relied upon these false misrepresentations in purchasing

  and/or reimbursing Acthar at the amount charged by Medco/Express Scripts and CVS Caremark

  based on the prices set by Mallinckrodt and Express Script by contract, as charged by Dr.

  Tumlin. These prices were included in Acument’s PBM contract, and thus Acument was

  obligated to pay them.

          396.    The prices for Acthar set forth in such Acument’s contracts with Medco/Express

  Scripts and CVS Caremark were prices set by Mallinckrodt and Express Scripts as provided by

  the contracts between them. As such, all Defendants communicated these false AWP prices for

  Acthar directly to Acument for the Acthar sold to Acument’s Patient by Dr. Tumlin’s

  prescription.

          397.    Defendants knew or should have known that Acument was required to pay the

  inflated AWPs for Acthar by its PBM agreements, and thus intended that Acument reasonably

  rely on such prices as the “average wholesale prices” for Acthar.

          398.    As a direct and proximate result of the false representations of the Defendants, as

  set forth above, Acument was harmed in that they were unaware of the artificial, inflated prices

  of Acthar, would not have paid and/or reimbursed the artificially inflated prices for Acthar had

  they known of the false representations and, in fact, overpaid for the Acthar because of the false



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  representations.

         WHEREFORE, Acument demands that judgment be entered in its favor, and against

  Defendants, in an amount to be determined at trial, including but not limited to costs, attorneys’

  fees, and such other relief deemed just and appropriate by this Court.

                                     COUNT VI
                            ACUMENT v. ALL DEFENDANTS
                     CONSPIRACY TO DEFRAUD/CONCERTED ACTION

         399.    Acument hereby incorporates by reference the averments of the foregoing

  paragraphs as if fully set forth herein and further allege as follows.

         400.    As set forth more fully above, beginning at least as early as 2007, the exact date

  being unknown to Acument, and continuing thereafter until the present, Defendants and other

  unnamed co-conspirators, between and among themselves and others, entered into an agreement

  and/or otherwise engaged in a continuing conspiracy to defraud and deceive Acument by causing

  them to pay more for Acthar than they otherwise would have paid in the absence of the

  Defendants’ conspiracy and concerted action.

         401.    Pursuant to the unfair and deceptive scheme to distribute, market and sell Acthar

  to derive substantial profits, and the conspiracy alleged herein, and in furtherance thereof,

  Defendants and their co-conspirators engaged in a wide range of activities, the purpose and

  effect of which was to deceive Acument, and acted or took substantial steps in furtherance of the

  conspiracy. Those acts include the following:

                 a. discussing and agreeing among themselves and with their co-conspirators that
                    they would directly control the prices at which Acument paid for Acthar;

                 b. discussing and agreeing among themselves and with their co-conspirators that
                    they would increase the prices at which Acument paid for Acthar;

                 c. discussing and agreeing among themselves and with their co-conspirators that
                    they would directly control the ASAP program materials and website which


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                     enrolled patients into an exclusive distribution network for the administration
                     of Acthar, allowing Defendants to conduct their unfair pricing scheme for
                     Acthar;

                 d. discussing and agreeing among themselves and with their co-conspirators that
                    they would directly control the exclusive distribution network for Acthar
                    through the ASAP Program;

                 e. discussing and agreeing among themselves and with their co-conspirators that
                    they would rely on employees to promote the ASAP Program through the
                    marketing alleged herein;

                 f. discussing and agreeing among themselves and with their co-conspirators that
                    they would participate in the affairs of the ASAP program by using a
                    fraudulent scheme to market and sell Acthar at inflated prices; and

                 g. discussing and agreeing among themselves and with their co-conspirators that
                    they would conceal and suppress the truth about the Acthar inflated prices, the
                    monies earned from payors, like Acument, and their exclusive arrangement to
                    maintain and enhance Mallinckrodt’s monopoly power as alleged herein.

         402.    In addition to the specific facts set forth above, it is alleged the Defendants and

  their co-conspirators engaged in conspiratorial meetings, among the purposes of which meetings

  were to discuss the importance of controlling the direct distribution, marketing, sale, prescription

  and administration of Acthar to Acument and its covered Patient, and deriving substantial profits

  from these activities.

         403.    The Defendants performed the conspiratorial acts set forth herein intending to

  injure payors of Acthar, like Acument, by causing them to pay inflated prices so that the

  Defendants could derive substantial profits.

         404.    The Defendants performed the acts alleged herein in furtherance of the common

  plan or design for the conspiracy with intent and/or with knowledge of the injury and damage it

  would cause to the Acument, and with knowledge and intent to cause such injuries and/or with

  reckless disregard for the consequences.

         405.    As a direct and proximate result of the Defendants’ conspiracy as alleged herein,


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  Acument have been injured and damaged, and the Defendants are jointly and severally liable for

  such injuries and damages.

         WHEREFORE, Acument demands that judgment be entered in its favor, and against

  Defendants, in an amount to be determined at trial, including but not limited to costs, attorneys’

  fees, and such other relief deemed just and appropriate by this Court.

                                      PRAYER FOR RELIEF

         WHEREFORE, Acument requests the Court to enter the following relief:

                 a.      Declare unlawful the acts and practices alleged herein, enjoin the

  Defendants from committing the acts alleged herein, and restore the status quo before the

  unlawful conduct took place;

                 b.      Enter judgment against all Defendants for the violations alleged herein;

                 c.      Award the actual damages incurred by Acument as a result of the

  wrongful acts complained of, along with pre-judgment and post-judgment interest at the

  maximum rate allowed by law;

                 d.      Award statutory damages set forth herein under the statutory claims

  alleged;

                 e.      Award multiple damages by operation of law;

                 f.      Award punitive damages;

                 g.      Award Acument the costs of this action, including reasonable attorneys’

  fees, and, where applicable, expert fees; and

                 e.      Award such other and further relief as the Court may deem just and

  appropriate.




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                    EXHIBIT A
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                                                                                                                                                                                  Acthar Start Form
                                                                                FAX: 1-877-937-2284                                                        Please complete Start Form and fax toll-free
                                                                                                                                                                                   TEL: 1-888-435-2284
                                                                                                                                                        Monday through Friday (8:00 am to 9:00 pm EST)
                                                                                                                                                                         Saturday (9:00 am to 2:00 pm)

1. PATIENT INFORMATION                                   Patient has been notified of referral                         ■ YES           ■ NO

PATIENT FIRST NAME                        PATIENT MIDDLE INITIAL                          PATIENT LAST NAME                                                                 DATE OF BIRTH                GENDER


HOME ADDRESS                                                                                                        CITY                                                    STATE                        ZIP


SHIPPING ADDRESS (IF NOT HOME ADDRESS)                   CARE OF (IF NOT ADDRESSED TO PATIENT)                      CITY                                                    STATE                        ZIP


HOME PHONE                                               MOBILE            OK TO TEXT                               BEST TIME TO CALL                                       PREFERRED LANGUAGE IF NOT ENGLISH


EMAIL ADDRESS                                            PATIENT REPRESENTATIVE                                     RELATIONSHIP                                            TELEPHONE


2. INSURANCE INFORMATION (PLEASE INCLUDE COPIES OF CARDS)

PHARMACY BENEFITS                                                                                                   SUBSCRIBER ID #                                         GROUP #                      TEL #


PRIMARY MEDICAL INSURANCE                                POLICY HOLDER             RELATIONSHIP                     SUBSCRIBER ID #                                         GROUP #                      TEL #


3. HEALTHCARE PROVIDER (HCP) INFORMATION

HCP FIRST NAME                       HCP LAST NAME                           HCP MIDDLE INITIAL                     NPI #                       GROUP NPI # (IF APPLICABLE)                 STATE LICENSE #

SPECIALTY: NEPHROLOGY             NEUROLOGY           PULMONOLOGY            RHEUMATOLOGY            OPHTHALMOLOGY                OTHER         ___________________________________________________________________________
                                                                                                                                                                                 IF OTHER PLEASE INDICATE

FACILITY NAME                                            TELEPHONE                                                  FAX


ADDRESS                                                  CITY                                                       STATE                                                   ZIP


OFFICE CONTACT NAME                                      CONTACT TELEPHONE                                          EMAIL ADDRESS                                           PREFERRED METHOD OF COMMUNICATION


4. PRESCRIPTION: H.P. ACTHAR® GEL                                                                   NDC# 63004-8710-1                           5 mL multidose vial containing 80 USP units per mL

 PRIMARY DIAGNOSIS: ______________________________________________________________________________________ ICD-10: _____________
INITIATE PATIENT WITH:
                UNITS                                                                                                                                                                                       INTRAMUSCULAR
DOSE: ______    ML     SCHEDULE/FREQUENCY: __________________________________                     QUANTITY OF 5 ML MULTIDOSE VIALS: _______ REFILLS: ______              ROUTE OF ADMINISTRATION:           SUBCUTANEOUS

ADDITIONAL SPECIAL INSTRUCTIONS, OR TAPER DOSE, IF APPLICABLE: ____________________________________                           ALLERGIES: ______________________________________________________________________________

__________________________________________________________________________________________________________                    __________________________________________________________________________________________
SUPPLIES:                                                                                                                                                                Subcutaneous only
SYRINGE SIZE:       1 mL     3 mL      Other size _____ QUANTITY: _____ NEEDLE SIZE:          20 g needle, 1 inch         23 g needle, 1 inch      25 g needle, 1 inch   25 g needle, 5/8 inch    (other): ___QUANTITY: _____


PATIENT WEIGHT (FOR WEIGHT-BASED DOSING ONLY): ____________ SUPPLY REFILLS: _____ SHARPS CONTAINER: ___________ OTHER SUPPLIES: _______________________________________________________________


HOME INJECTION TRAINING SERVICES (HITS)
By initialing here (original required) I request that company-funded HITS services be arranged for my patient. I understand that HITS is for one instruction visit only and NOT a home health
nursing service. I also understand that all reasonable efforts will be made to schedule the HITS training visit within 24 hours of the patient’s receipt of drug shipment.


INITIALS                                                 DATE


5. PRESCRIPTION, CONSENT AND STATEMENT OF MEDICAL NECESSITY: HCP SIGNATURE REQUIRED
I certify that H.P. Acthar® Gel is medically necessary for this patient and that I have reviewed this therapy with the patient and will be monitoring the patient’s treatment. I
verify that the patient and healthcare provider information on this enrollment form is complete and accurate to the best of my knowledge. I understand that I must comply
with my practicing state’s speciﬁc prescription requirements such as, e-prescribing, state speciﬁc prescription form, fax language, etc. Non-compliance of state speciﬁc
requirements could result in outreach to me by the dispensing pharmacy.
I authorize United BioSource Corporation (“UBC”), the current operator of the Acthar Support and Access Program (“Program”), and other designated operators of the
Program, to perform a preliminary assessment of beneﬁt veriﬁcation for this patient and furnish information requested by the patient’s insurer that is available on this
form. I understand that insurance veriﬁcation is ultimately the responsibility of the provider and third-party reimbursement is affected by a variety of factors. While UBC
tries to provide accurate information, they and Mallinckrodt make no representations or warranties as to the accuracy of the information provided.
I understand that representatives from the Program or UBC may contact me or my patient for additional information relating to this prescription. I acknowledge and agree
that the designated specialty pharmacy receive this prescription via a designated third party, the Program and that no additional conﬁrmation of receipt of prescription is
required by the designated specialty pharmacy
HCP Prescriber Signature - Please sign ONE LINE below

DISPENSE AS WRITTEN                                                                DATE                             SUBSTITUTIONS ALLOWED                                                            DATE

Prescriber signature required to consent and validate prescriptions. Prescriber attests that this is her/his signature. NO STAMPS. By signing, I certify that the above is medically necessary.

                                                                                                              1
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                                                      For Patient:___________________________________________ DOB:________________

6. DIAGNOSIS AND MEDICAL INFORMATION
Diagnosis                                                       ❏ Optic neuritis                                        ❏ Psoriatic arthritis
Please select diagnosis and responses to associated
questions
                                                                ❏ Polymyositis                                          ❏ Rheumatoid arthritis
                                                                Proteinuria in nephrotic syndrome                       ❏ Sarcoidosis
❏ Ankylosing spondylitis                                          Please indicate etiology:
                                                                                                                        ❏ Systemic lupus erythematosus
❏ Dermatomyositis                                                  ❏ Focal segmental glomerular sclerosis (FSGS)          Is Acthar to be used to treat an
❏ Infantile spasms                                                 ❏ IgA nephropathy (IgAN)                               acute exacerbation?
  Has diagnosis been confirmed by EEG?                             ❏ Lupus nephritis                                      ❏ YES         ❏ NO   Must check one

  ❏ YES      ❏ NO                                                  ❏ Membranous nephropathy (MN)                          Lupus nephritis?
  Patient’s weight: _________________________                      ❏ Other: _______________________________               ❏ YES         ❏ NO
  Requested drug delivery date: _____________                                                                           ❏ Uveitis
❏ Multiple sclerosis                                                                                                    ❏ Other diagnosis __________________
  Is Acthar to be used to treat an acute exacerbation?                                                                  ____________________________________
  ❏ Exacerbation       ❏ Other_____________    Must check one                                                           ____________________________________
  Onset of acute exacerbation       Date:_____________                                                                  ____________________________________

7. HISTORY OF CORTICOSTEROID USE (IF APPLICABLE) PLEASE ADD DETAILS IN SECTION 8 BELOW
Please check all that apply
A corticosteroid was tried with the following response(s):                   A corticosteroid was not tried due to the following response(s):
❏ Corticosteroid use failed, but same response not                           ❏ Corticosteroid use is contraindicated for this patient
  expected with Acthar
                                                                     OR
                                                                             ❏ Intravenous access is not possible for this patient
❏ Patient hypersensitive or allergic to corticosteroids                      ❏ Patient has known intolerance to corticosteroids
❏ Patient intolerant to corticosteroids                                      ❏ Other:__________________________________________
❏ Other: _______________________________________
8. CONCURRENT MEDICATIONS
____________________________________________________________________________________________________________________________________________
____________________________________________________________________________________________________________________________________________

9. RELEVANT TREATMENT HISTORY (INCLUDING RECENT STEROID HISTORY)
Therapy Name                   Dose                             Start Date               Stop Date             Explain Outcome With Detail
                                                                                         (if applicable)       (ex. type of outcome)




(Attach additional pages as necessary)

OTHER RELEVANT CLINICAL INFORMATION




HCP SIGNATURE: REQUIRED FOR DOCUMENTATION

NAME                                                                                  SIGNATURE                                                    DATE




                                                                                  2
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                                                    patient        Page
                                                             or their    96 of 222 PageID 379
                                                                      representative

                                                            Patient Name:________________________________________ DOB:________________

10. PATIENT AUTHORIZATION(S)
For Patient Review and Completion. If patient is not available, authorization will be obtained from patient by Acthar Support and Access Team upon receipt
of referral.
By signing this authorization, I authorize my physician(s), my health insurance company, my pharmacy providers and Mallinckrodt ARD Inc., the distributor of Acthar
(“Mallinckrodt”), and its agents, authorized designees and contractors, including Mallinckrodt reimbursement support personnel and United BioSource Corporation (“UBC”)
or any other operator of the Acthar Support and Access Program on behalf of Mallinckrodt (collectively, “Designated Parties”), to use and disclose to other Designated Parties
health information relating to my medical condition, treatment, and insurance coverage (my “Health Information”) in order for them to (1) provide certain services to me,
including reimbursement and coverage support, patient assistance and access programs, medication shipment tracking, and home injection training, (2) provide me with
support services and information associated with my Acthar therapy, (3) for internal business purposes, such as for marketing research, internal ﬁnancial reporting and
operational purposes, and (4) to carry out the Designated Parties’ respective legal responsibilities.
Once my Health Information has been disclosed to the Designated Parties, I understand that it may be re-disclosed by them and no longer protected by federal and state privacy
laws. However, the Designated Parties agree to protect my Health Information by using and disclosing it only for the purposes detailed in this authorization or as permitted or
required by law.
I understand that I may refuse to sign this authorization and that my physician and pharmacy will not condition my treatment on my agreement to sign this authorization form,
and my health plan or health insurance company will not condition payment for my treatment, insurance enrollment or eligibility for insurance beneﬁts on my agreement to
sign this authorization form. I understand that my pharmacies and other Designated Parties may receive payment in connection with the disclosure of my Health Information
as provided in this authorization. I understand that I am entitled to receive a copy of this authorization after I sign it.
I may revoke (withdraw) this authorization at any time by mailing a letter to Acthar Support and Access, 255 Technology Park, Lake Mary, FL 32746. Revoking this authorization
will end further disclosure of my Health Information to Designated Parties by my pharmacy, physicians and health insurance company when they receive a copy of the
revocation, but it will not apply to information they have already disclosed to the Designated Parties based on this authorization. I also know I may cancel my enrollment in a
patient support program at any time in writing by contacting Mallinckrodt via fax at 877-937-2284.
This authorization is in effect for 1 year or until the conclusion of any ongoing coverage support, whichever is longer, once I have signed it unless I cancel it before then.


PATIENT NAME OR LEGAL REPRESENTATIVE          PATIENT SIGNATURE                             IF LEGAL REPRESENTATIVE, RELATIONSHIP TO PATIENT                     DATE



I authorize Mallinckrodt and its agents to receive, use, and disclose my health information relating to my medical condition, treatment, insurance coverage, and contact
information from me, my healthcare providers, my pharmacies, and my health insurance company in order to (1) contact me about participation in Acthar patient programs,
(2) provide me with educational or other informational materials, (3) administer its education and other patient-related programs, (4) conduct surveys that request my feedback,
and (5) for Mallinckrodt to carry out its legal responsibilities in connection with these education and support programs. I agree to let Mallinckrodt or its agents contact me in
the future about these offerings. Once my health information has been disclosed to the education, informational and/or support program I choose to participate in, I understand
that it may be redisclosed by Mallinckrodt or its agents, and they are authorized to use or disclose this information in the manner described here and as permitted by this
authorization or as otherwise permitted or required by law, and that federal and state privacy laws may no longer protect the information. However, Mallinckrodt and its agents
agree to protect my health information by using and disclosing it only for the purposes described in this authorization or as permitted or required by law. This authorization
will remain in effect until I cancel it which I may do so at any time by contacting Mallinckrodt via fax at 877-937-2284. Cancelling this authorization will end further use or
disclosure of my health information by Mallinckrodt or its agents (except to the extent that such parties took actions based on this authorization prior to my revocation). If I
withdraw my permission, I know that this means I may no longer receive information on supplemental education or support programs. Once I withdraw my permission, no
new information will be disclosed to Mallinckrodt or its agents, but Mallinckrodt and its agents may continue to use the information that was collected before I withdrew my
permission as permitted by this authorization or as otherwise permitted or required by law. I may request a copy of this signed authorization.


PATIENT NAME OR LEGAL REPRESENTATIVE          PATIENT SIGNATURE                             IF LEGAL REPRESENTATIVE, RELATIONSHIP TO PATIENT                     DATE




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                                                                                                                            Acthar Support and Access Program
                                                                                                                       FAX: 1-877-937-2284 TEL: 1-888-435-2284

INDICATIONS AND USAGE
  • Infantile spasms: H.P. Acthar Gel (repository corticotropin injection) is indicated as monotherapy for the treatment of infantile spasms in infants and children under 2 years
    of age
  • Multiple Sclerosis: H.P. Acthar Gel (repository corticotropin injection) is indicated for the treatment of acute exacerbations of multiple sclerosis in adults. Controlled clinical
    trials have shown H.P. Acthar Gel to be effective in speeding the resolution of acute exacerbations of multiple sclerosis. However, there is no evidence that it affects the
    ultimate outcome or natural history of the disease
  • Rheumatic Disorders: As adjunctive therapy for short-term administration (to tide the patient over an acute episode or exacerbation) in: psoriatic arthritis, rheumatoid
    arthritis, including juvenile rheumatoid arthritis (selected cases may require low-dose maintenance therapy), ankylosing spondylitis
  • Collagen Diseases: During an exacerbation or as maintenance therapy in selected cases of: systemic lupus erythematosus, systemic dermatomyositis (polymyositis)
  • Dermatologic Diseases: Severe erythema multiforme, Stevens-Johnson syndrome
  • Allergic States: Serum sickness
  • Ophthalmic Diseases: Severe acute and chronic allergic and inﬂammatory processes involving the eye and its adnexa such as: keratitis, iritis, iridocyclitis, diffuse posterior
    uveitis and choroiditis, optic neuritis, chorioretinitis, anterior segment inﬂammation
  • Respiratory Diseases: Symptomatic sarcoidosis
  • Edematous State: To induce a diuresis or a remission of proteinuria in the nephrotic syndrome without uremia of the idiopathic type or that due to
    lupus erythematosus

IMPORTANT SAFETY INFORMATION
CONTRAINDICATIONS
  • Acthar should never be administered intravenously
  • Administration of live or live attenuated vaccines is contraindicated in patients receiving immunosuppressive doses of Acthar
  • Acthar is contraindicated where congenital infections are suspected in infants
  • Acthar is contraindicated in patients with scleroderma, osteoporosis, systemic fungal infections, ocular herpes simplex, recent surgery, history of or the presence of a peptic
    ulcer, congestive heart failure, uncontrolled hypertension, primary adrenocortical insufﬁciency, adrenocortical hyperfunction or sensitivity to proteins of porcine origins

WARNINGS AND PRECAUTIONS
  • The adverse effects of Acthar are related primarily to its steroidogenic effects
  • Acthar may increase susceptibility to new infection or reactivation of latent infections
  • Suppression of the hypothalamic-pituitary-axis (HPA) may occur following prolonged therapy with the potential for adrenal insufﬁciency after withdrawal of the medication.
    Adrenal insufﬁciency may be minimized by tapering of the dose when discontinuing treatment. During recovery of the adrenal gland patients should be protected from the
    stress (e.g. trauma or surgery) by the use of corticosteroids. Monitor patients for effects of HPA suppression after stopping treatment
  • Cushing’s Syndrome may occur during therapy but generally resolves after therapy is stopped. Monitor patients for signs and symptoms
  • Acthar can cause elevation of blood pressure, salt and water retention, and hypokalemia. Blood pressure, sodium and potassium levels may need to be monitored
  • Acthar often acts by masking symptoms of other diseases/disorders. Monitor patients carefully during and for a period following discontinuation of therapy
  • Acthar can cause GI bleeding and gastric ulcer. There is also an increased risk for perforation in patients with certain gastrointestinal disorders. Monitor for signs
    of bleeding
  • Acthar may be associated with central nervous system effects ranging from euphoria, insomnia, irritability, mood swings, personality changes, and severe depression, and
    psychosis. Existing conditions may be aggravated
  • Patients with comorbid disease may have that disease worsened. Caution should be used when prescribing Acthar in patients with diabetes and myasthenia gravis
  • Prolonged use of Acthar may produce cataracts, glaucoma and secondary ocular infections. Monitor for signs and symptoms
  • Acthar is immunogenic and prolonged administration of Acthar may increase the risk of hypersensitivity reactions. Neutralizing antibodies with chronic administration may
    lead to loss of endogenous ACTH activity
  • There is an enhanced effect in patients with hypothyroidism and in those with cirrhosis of the liver
  • Long-term use may have negative effects on growth and physical development in children. Monitor pediatric patients
  • Decrease in bone density may occur. Bone density should be monitored for patients on long-term therapy
  • Pregnancy Class C: Acthar has been shown to have an embryocidal effect and should be used during pregnancy only if the potential beneﬁt justiﬁes the potential risk to the
    fetus

ADVERSE REACTIONS
  • Common adverse reactions for Acthar are similar to those of corticosteroids and include ﬂuid retention, alteration in glucose tolerance, elevation in blood pressure,
    behavioral and mood changes, increased appetite and weight gain
  • Speciﬁc adverse reactions reported in IS clinical trials in infants and children under 2 years of age included: infection, hypertension, irritability, Cushingoid symptoms,
    constipation, diarrhea, vomiting, pyrexia, weight gain, increased appetite, decreased appetite, nasal congestion, acne, rash, and cardiac hypertrophy. Convulsions were also
    reported, but these may actually be occurring because some IS patients progress to other forms of seizures and IS sometimes mask other seizures, which become visible
    once the clinical spasms from IS resolve

Other adverse events reported are included in the full Prescribing Information.
Please see accompanying full Prescribing Information.


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                    EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 FEDERAL TRADE COMMISSION,
 the States of ALASKA, MARYLAND,
 NEW YORK, TEXAS, and
 WASHINGTON,                                           Case Number:

                Plaintiffs,

        v.

 MALLINCKRODT ARD INC.,
 formerly known as QUESTCOR
 PHARMACEUTICALS, INC., a
 California corporation, and
 MALLINCKRODT PLC, an Irish
 public limited company,

                Defendants.

          COMPLAINT FOR INJUNCTIVE AND OTHER EQUITABLE RELIEF

        Plaintiffs, the Federal Trade Commission (“FTC”) and the states of Alaska, Maryland,

 New York, Texas, and Washington (collectively, the “Plaintiff States”), by their designated

 attorneys, petition this Court, pursuant to Section 13(b) of the FTC Act, 15 U.S.C. § 53(b),

 Section 16 of the Clayton Act, 15 U.S.C. § 26, and the relevant state laws—Alaska Stat. §§

 45.50.501, 45.50.577 and 45.50.580, Md. Code Ann. Com. Law § 11-209, NY Gen. Bus. Law §

 340 et seq., New York Executive Law 63(12), Tex. Bus. & Com. Code Ann. § 15.20, and Wash.

 Rev. Code § 19.86.080—for permanent injunctive and other equitable relief against Defendants

 Mallinckrodt ARD Inc., formerly known as Questcor Pharmaceuticals, Inc. (“Questcor”), and

 Mallinckrodt plc (“Mallinckrodt”) to undo and prevent their unfair methods of competition in or

 affecting commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and acts of

 monopolization in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, and various state

 laws as identified in Count III, and state for their complaint as follows:

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                                       I. Nature of the Case

        1.      Through its anticompetitive conduct, Questcor has extinguished a nascent

 competitive threat to its monopoly. Questcor’s H.P. Acthar Gel (“Acthar”) is the only

 therapeutic adrenocorticotropic hormone (“ACTH”) product sold in the United States. ACTH is

 the standard of care for infantile spasms (“IS”), a rare but extremely serious disorder involving

 seizures within the first two years of life. It is also used to treat nephrotic syndrome (“NS”)—a

 kidney disorder whose largest single cause is idiopathic membranous nephropathy (“IMN”)—as

 well as other disorders.

        2.      Questcor acquired Acthar from Aventis Pharmaceuticals, Inc. in 2001 for

 $100,000 plus modest royalties. At that time, the price of Acthar was $40 per vial. Questcor has

 since raised Acthar’s price to over $34,000 per vial—an 85,000% increase.

        3.      A course of Acthar treatment for IS requires multiple vials and can cost well over

 $100,000.

        4.      For other indications, as the CEO of Mallinckrodt has admitted, Acthar is in many

 cases “the only alternative for patients that have tried and failed on many other therapies.”

        5.      Questcor’s Acthar price increases have persisted and proved very profitable.

 Acthar’s U.S. revenues in 2015 exceeded $1 billion.

        6.      In Europe, Canada, and other parts of the world, doctors treat patients suffering

 from these same conditions with Synacthen Depot (“Synacthen”), a synthetic ACTH drug.

 Although Acthar is a natural ACTH drug derived from the pituitary glands of pigs, Acthar and

 Synacthen have very similar biological activities and pharmacological effects. As the Canadian

 product monograph for Synacthen reads, “SYNACTHEN . . . exhibits the same activity as

 natural ACTH with regard to all its biological activities.” Questcor considers the drugs so



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 similar that it submitted Synacthen information to support its application to the U.S. Food and

 Drug Administration (“FDA”) to expand the label indications for Acthar and cited Synacthen

 studies in its Acthar marketing materials.

        7.      Until June 2013, Novartis AG (“Novartis”) marketed and sold Synacthen abroad.

        8.      In 2011, Novartis decided to sell the rights to market Synacthen in the United

 States. For years, Questcor had viewed Synacthen as a significant potential competitive threat to

 Acthar. In June 2013, Questcor outbid other companies to acquire the U.S. rights to Synacthen.

 Questcor’s participation in the bidding process was a defensive move designed to protect its

 monopoly over ACTH drugs in the United States. By acquiring Synacthen, Questcor harmed

 competition by preventing another bidder from trying to develop the drug and launch it in the

 United States to challenge Questcor’s monopoly over ACTH drugs.

                                           II. The Parties

        9.      Plaintiff FTC is an administrative agency of the United States, established,

 organized, and existing pursuant to the FTC Act, 15 U.S.C. §§ 41 et seq., with its principal

 offices at 600 Pennsylvania Avenue, N.W., Washington, D.C. 20580. The FTC is vested with

 the authority and responsibility for enforcing, inter alia, Section 5 of the FTC Act, 15 U.S.C. §

 45, and is authorized under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to initiate court

 proceedings to seek injunctive relief to prevent or remedy violations of any law the FTC enforces

 and to seek equitable remedies.

        10.     The Attorneys General of the Plaintiff States are the chief legal officers for their

 respective states. They are granted authority under federal antitrust law to bring actions for

 injunctive relief and under the laws of their respective states to bring actions to ensure

 compliance with their state laws and to enjoin violations of state law.



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        11.     Defendant Mallinckrodt is an Irish public limited company headquartered in

 Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

        12.     Mallinckrodt acquired Questcor on August 14, 2014, for approximately $5.9

 billion. At that time, Acthar was the only drug product sold by Questcor. With Mallinckrodt’s

 acquisition, Questcor became a wholly owned subsidiary of Mallinckrodt and subsequently

 changed its corporate name from Questcor Pharmaceuticals, Inc. to Mallinckrodt ARD Inc.

        13.     Defendant Mallinckrodt ARD Inc. is a biopharmaceutical company incorporated

 in California and headquartered in Anaheim, California. The company manufactures and sells

 Acthar in the United States.

                                   III. Jurisdiction and Venue

        14.     This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

 §§ 45(a) and 53(b), and 28 U.S.C. §§ 1331, 1337(a), and 1345.

        15.     This Court has personal jurisdiction over Defendants pursuant to 15 U.S.C. §

 53(b) because each Defendant has the requisite constitutional contacts with the United States of

 America.

        16.     In conjunction with the Commission, the Plaintiff States also bring this action for

 civil penalties and injunctive relief under Section 16 of the Clayton Act, 15 U.S.C. § 26, Alaska

 Stat. §§ 45.50.501, 45.50.551, 45.50.577 and 45.50.580, Md. Code Ann. Com. Law § 11-209,

 NY Gen. Bus. Law § 340 et seq., New York Executive Law 63(12), Tex. Bus. & Com. Code

 Ann. § 15.20, and Wash. Rev. Code § 19.86.080. All claims under federal and state law are

 based upon a common nucleus of operative fact, and the entire action commenced by this

 Complaint constitutes a single case that would ordinarily be tried in one judicial proceeding.

 This Court has jurisdiction over the non-federal claims under 28 U.S.C. § 1367(a), as well as



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 under principles of pendent jurisdiction.

         17.     Venue in this district is proper under Section 13(b)(2) of the FTC Act, 15 U.S.C.

 § 53(b), 15 U.S.C. § 22, and 28 U.S.C. § 1391(b), (c), and (d). Each Defendant resides, transacts

 business, or is found in this district.

         18.     Questcor and Mallinckrodt are, and at all relevant times have been, engaged in

 commerce or in activities affecting “commerce” as defined in Section 4 of the FTC Act, 15

 U.S.C. § 44, and Section 1 of the Clayton Act, 15 U.S.C. § 12. Defendants also are, and at all

 relevant times have been, engaged in commerce in each of the Plaintiff States.

         19.     Questcor and Mallinckrodt are, and at all times relevant have been, a

 “corporation,” as defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

                      IV. Questcor Possesses Monopoly Power With Acthar

         20.     Questcor has exercised, and continues to exercise, monopoly power in the United

 States with Acthar. The supracompetitive prices that Questcor charges for Acthar and its

 restriction of Acthar’s output are direct evidence of this monopoly power. Questcor’s monopoly

 power is also established by indirect evidence, which shows that Acthar holds a dominant share

 of the relevant market for ACTH drugs in the United States. That market is and has been

 characterized by substantial barriers to entry.

         A.      Direct Evidence of Acthar’s Monopoly Power

         21.     Questcor has repeatedly and profitably raised Acthar’s price substantially over the

 last decade. On August 27, 2007, Questcor increased the price of Acthar more than 1,300%

 overnight, from $1,650 to $23,269 per vial, causing its revenues to increase dramatically and its

 profits to soar. Additionally, Questcor has taken significant and profitable increases on eight

 occasions since 2011, pushing the price up another 46% to its current $34,034 per vial. Acthar



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 net sales grew from $218 million in 2011 to more than $1 billion in 2015.

        22.     Each alternative bidder expected to profitably sell Synacthen at a price well below

 Acthar’s price, demonstrating that Acthar is currently priced at a supracompetitive level. The

 lower prices that would prevail in a duopoly market containing Acthar and Synacthen show that

 Acthar is currently extracting substantial monopoly rents.

        23.     Questcor restricts the output of Acthar by charging an extraordinarily high price,

 forcing third-party payers (e.g., health insurers) to limit Acthar’s usage to the narrowest possible

 group of patients—those for whom no effective therapeutic alternatives exist. When Questcor

 implemented its 1,300% price increase in 2007, payers implemented formulary restrictions on

 Acthar. Most payers continue to impose stringent restrictions on Acthar. By setting a

 supracompetitive price and restricting the output of Acthar, Questcor has reduced market-wide

 output below competitive levels.

        B.      Indirect Evidence of Acthar’s Monopoly Power

        24.     The relevant product market is ACTH drugs.

        25.     Questcor has encountered no competitive constraint on its ability to repeatedly

 and profitably increase Acthar’s price and earn extremely high margins. Questcor does not set

 the price of Acthar in reference to the price of any of the other drugs that are prescribed to treat

 the same indications that Acthar treats. Acthar is priced significantly higher than non-ACTH

 drugs used to treat the same indications.

        26.     Acthar is indicated for the treatment of IS. Pediatric neurologists consider ACTH

 the gold standard treatment for IS. Other market participants—including doctors, third-party

 payers, and pharmaceutical companies (including Questcor)—agree. Treating an infant with IS

 using Acthar can cost more than $100,000. The only other treatment that is FDA-approved for



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 IS is Sabril, which has a completely different molecular structure and mechanism of action than

 Acthar and is used primarily in a discrete subset of IS patients. At approximately $25,000 per

 course of treatment, Sabril costs substantially less than Acthar. Although some doctors prescribe

 other treatments for a minority of IS patients, those treatments work differently than Acthar and

 are not substitutes for Acthar. Neither the price of Sabril nor the prices of other IS treatments

 have affected Acthar’s pricing, and none of these other treatments constrains the price of Acthar.

        27.     Acthar is indicated for the treatment of IMN. Because of its high price, Acthar

 typically is prescribed only as a last-line therapy to treat IMN. A course of Acthar treatment for

 IMN can cost hundreds of thousands of dollars. Nephrologists prescribe low-cost, generic

 oncology agents or immunosuppressants as first and second-line therapies to treat most IMN

 patients. If those therapies fail or cannot be tolerated, some doctors may prescribe the drug

 Rituxan, whose costs can range from approximately $13,000 to $40,000 for a course of

 treatment. Because Acthar functions differently than any of these other therapies, doctors and

 payers do not consider these therapies substitutes for Acthar, and the price of Acthar is not

 constrained by any of these treatments.

        28.     Acthar is indicated for the treatment of other indications, including MS flare-ups

 and rheumatology conditions. For these indications, the price of Acthar is unconstrained by

 other drugs used to treat those conditions.

        29.     Even if Synacthen were approved by the FDA for only one of Acthar’s

 indications, Synacthen would compete directly with Acthar and would be properly included in

 the relevant market. Synacthen is pharmacologically very similar to Acthar, as the active

 ingredient in both drugs is an ACTH molecule. Many doctors would prescribe Synacthen as a

 substitute for Acthar, and many payers would require its use in place of Acthar. Each alternative



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 purchaser of the Synacthen assets expected to compete head-to-head with Acthar and to take a

 substantial amount of Acthar’s business with both on- and off-label sales.

        30.     The relevant geographic market is the United States. FDA approval is required to

 market pharmaceuticals to U.S. consumers. As a result, drugs sold outside of the United States

 are not viable competitive alternatives for U.S. consumers, even in the event of a significant

 price increase for ACTH drugs available in the United States.

        31.     Acthar has a 100% share of the market for ACTH drugs in the United States. No

 other ACTH drug is FDA-approved for therapeutic use.

        32.     The U.S. ACTH market is characterized by high barriers to entry. Developing a

 long-acting, depot-injection formulation of a drug product containing ACTH (natural or

 synthetic) that is stable, safe, and effective would require significant time, cost, and effort, with

 no guarantee of success. The requirements for entry include sourcing the active pharmaceutical

 ingredient, formulating a sustained-release depot-injection formulation, scaling production to

 clinical scale, and successfully conducting clinical trials necessary for FDA approval.

 Mallinckrodt’s CEO has assured investors that Acthar “has significant durability in the

 marketplace” because “it will be very difficult for this product to be replicated in any way [by] a

 generic.”

          V. Questcor Engaged in Anticompetitive Conduct By Acquiring Synacthen

        33.     Synacthen posed a threat to Questcor’s ACTH drug monopoly, so Questcor

 intervened when other firms attempted to acquire the U.S. rights to Synacthen from Novartis.

 Questcor submitted a bid that included substantially more guaranteed money than the other

 bidders had offered, effectively ending the bidding process. By acquiring Synacthen, Questcor

 eliminated the possibility that another firm would develop it and compete against Acthar.



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        A.      Synacthen Posed a Nascent Competitive Threat to Acthar

        34.     Synacthen constituted a nascent competitive threat to Questcor’s ACTH drug

 monopoly, notwithstanding the significant uncertainty that Synacthen, a preclinical drug, would

 be approved by the FDA.

        35.     For years, Questcor viewed Synacthen as a significant potential competitive threat

 to its monopoly.

        36.     In 2006, when Questcor decided to pursue an “orphan” (i.e., high) pricing model

 for Acthar, it recognized the potential threat Synacthen posed to Acthar’s revenue growth.

        37.     In 2009, Questcor approached Novartis about acquiring Synacthen. At that time,

 Questcor continued to view Synacthen as a possible future competitor. Unsuccessful in that

 attempt, Questcor continued to monitor the competitive threat from Synacthen.

        38.     In 2012, Questcor again concluded that Synacthen posed a threat to Acthar should

 it be approved for sale in the United States.

        39.     In 2013, Questcor feared that if another company were to acquire Synacthen and

 obtain FDA approval, it could decimate its business.

        40.     But as long as Questcor believed no other firm was seeking to bring Synacthen to

 the United States, Questcor did not make further attempts to acquire it. Just months before

 Questcor began pursuing the acquisition of Synacthen, top Questcor officials questioned whether

 Synacthen would provide any affirmative value to Questcor.

        B.      Other Bidders Planned to Use Synacthen to Challenge Acthar’s Monopoly

        41.     Unbeknownst to Questcor at the time, Novartis decided in late 2011 to divest

 exclusive rights to seek FDA approval for Synacthen and commercialize it in the United States,

 along with the marketing rights for Synacthen in over thirty-five other countries where the drug



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 was already approved and sold. Dozens of companies contacted Novartis and expressed interest

 in acquiring Synacthen. Three firms proceeded through several rounds of negotiations with

 Novartis, submitted formal offers, and drafted near-final agreements.

        42.     Each of the three firms planned to develop Synacthen for IS and/or IMN and use

 Synacthen to compete directly with Acthar. With approval for one or both of these indications,

 each firm expected to capture a significant share of the U.S. ACTH market from Questcor by

 pricing Synacthen well below Acthar. Having the requisite pharmaceutical expertise and

 financing, the three firms independently conducted due diligence, crafted business plans and

 regulatory approval strategies, and took other affirmative steps in furtherance of developing

 Synacthen for the U.S. market.

        C.      The Value of the Synacthen Assets

        43.     The Synacthen assets and related rights provide a proven formulation for a long-

 acting, depot-injection drug containing synthetic ACTH. The drug product manufactured using

 the Synacthen formulation has been safely and effectively used to treat patients suffering from IS

 and other conditions worldwide for decades. The Synacthen assets would therefore facilitate

 commercializing a synthetic ACTH therapy in the United States.

        44.     The asset package sold by Novartis included valuable trade secrets, including

 technical documentation detailing both the precise formulation for the Synacthen drug product

 and the manufacturing process.

        45.     In possession of the Synacthen assets, a buyer would not need to create a

 synthetic ACTH drug formulation de novo, nor would it need to develop from scratch the

 manufacturing and testing protocols necessary for production of the drug product.




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        D.     Questcor Disrupted the Synacthen Bidding Process

        46.     In October 2012, Questcor learned that at least one unidentified firm was

 attempting to acquire Synacthen from Novartis and develop it for the United States. Questcor

 immediately attempted to reach Novartis and shortly thereafter signed a confidentiality

 agreement with Novartis and submitted an offer for Synacthen.

        47.     Novartis negotiated with the three alternative bidders in parallel with Questcor.

 By the spring of 2013, all three of the alternative bidders had submitted offers for Synacthen,

 with plans to develop and launch Synacthen in the United States in direct competition with

 Acthar. At the point where those negotiations left off, each company had exchanged deal terms

 with Novartis and had submitted a formal offer. The offers by the three alternative bidders were

 comparable in value and structured similarly, and included an upfront payment, milestone

 payments upon FDA approval, and significant royalties on U.S. Synacthen sales.

        48.     Unlike the three alternative bidders, Questcor had only inchoate plans for

 Synacthen and conducted limited due diligence when it submitted its initial offer to Novartis.

        49.     On June 11, 2013, Questcor and Novartis entered into a Licensing Agreement,

 Asset Purchase Agreement, and Supply Agreement (collectively, “the Agreements”), pursuant to

 which Questcor gained the exclusive rights to develop, market, and sell Synacthen in the United

 States and over thirty-five other countries. Under the Agreements, Questcor is obligated to pay a

 minimum of $135 million, and likely will pay $300 million to Novartis for Synacthen.

        E.      Questcor’s Acquisition of Synacthen Harmed Competition

        50.     Questcor’s strategy to protect its monopoly position with Acthar was successful.

 But for Questcor’s acquisition of Synacthen, one of the three alternative bidders would have

 acquired Synacthen and pursued its plan to develop Synacthen for IS and/or IMN to compete



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 directly with Acthar at a lower price. With the acquisition of Synacthen, Questcor thwarted a

 nascent challenge to its Acthar monopoly and thereby harmed competition.

          51.   Questcor claimed that it acquired Synacthen to develop it for new, non-Acthar

 indications, but given the drugs’ similarities, any therapeutic indication that Questcor pursues

 with Synacthen could have been pursued with Acthar.

          52.   Fourteen months after acquiring Synacthen, Mallinckrodt acquired Questcor for

 $5.9 billion. The vast majority of Questcor’s value was attributable to Acthar.

                     COUNT I – Monopolization in Violation of the FTC Act

          53.   Plaintiff the FTC re-alleges and incorporates by reference all of the allegations in

 the above paragraphs.

          54.   Defendants have, and at all relevant times had, monopoly power in the market for

 the sale of ACTH drugs in the United States.

          55.   Disrupting the bidding process for Synacthen and executing a license to the U.S.

 rights to Synacthen from Novartis eliminated the nascent competitive threat posed by an

 independently owned Synacthen and is conduct reasonably capable of contributing significantly

 to Questcor’s maintenance of monopoly power.

          56.   Defendants’ acts and practices are anticompetitive in nature and tendency and

 constitute unfair methods of competition in violation of Section 5(a) of the FTC Act, 15 U.S.C. §

 45(a).

                 COUNT II – Monopolization in Violation of the Sherman Act

          57.   Plaintiff States re-allege and incorporate by reference all of the allegations in the

 above paragraphs.

          58.   Defendants have, and at all relevant times had, monopoly power in the market for



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 the sale of ACTH drugs in the United States.

        59.     Disrupting the bidding process for Synacthen and executing a license to the U.S.

 rights to Synacthen from Novartis eliminated the nascent competitive threat posed by an

 independently owned Synacthen and is conduct reasonably capable of contributing significantly

 to Questcor’s maintenance of monopoly power.

        60.     Defendants’ acts and practices constitute monopolization in violation of Section 2

 of the Sherman Act, 15 U.S.C. § 2.

                          COUNT III – Supplemental State Law Claims

        61.     Plaintiff States re-allege and incorporate by reference all of the allegations in the

 above paragraphs.

        62.     The aforementioned practices by Defendants were and are in violation of Alaska’s

 Restraint of Trade Act, Alaska Stat. §§ 45.50.562 et seq., Alaska’s Unfair Trade Practices and

 Consumer Protection Act, Alaska Stat. §§ 45.50.471 et seq., and the common law of Alaska.

        63.     The aforementioned practices by Defendants were and are in violation of the

 Maryland Antitrust Act, Md. Code Ann., Com. Law §§ 11-201 et seq.

        64.     The aforementioned practices by Defendants were and are in violation of New

 York’s antitrust law, the Donnelly Act, New York Gen. Bus. Law §340 et seq., and is proscribed

 by New York Executive Law 63(12), in that the aforementioned practices constitute illegality

 and/or illegal acts in the carrying on, conducting, or transacting of business.

        65.     The aforementioned practices by Defendants were and are in violation of Texas’s

 Free Enterprise and Antitrust Act, Tex. Bus. & Com. Code Ann. §§ 15.01 et seq.

        66.     The aforementioned practices by Defendants were and are in violation of

 Washington’s Consumer Protection Act, Wash. Rev. Code §§ 19.86 et seq., as proscribed by §



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 19.86.040, in that the aforementioned practices are unlawful in any part of trade or commerce.

                                         Prayer for Relief

        WHEREFORE, Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), Section 16 of the

 Clayton Act, 15 U.S.C. § 26, Alaska Stat. §§ 45.50.501 and 45.50.580, Md. Code Ann. Com.

 Law § 11-209, New York Gen. Bus. Law §340 et seq., New York Executive Law 63(12), Tex.

 Bus. & Com. Code Ann. § 15.20, and Wash. Rev. Code § 19.86.080 empower this Court to issue

 a permanent injunction against violations of the FTC Act and, in the exercise of its equitable

 jurisdiction, to order ancillary equitable relief to remedy the injury caused by Defendants’

 violations; therefore, Plaintiffs request that this Court enter final judgment against Defendants

 Mallinckrodt and Questcor:

        1.      Adjudging that Defendants’ conduct constitutes monopolization in violation of

 Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

        2.      Adjudging that Defendants’ conduct constitutes monopolization in violation of

 Section 2 of the Sherman Act, 15 U.S.C. § 2;

        3.      Adjudging that Defendants have committed violations of each of the state laws

 enumerated in Count III;

        4.      Ordering that Defendants are permanently enjoined from engaging in similar and

 related conduct in the future;

        5.      Ordering divestiture and any further actions needed to restore competition lost

 due to the Defendants’ violations;

        6.      Granting such other equitable relief as the Court finds necessary, including

 equitable monetary relief, to redress and prevent recurrence of Defendants’ violations of Section

 5(a) of the FTC Act, Section 2 of the Sherman Act, and the state laws enumerated in Count III,



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 as alleged herein;

        7.        Ordering Defendants to pay civil penalties pursuant to Alaska Stat. §§

 45.50.551(b) and 45.50.578(b)(2), Md. Code Ann., Com. Law § 11-209(a)(4), New York Gen.

 Bus. Law §342-a, Tex. Bus. & Com. Code Ann. §15.20(a), and Rev. Code of Wash. Ann. §

 19.86.140; and

        8.        Awarding the Plaintiff States the costs of this action, including reasonable

 attorneys’ fees and costs, as provided for in the Clayton Act and applicable state law.




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                                                            CENTRAL DISTRICT OF CALIFORNIA
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                                                                      SOUTHERN DIVISION
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                         18                  vs.
                                                    Plaintiff,
                                                                                  COMPLAINT FOR:
                                                                                  1. RESTRAINT OF TRADE IN
                                                                                     VIOLATION OF SECTION 1 OF
                                                                                     THE SHERMAN ACT
         rL1             19            QUESTCOR PHARMACEUTICALS,
                                                                                     (15 U.S.C. § 1 ET SEQ.)
                                                                                  2. MONOPOLIZATION iN
                                       INC., a California Corporation,               VIOLATION OF SECTION 2 OF
                         20                                                          THE SHERMAN ACT
                                                    Defendant.                       (15 U.S.C. § 2 ET SEQ.)
                         21                                                       3. ATTEMPTED
                                                                                     MONOPOLIZATION IN
                         22                                                          VIOLATION OF SECTION 2 OF
                                                                                     THE SHERMAN ACT
         r--0r           23                                                          (15 U.S.C. § 2 ET SEQ.)
        ~                                                                         4. tJNLAWFDL MERGER IN
                         ').:1                                                       VIOLATION OF SECTION 7 OF
                                                                                     THE CLAYTON ACT
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                                      ty
                                                                                     (15 U.S.C. § 18 ET SEQ.)
    Q            C"J                                                              5. VIOLATION OF CALIFORNIA
    -            r- 26                ~                                              ANTITRUST LAWS
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                                                                                  6. VIOLATION OF CALIFORNIA
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                       1         PlaintiffRetrophin, Inc. ("Retrophin"), as and for its complaint against
                       2   Defendant Questcor Pharmaceuticals, Inc. ("Questcor"), alleges as follows:
                       3                                     Nature of the Action
                       4          l.    Questcor is a monopolist. It is the sole provider in the US of approved
                       5   therapeutic preparations of adrenocorticotropic hormone ("ACTH"), a drug used to
                       6   treat certain life threatening and often fatal diseases. Questcor's ACTH drug is sold
                       7   under the brand name H.P. Acthar Gel ("Acthar"). The drug is not patented.
                       8         2.     Questcor acquired the rights to Acthar in 2001. At the time, Acthar sold
                       9   for $50 a vial or less. Since then, Questcor has raised the price to $28,000 - a
                      10   56,000% price increase.
                      11         3.     Questcor is able to charge such an extortionate price for Acthar because it
                      12   holds a monopoly in the US. Its monopoly exists for several reasons. First, Acthar is
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              jtf gJ 13    the only long acting ACTH therapeutic drug approved by the Food and Drug
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              ~<l~ 14      Administration ("FDA") for use in the US. Second, Acthar is the most effective and
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     ~    Ii] 115          dominant first line treatment for Infantile Spasms, an often fatal disorder that causes
                      16   epileptic type seizures in babies, toddlers and children under the age of 5. In addition,
                      17   Questcor has obtained "Orphan Drug Designation" for Acthar from the FDA under the
                      18   Orphan Drug Act, 21 USC §§301 et seq., giving it the exclusive right to market
                      19   Acthar - and its chemical equivalent - for use in treating Infantile Spasms. Third,
                   20      Acthar is also the most commonly used treatment of last resort for patients suffering
                   21      from Nephrotic Syndrome, a condition that results in excessive protein being secreted
                   22      through the urine that destroys the kidneys and can lead to kidney failure. Treatments
                   23      of last resort, as the term implies, are used for patients who do not respond to or
                   24      cannot tolerate other therapies used to treat their illness.
                   25            4.     In June of2013, plaintiff Retrophin was poised to challenge Questcor's
                   26      monopoly. It had negotiated an agreement to purchase from Novartis AG
                   27      ("Novartis"), the rights to sell in the US a product called Synacthen, an ACTH drug
                   28      that contains the same sequence of the first 24 amino acids that is found in Acthar.


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                       1   While there are differences between Acthar and Synacthen - the two are not
                       2   chemically identical beyond the first 24 amino acids and they are produced differently
                       3   - Synacthen has been sold for years outside of the US for the treatment of Infantile
                       4   Spasms, Nephrotic Syndrome, Multiple Sclerosis and other diseases. On information
                       5   and belief, it is not currently sold in the US because it has never been submitted to the
                       6   FDA for approval.
                       7         5.     Retrophin planned to obtain FDA approval to sell Synacthen in the US
                       8   and compete head to head against Questor by dramatically undercutting Questcor's
                       9   price for Acthar. It had negotiated and was ready to sign an agreement to purchase the
                      10   US rights to Synacthen from Novartis. The signing was scheduled for June 11, 2013.
                      11   The signing of the agreement was so imminent that a press release had been prepared
                      12   to announce the deal.
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          5j          13         6.     On June 11,2013, the day Retrophin was to sign its agreement with
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    ;1    r14              Novartis, Questcor swept in and acquired the rights to Synacthen. In so doing, it
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                      15   preserved and entrenched its ACTH monopoly in the US and eliminated the
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                      16   competitive threat posed by Retrophin's acquisition of Synacthen. There was no
                      17   procompetitive aspect of Questcor' s acquisition of Synacthen.
                      18         7.     When it acquired the rights to Acthar, Questcor did not make a
                      19   Premerger Notification Filing with the Department of Justice and the Federal Trade
                      20   Commission under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, 15
                      21   USC, § 18a et seq.
                      22         8.     Questcor was quite aware, however, that its agreement with Novartis
                      23   raised serious antitrust questions. The agreement provides that, if Questcor is forced
                      24   to divest its rights to Synacthen on antitrust grounds, Novartis will keep the entire $60
                      25   million that Questcor had paid it. In addition, Questcor remains obligated to make all
                      26   future milestone payments owed to Novartis under that agreement - an amount in
                      27   excess of $75 million. Questcor has accepted the entire economic risk - an amount in
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 1   excess of $135 million - that the agreement with Novartis would be deemed illegal
 2   under the antitrust laws.
 3         9.     Questcor's acquisition of Synacthen has delayed, and may completely
 4   foreclose, Retrophin's entry into the markets defined below. It will delay, and may
 5   completely prevent, Retrophin from competing against Questcor. Retrophin brings
 6   this lawsuit to recover the damages it has incurred as a result of Questcor' s
 7   anticompetitive and monopolistic conduct. It also seeks injunctive relief against
 8   Questcor's continuation of such conduct.
 9                                         The Parties
10         10.    Piaint1ffRetrophin is organized and exists under the laws of Delaware.
11   Its principal place of business is located at 777 Third Avenue, 22nd Floor, New York,
12   New York 10017. It also does business in California and Massachusetts.
            11.   Retrophin is a biopharmaceutical company focused on the development,
     acquisition and commercialization of drugs for the treatment of serious, catastrophic
     or rare diseases for which there are currently no viable options for patients. The
16   diseases on which Retrophin focuses are often considered "orphan" diseases because
17   they affect fewer than 200,000 patients in the United States. Retrophin has acquired
18   and is building a pipeline of innovative product candidates for several catastrophic
19   diseases, including: Focal Segmental Glomerulosclerosis, a kidney disease;
20   Pantothenate Kinase-Associated Neurodgeneration; and Duchenne Muscular
21   Dystrophy.
22          12.   Defendant Questcor is a corporation organized and existing under the
23   laws of the State of California. It maintains its principal place of business in
24   Anaheim, California.
25                                   Jurisdiction and Venue
26          13.   Retrophin brings this action under Sections 4 and 16 of the Clayton Act,
27   15 U.S.C. §§ 15 and 26, to recover treble damages and costs of suit, including
28   reasonable attorneys' fees, and for injunctive relief, for injuries suffered by Retrophin


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                    1   alleged herein and arising from Questcor's continuing violations of Section 1 of the
                    2   Sherman Act, 15 U.S.C. § 1, Section 2 of the Sherman Act, 15 U.S.C. § 2, and Section
                    3   7 of the Clayton Act, 15 U.S.C. § 18. Jurisdiction for this action is invoked under
                    4   Sections 4 and 16 of the Clayton Act, as amended, 15 U.S.C. §§ 15 and 26, and 28
                    5   U.S.C. §§ 1331 and 1337(a).
                    6          14.       Additionally, this Court has diversity jurisdiction over this action
                    7   pursuant to 28 U.S.C. § 1332(a) because the controversy exceeds the sum or value of
                    8   $75,000 and Retrophin and Questcor are citizens of different states. This Court has
                    9   supplemental jurisdiction over Retrophin's state law claims pursuant to 28 U.S.C. §
                   10   1367(a).
                   11          15.       Venue in this Court exists by virtue of Sections 4 and 12 of the Clayton
                   12   Act, as amended, 15 U.S.C. §§ 15 and 22, and 28 U.S.C. § 1391(c). Defendant
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                        Questcor is found, has agents, transacts and is doing business in this District, and the
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c)                      unlawful activities complained of herein were carried on, in substantial part, within
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     f 15               this District.
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                   16          16.       Defendant is subject to personal jurisdiction in this Court because it
                   17   resides in this District and transacts business in this District.
                   18                                       Trade and Commerce
                   19          17.       The pharmaceutical products at issue in this case are sold in Interstate
                   20   Commerce, and the unlawful activities alleged in this Complaint have occurred in, and
                   21   have had and will have, a substantial effect upon, Interstate Commerce.
                   22                                       The Relevant Markets
                   23          18.       There are a number of separate relevant product markets at issue in this
                   24   case. They include: (a) the market for ACTH therapeutic drugs (the "ACTH
                   25   Therapeutic Drug Market"); (b) the market for first-line drug treatments for Infantile
                   26   Spasms (the "Infantile Spasms Market"); and (c) the market for treatments of last
                   27   resort for Nephrotic Syndrome for those patients who do not respond to or cannot
                   28   tolerate primary and secondary treatments for that disease (the "Nephrotic Syndrome


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                       1   Market"). The relevant geographic markets for each of these three relevant product
                       2   markets is the United States, since drugs available in any of these markets are subject
                       3   to FDA regulation. The ACTH Therapeutic Drug, Infantile Spasms, and Nephrotic
                       4   Syndrome Markets are collectively referred to as the "Relevant Markets."
                       5           The ACTH Therapeutic Drug Market
                       6           19.   ACTH is a drug used to treat certain life threatening and often fatal
                       7   diseases, including Infantile Spasms and Nephrotic Syndrome. It is a polypeptide
                       8   tropic hormone produced and secreted by the anterior pituitary gland. In the human
                       9   body, ACTH activates the Melanocortin System and is referred to as a "Melanocortin
                      10   agonist." The Melanocortin System affects a wide array of bodily functions ranging
                      11   from skin pigmentation, inflammation, energy homeostasis and sexual function. As a

               . 12        consequence, ACTH can be used as a therapy for a variety of illnesses resulting from
        8      .I!
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        j sj          13   improper functioning of the Melanocortin System, including Infantile Spasms and
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                           Nephrotic Syndrome. There is no reasonable interchangeability between drug
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10      ~~~15              therapies used to treat other diseases and ACTH drug therapies used to stimulate the
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                      16   Melanocortin System.
                      17           20.   Acthar is an ACTH. It is the only FDA approved long-acting ACTH
                      18   available in the US. It is also the only FDA approved long-acting melanocortin
                      19   agonist available in the US.
                      20           21.   ACTH products have been approved for use as diagnostic agents which
                      21   are used to test for the presence of certain conditions or diseases. However, those
                      22   products are short acting and are not used as therapies in treating illnesses.
                      23           22.   Consumers faced with a small but significant non-transitory increase in
                      24   the price of ACTH therapeutic drugs, cannot and will not shift to other classes of
                      25   drugs such that the increase in price will be rendered unprofitable. This is evidenced
                      26   by the fact that Questcor, the only supplier of ACTH for therapeutic purposes in the
                      27   US, has raised the price of a vial of Acthar to $28,000 and is able to maintain that
                      28   pnce.


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                    1         23.    FDA regulation and the difficulty of developing and manufacturing
                    2   ACTH based therapeutic drugs reduce or eliminate any "supply elasticity" whereby
                    3   manufacturers of other drug therapies convert their existing manufacturing facilities to
                    4   the manufacture of ACTH therapeutic drugs.
                    5         24.    The relevant geographic market for ACTH therapeutic drugs is national
                    6   because therapeutic ACTH drugs cannot be sold in the US without FDA approval.
                    7         The Infantile Spasms Market
                    8         25.    Babies and little children suffering from Infantile Spasms must have
                    9   treatments that cure that affliction. Without it they suffer from epileptic type seizures
                   10   and other symptoms of the disease. If untreated, they may suffer permanent brain or
                   11   neurological damage and may develop other seizure disorders. The disease can be
                   12   fatal. Only therapies that treat Infantile Spasm Syndrome can meet the medical needs
         "0        13   of these patients. Therapies for other diseases do not cure or control Infantile Spasms
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         ~"B            and are not substitutes for Infantile Spasm therapeutics. There is no reasonable
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                        interchangeability between drug therapies used to treat other diseases and drug
                   16   therapies used to treat children with Infantile Spasms.

1                  17         26.    Consumers faced with a small but significant non-transitory increase in
~                       the price of therapeutic drugs to treat Infantile Spasms, cannot and will not shift to
                   18
i                  19   other drug treatments for Infantile Spasms such that the increase in price will be
                   20   rendered unprofitable. This is evidenced by the fact that Questcor has raised the price
                   21   of a vial of Acthar to $28,000 and is able to maintain that price.
                   22         27.    There are also regulatory entry barriers that limit the Relevant Market to
                   23   first line therapies for Infantile Spasms. In 2010, Questcor obtained from the FDA,
                   24   "Orphan Drug designation" for Acthar for Infantile Spasms under the Orphan Drug
                   25   Act. Despite the fact that Acthar is not patented, the Orphan Drug designation gives
                   26   Questcor a seven year exclusive right to sell Acthar, and its chemical equivalent, for
                   27   Infantile Spasms with immunity from generic competition. Questcor's exclusive
                   28   marketing right extends to 2017. Therapies that are excluded by Acthar's Orphans


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I                   1 Drug Designation (generic versions of Acthar) cannot be labeled or marketed for the
                    2   treatment of Infantile Spasms.
                    3         28.    FDA regulation and the difficulty of developing and manufacturing
                    4   treatments for Infantile Spasms preclude any "supply elasticity" whereby
                    5   manufacturers of other drug therapies convert their manufacturing facilities to the
                    6   manufacture of Infantile Spasm therapies.
                    7         29.    The relevant geographic market for first line Infantile Spasm drug
I                   8   therapies is national because therapeutic drugs cannot be marketed in the US for
I                   9   Infantile Spasms without FDA approval.



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                   10         The Nephrotic Syndrome Market
                   11         30.    Nephrotic Syndrome is a condition in which excessive amounts of
t                  12   protein pass through the kidneys and are secreted through the urine. This results in
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                        kidney damage and can lead to kidney failure. Nephrotic Syndrome is treated on a
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    cJ   ~:d4           first and second line basis with corticosteroids, such as Prednisone, or
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         g15            immunosuppressant drugs. In some patients the disease does not respond to these
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                   16   treatments and in others the patient cannot tolerate the drugs' side effects. In such
                   17   cases, ACTH (Acthar) is the primary and dominant treatment of last resort. Only
                   18   therapies that treat Nephrotic Syndrome effectively can meet the medical needs of
                   19   Nephrotic Syndrome patients who do not respond to or cannot tolerate traditional first
                   20   and second line therapies for that illness. Therapies for other diseases do not cure or
                   21   control Nephrotic Syndrome and are not substitutes for last resort treatments for
                   22   Nephrotic Syndrome. There is no reasonable interchangeability between drug
                   23   therapies used to treat other diseases and drug therapies used to treat victims of
                   24   Nephrotic Syndrome.
                   25         31.    Consumers faced with a small but significant non-transitory increase in
                   26   the price of last resort therapeutic drugs to treat Nephrotic Syndrome cannot and will
                   27   not shift to other drug treatments such that the increase in price will be rendered
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                      1 unprofitable. This is evidenced by the fact that Questcor has raised the price of a vial
                      2   of Acthar to $28,000 and is able to maintain that price.
                      3         32.    There are also regulatory entry barriers that limit the Relevant Market to
                      4   therapies of last resort for Nephrotic Syndrome. Therapies for other conditions cannot
                      5   be marketed for the treatment of Nephrotic Syndrome without FDA approval. In
                      6   addition, it is particularly difficult for the maker of a generic drug to obtain FDA
                      7   approval when it is trying to prove that its synthetically manufactured product, which
                      8   is manufactured in a laboratory setting, is the biopharmaceutical equivalent of a drug
                      9   such as Acthar which is produced from animals.
                     10         33.    FDA regulation and the difficulty of developing and manufacturing
                     11   treatments for Nephrotic Syndrome preclude any "supply elasticity" whereby
                     12   manufacturers of other drug therapies convert their manufacturing facilities to the
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            j\i 6) 13     manufacture of Nephrotic Syndrome therapies.
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    i   I Ua14                  34.    The relevant geographic market for therapies of last resort for Nephrotic
    ~ III            15   Syndrome is national because such therapies cannot be marketed in the US for
                     16   Nephrotic Syndrome without FDA approval.
                     17          Questcor Has Market and Monopoly Power in the Relevant Markets

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                                35.    There are no meaningful substitutes for Acthar or ACTH in the Relevant
                          Markets. Nor are manufacturers of other pharmaceutical products able to shift their
                     20   production to the manufacture of Acthar or other ACTH products. Even if they were
                     21   able to do so, they could not sell those products without first obtaining FDA approval.
                     22   Questcor has market and monopoly power in all of the Relevant Markets.
                     23         36.    Questcor's monopoly power in all three of the Relevant Markets is
                     24   further evidenced by a single price increase that it imposed in 2007. In that year,
                     25   Questcor raised the price of Acthar from $1,650 per vial to $23,000 per vial, an
                     26   overnight increase of over 1,300%. Questcor's ability to make that price increase
                     27   "stick" is conclusive evidence of its market and monopoly power.
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                  1         The ACTH Therapeutic Drug Market
                  2         37.       In the ACTH Therapeutic Drug Market, Acthar is the only FDA
                  3   approved long acting ACTH therapeutic drug available to consumers in the United

I                 4   States.
I                 5             38.   Questcor's market and monopoly power in the ACTH Therapeutic Drug
                  6   Market is further protected by the fact that other chemical variations of ACTH for use
                  7   as therapeutic drugs require FDA approval for sale in the United States.
                  8             39.   Questcor effectively has 100% of the market for ACTH Therapeutic
                  9   Drugs. It has market and monopoly power in that market which is dramatically
                 10   demonstrated by its continued ability to charge $28,000 for a vial of Acthar.
                 11         The Infantile Spasms Market

             . 12           40.       In the Infantile Spasms Market, Acthar is considered the "gold standard"
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              J13     of treatment.
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    cJ    ,,~    14         41.       Questcor's market and monopoly power in the Infantile Spasms Market
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    ~I    H15         is protected by the Orphan Drug Designation that protects Questcor from generic
                 16   competition to Acthar. Its monopoly position is further protected by the fact that
                 17   alternative therapies, that would not be precluded by the Orphan Designation, require
                 18   FDA approval if they are to be marketed as therapies for Infantile Spasms.
                 19         42.       Questcor admits that it has more than 50% share of the Infantile Spasms
                 20   Market and its actual market share may be far greater. Questcor's market and
                 21   monopoly power in the Infantile Spasms Market is demonstrated dramatically by its
                 22   continued ability to charge $28,000 for a vial of Acthar.
                 23         The Nephrotic Syndrome Market
                 24         43.       In the Nephrotic Syndrome Market, Acthar is the primary and dominant
                 25   treatment of last resort for Nephrotic Syndrome patients who do not respond to or
                 26   cannot tolerate first or second line treatments for that disease.
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                    1         44.    Questcor's market and monopoly power in the Nephrotic Syndrome
                    2   Market is further protected by the fact that alternative drug therapies require FDA
                    3   approval if they are to be marketed as therapies for Nephrotic Syndrome.
                    4         45.    Questcor's market and monopoly power in the Nephrotic Syndrome
                    5   Market is demonstrated dramatically by its continued ability to charge $28,000 for a
                    6   vial of Acthar.
                    7        Retrophin's Acquisition of Synacthen Threatened Questcor's Monopoly
                    8         46.    Synacthen is an ACTH derivative that has been sold for years outside of
                    9   the US and has been used successfully to treat patients with Infantile Spasms and
                   10   Nephrotic Syndrome in other countries. It has not been commercially developed in
                   11   the US and it has not been submitted to the FDA for approval for therapeutic use.
                   12         47.    Synacthen is similar, but not chemically identical, to Acthar. Both drugs
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         gJ 13 share the identical sequence of the first 24 amino acids in their respective molecules.
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    cJ   \3$14          This sequence of amino acids gives both drugs their therapeutic properties. Acthar,
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    ~I   H15            however, has a longer amino acid chain. The two drugs are also produced in very
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                   16   different ways. Acthar is "porcine derived." It is extracted from the pituitary gland
                   17   found in the brains of slaughtered pigs. Synacthen, by contrast, is synthetically
                   18   manufactured in a laboratory setting. These differences give Synacthen three
                   19   competitive advantages over Acthar. First, Synacthen is less expensive to
                   20   manufacture. Second, because it is manufactured in a controlled setting, the product is
                   21   less susceptible to variation. Third, consumers are more comfortable knowing that the
                   22   drugs they are taking - or giving to their infants - are produced in a sterile
                   23   environment rather than being derived from slaughtered animals.
                   24         48.    Retrophin planned to purchase the rights to Synacthen, obtain FDA
                   25   approval for its use as a therapeutic, and enter the Relevant Markets in competition
                   26   with Questcor. Retrophin planned to price Synacthen at a fraction of the price
                   27   charged by Questcor and use its competitive pricing and Synacthen's other
                   28   competitive advantages to take substantial market share from Acthar.


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      1         49.    In the late summer of2012, Retrophin entered negotiations with Novartis
      2   to purchase the rights to manufacture and sell Synacthen in the US. After
      3   approximately nine months of due diligence and negotiations, Retrophin and Novartis
      4   agreed to terms on which Retrophin would acquire the rights to Synacthen. Final
      5   documents had been prepared and were merely awaiting the parties' signatures. The
1     6   signing was set for June 11,2013. Retrophin had prepared a press release announcing
i     7   the deal.
      8          50.   In anticipation of the transaction, Retrophin had prepared a plan to obtain
      9   regulatory approvals for, and sell Synacthen. It devised a strategy for going directly to
     10   Phase III clinical drug trials in order to obtain FDA approval for the use of Synacthen
     11   to treat Infantile Spasms and Nephrotic Syndrome. It also planned to file a Treatment
     12   Investigational New Drug Application which, if approved by the FDA, would have
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          allowed Retrophin to offer Synacthen to patients for free while it was awaiting FDA
          approval to market Synacthen for Infantile Spasms and Nephrotic Syndrome. This
          would have given patients immediate relief from Questcor's pricing and would have
     16   developed substantial goodwill for Retrophin and Synacthen in both the patient and
     17   medical communities. Retrophin believed that the history of Synacthen's use in other
     18   countries would aid it in obtaining FDA approval.
     19         51.    In anticipation of the product launch, Retrophin had put in place a
     20   clinical apparatus to conduct clinical trials necessary to obtain FDA approval. It
     21   planned to begin to market Synacthen upon FDA approval.
     22          52.   Given its expertise as a biopharmaceutical company focusing on rare
     23   diseases, Retrophin was ready, willing and able to enter the Relevant Markets with
     24   Synacthen subject to FDA approval. Retrophin's entry into the Relevant Markets
     25   would have broken Questcor's monopoly. The result would have been
     26   unambiguously procompetitive. Retrophin's entry into the market and its introduction
     27   of Synacthen as an alternative to Acthar would have benefitted all participants in the
     28   markets - other than Questcor. Prices to patients and payors would have dropped;


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                      1   patients who were unable to pay for the drug would have been able to get it; other
                      2   patients who were forced by Questcor's pricing to limit their dosages of the drug
                      3   would have been able to take the medically prescribed amounts; and Retrophin would
                      4   have earned substantial profits from sales of its product.
                      5            Questcor Illegally Acquires Synacthen to Preserve its Monopoly
                      6         53.    Faced with a direct threat to its monopoly, Questcor acted to preserve its
                      7   market dominance and its ability to charge extraordinary prices for Acthar. It swept in
                      8   and secretly negotiated a deal to buy the rights to Synacthen from Novartis.
                      9         54.    On June 11,2013, the very day that Retrophin and Novartis were to sign


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                          their agreement, Questcor acquired the rights to Synacthen. The acquisition was
                          closed on the day of the announcement. Questcor made no Premerger Notification


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                          filing with the Department of Justice and the Federal Trade Commission under the
                          Hart Scott Rodino Act Antitrust Improvements Act of 1976. Nor did it observe the
                          waiting period provided by the Hart Scott Act before closing the acquisition.
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     1a  ~.'i~15                55.    As part of the Agreement, the entire risk of an antitrust challenge to the
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                     16   transaction is borne by Questcor. The Agreement between Novartis and Questcor
                     17   provides that Novartis receives the full consideration it is entitled to from Questcor
                     18   even if the US antitrust enforcement agencies (The Federal Trade Commission or the
                     19   Department of Justice) force Questcor to divest its rights in Synacthen. If such a
                     20   divestiture occurs, the Agreement provides that Novartis keeps the entire $60 million
                     21   that Questcor has paid it and Questcor will make all future milestone payments
                     22   required by the Agreement - an amount in excess of $75 million. In short, the
                     23   acquisition of the rights to Synacthen was so important to Questcor that it put at least
                     24   $135 million at risk to keep Synacthen out of Retrophin's hands. There was no
                     25   procompetitive aspect of Questcor's acquisition ofSynacthen.
                     26         56.    Questcor's acquisition of the rights to Synacthen unreasonably restrained
                     27   trade, maintained Questcor's monopolies and may result in a substantial lessening of
                     28   competition in the Relevant Markets. As a result of Questcor's acquisition of the

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                    1   rights to Synacthen, prices to patients and payors for Acthar will remain at monopoly
                    2   levels; patients who are unable to pay for the drug will not be been able to get it;
                    3   other patients who are forced by Questcor's pricing to limit their dosages of the drug
                    4   will not be able to take the medically prescribed amounts; and Retrophin will not earn
                    5   the substantial profits it expected to earn from selling Synacthen at a fraction of the
                    6   price Questcor charges for Acthar.
                    7               Retrophin Is Continuing to Try to Enter the Relevant Markets
                    8         57.     Despite Questcor's anti competitive and monopolistic conduct, Retrophin
                    9   is continuing to try to enter the Relevant Product Markets. To that end, it has taken
                   10   the highly unusual step of trying to create from scratch a drug - that it has designated
                   11   as RE-034 - that will match Synacthen. Retrophin is endeavoring to create a new
                   12   formulation of the drug that will incorporate the same active pharmaceutical
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                        ingredient used in Synacthen and match Synacthen's therapeutic effects for patients
    cJ   Ii             suffering from Infantile Spasms and Nephrotic Syndrome.
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    ~I   H15                  58.     Retrophin's efforts to develop RE-034 will take substantial time and
                   16   money and will require FDA approval. It will also require that the drug successfully
                   17   complete both Phase I and Phase III clinical trials for both Infantile Spasms and
                   18   Nephrotic Syndrome. There is no guarantee that RE-034 will succeed in the clinical


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                        trials or that Retrophin will succeed in obtaining FDA approval or entering the
                        Relevant Markets.
                   21         59.     Entering the Relevant Markets through RE-034 is more difficult, risky
                   22   and time consuming than entering those markets through Synacthen. Synacthen is an
                   23   existing product that has been manufactured and used outside of the US for decades in
                   24   the treatment of a variety of illnesses, including Infantile Spasms and Nephrotic
                   25   Syndrome. The owner of the rights to Synacthen has the information, know-how and
                   26   ability to manufacture the drug and has decades of clinical data from outside the
                   27   United States that can be used to facilitate and speed the regulatory approval process
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                              1 in the US. Retrophin will need to develop all of that knowledge from scratch in
                              2   seeking to enter the Relevant Markets with RE-034.
                              3         60.    Entering the Relevant Markets through RE-034 will be more difficult,
                              4   less likely to succeed and take longer than entry into those markets through the
                              5   acquisition of Synacthen. Questcor's conduct has delayed, and may entirely foreclose,
                              6   Retrophin from entering the Relevant Markets.
t                             7    Questcor Has Damaged Competition in the Relevant Markets and Has Caused
                              8               Retrophin to Suffer Both Injury in Fact and Antitrust Injury
                              9         61.    Questcor's unlawful acquisition of the rights to Synacthen has foreclosed
                             10   or delayed Retrophin from entering the Relevant Markets, has restrained trade, and
                             11   has preserved and entrenched Questcor's monopoly and may substantially lessen
                             12   competition. As a result, competition in the Relevant Markets has been damaged and
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                             13   Retrophin has been injured. Those injuries are intertwined and inseparable.
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          ,liq                    Excluding or delaying Retrophin from entering the Relevant Markets with Synacthen
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          ~~;                15   was and is an integral aspect of Questcor' s anti competitive conduct.
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                             16         62.    Retrophin has suffered and continues to suffer injury in fact from
                             17   Questcor's acquisition of the rights to Synacthen and the preservation of its monopoly.
                             18         63.    Retrophin has suffered and continues to suffer antitrust injury from
                             19   Questcor's acquisition of the rights to Synacthen and the preservation of its monopoly.
                             20   Retrophin has been injured directly as a result of Questcor' s unlawful conduct.
                             21   Retrophin is a potential entrant into the Relevant Markets and, but for Questcor's
                             22   unlawful conduct, would be entering those markets with Synacthen. There are no
                             23   aspects of Questcor's conduct that are beneficial to competition. Retrophin's injury is
                             24   an integral aspect of Questcor' s unlawful conduct; flows from that which renders
                             25   Questcor's conduct unlawful; and its injury is of the type the antitrust laws were
                             26   intended to prevent.
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             1                                FIRST CAUSE OF ACTION
             2      (COMBINATION IN THE RESTRAINT OF TRADE IN VIOLATION OF
             3                          SECTION 1 OF THE SHERMAN ACT)
             4         64.    Retrophin repeats and realleges the allegations set forth in paragraphs 1
             5   through 63 as if fully set forth herein.
             6         65.    In acquiring the rights to Synacthen, Questcor entered into a contract,
             7   conspiracy or combination that unreasonably restrains trade in violation of Section 1
             8   of the Sherman Act, 15 U.S.C. § 1.
             9         66.    Questcor's acquisition of the rights to Synacthen unlawfully and
            10   unreasonably restrains trade by preventing or delaying Retrophin from entering the
            11   Relevant Markets and challenging Questcor's market power in those markets.
            12         67.    Questcor's violation of Section 1 of the Sherman Act has caused, and
     il     13   will cause, damages to Retrophin in an amount to be determined at trial, such damages
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cJ   i~] 14      to be trebled in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15.
~t .qh15               68.    Questcor's unlawful conduct is ongoing, irreparably injures Retrophin,
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            16   harms the public interest, and unless restrained will continue. Retrophin has no
            17   adequate remedy at law.
            18                               SECOND CAUSE OF ACTION
            19    (MONOPOLIZATION IN VIOLATION OF SECTION 2 OF THE SHERMAN
            20                                              ACT)
            21         69.    Retrophin repeats and realleges the allegations set forth in paragraphs 1
            22   through 68 as if fully set forth herein.
            23         70.    Questcor has monopoly power in the Relevant Markets. In acquiring the
            24   rights to Synacthen in the US, Questcor has intentionally acted to maintain and
            25   entrench its monopoly position in Relevant Markets, and has done so, in violation of
            26   Section 2 of the Sherman Act, 15 U.S.C. § 2.
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                     1         71.     Questcor's violation of Section 2 of the Sherman Act has caused, and
                     2   will cause, damages to Retrophin in an amount to be determined at trial, such damages
                     3   to be trebled in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15.
                     4         72.     Questcor's unlawful conduct is ongoing, irreparably injures Retrophin,
                     5   harms the public interest, and unless restrained will continue. Retrophin has no
                     6   adequate remedy at law.
                     7                                THIRD CAUSE OF ACTION
                     8     (ATTEMPTED MONOPOLIZATION IN VIOLATION OF SECTION 2 OF
                     9                                   THE SHERMAN ACT)
                    10         73.     Retrophin repeats and realleges the allegations set forth in paragraphs 1
                    11   through 72 as if fully set forth herein.
                    12         74.     In acquiring the rights to Synacthen, Questcor has engaged in
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                         monopolistic and anticompetitive conduct with the specific purpose and intent of
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    c) !~14              monopolizing the Relevant Markets in violation of Section 2 of the Sherman Act, 15
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    ~I    §              U.S.C. § 2.
                    16         75.     The sole purpose of Questcor's acquisition of the rights to Synacthen is
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                    17   to enable Questcor to gain or maintain a monopoly position in the Relevant Markets.
                    18         76.     A dangerous probability exists that Questcor has succeeded, and if not
                    19   restrained, will continue to succeed in monopolizing the Relevant Markets.
                    20         77.     Questcor's acts of attempted monopolization has unlawfully prevented
                    21   and delayed Retrophin from entering the Relevant Markets and otherwise injure
                    22   competition in those markets by reducing choice, inflating prices, and lessening
                    23   innovation.
                    24         78.     Questcor's violation of Section 2 of the Sherman Act has caused, and
                    25   will cause, damages to Retrophin in an amount to be determined at trial, such damages
                    26   to be trebled in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15.
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                   1         79.    Questcor's unlawful conduct is ongoing, irreparably injures Retrophin,
                   2   harms the public interest, and unless restrained will continue. Retrophin has no
                   3   adequate remedy at law.
                   4                               FOURTH CAUSE OF ACTION
                   5         (UNLAWFUL MERGER IN VIOLATION OF SECTION 7 OF THE
                   6                                       CLAYTON ACT)
                   7         80.    Retrophin repeats and realleges the allegations set forth in paragraphs 1
                   8   through 79 as if fully set forth herein.
                   9         81.    Questcor's acquisition of the rights to Synacthen is likely to substantially
                  10   lessen competition in interstate trade and commerce in violation of Section 7 of the
                  11   Clayton Act, 15 U.S.C. § 18.
                  12         82.    Questcor's acquisition of the rights to Synacthen is likely to result in a
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                       substantial lessening of competition in the Relevant Markets.
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      u                      83.    Questcor's violation of Section 7 of the Clayton Act has caused, and will
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:tl   t 15             cause, damages to Retrophin in an amount to be determined at trial, such damages to
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                  16   be trebled in accordance with Section 4 of the Clayton Act, 15 U.S.C. § 15.
                  17         84.    Questcor's unlawful conduct is ongoing, irreparably injures Retrophin,
                  18   harms the public interest, and unless restrained will continue. Retrophin has no
                  19   adequate remedy at law.
                  20                                FIFTH CAUSE OF ACTION
                  21                 (VIOLATION OF CALIFORNIA ANTITRUST LAWS)
                  22         85.    Retrophin repeats and realleges the allegations set forth in paragraphs 1
                  23   through 84 as if fully set forth herein.
                  24         86.    In acquiring the rights to Synacthen, Questcor entered into and engaged
                  25   in a continuing unlawful trust in restraint of the trade and commerce described above
                  26   in violation of the California antitrust laws referenced below. Questcor has acted in
                  27   violation of these laws in an effort to maintain, entrench, and/or create a monopoly,
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                     1 and otherwise injure competition in the Relevant Markets. Questcor's conduct
                     2   substantially affected commerce in California.
                     3          87.   In acquiring the rights to Synacthen in the US, Questcor has maintained
                     4   and entrenched its monopoly position in the Relevant Markets.
                     5          88.    Questcor's acquisition of the rights to Synacthen is likely to result in a
                     6   substantial lessening of competition in the Relevant Markets.
                     7          89.   By reason of the foregoing, Questcor violated California's Cartwright
                     8   Act, California Business and Professions Code §§ 16720 et seq.
                     9         90.    Questcor's violation of California's Cartwright Act, California Business
                    10   and Professions Code §§ 16720 et seq. has caused, and will cause, damages to
                    11   Retrophin in an amount to be determined at trial, with such damages to be trebled.
                    12         91.    Questcor's unlawful conduct is ongoing, irreparably injures Retrophin,
              .a

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               J 13 harms the public interest, and unless restrained will continue. Retrophin has no
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     c:J ....
         ~] 14           adequate remedy at law.
     ~I    "8
           t~ 15                                      SIXTH CAUSE OF ACTION
     ~j    .9 ;;,


                    16           (UNFAIR COMPETITION UNDER CAL. BUS. & PROF. CODE
                    17                                       § 17200 ET SEQ.)
                    18         92.    Retrophin repeats and realleges the allegations set forth in paragraphs 1
                    19   through 91 as if fully set forth herein.
                    20         93.    California Unfair Competition Law, Business and Professions Code
                    21   Section 17200 et seq., provides that "unfair competition shall mean and include any
                    22   unlawful, unfair or fraudulent business act."
                    23         94.    Questcor's conduct as alleged herein meets the "unlawfulness" prong of
                    24   California Business and Professions Code §§ 17200 et seq. Questcor has committed
                    25   and continues to commit unlawful business practices by illegally acquiring the rights
                    26   to Synacthen and engaging in anti competitive and monopolistic conduct in violation
                    27   of antitrust laws.
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                 Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 149 of 222            PageID



                  1         95.    Questcor's conduct as alleged herein also meets the "unfair" prong of
                  2   California Business and Professions Code §§ 17200 et seq. Questcor's
                  3   anti competitive and monopolistic conduct harms the public interest, threatens an
                  4   incipient violation of an antitrust law and/or violates the policy or spirit of those laws
                  5   because its effects are comparable to or the same as a violation of the law, or
                  6   otherwise significantly threatens or harms competition.
                  7         96.    Pursuant to California Business and Professions Code § 17203, Retrophin
                  8   seeks the disgorgement of Questcor's profits earned by its unlawful and/or unfair
                  9   business practices to the extent it constitutes restitution to Retrophin.
                 10         97.    Pursuant to California Business and Professions Code § 17203, Retrophin
                 11   seeks an order of this court enjoining Questcor from continuing to engage, use, or
                 12   employ the unlawful and/or unfair business practices complained of herein.
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         N~13
         ~;.
                            98.    Questcor's wrongful conduct has caused and, ifit continues, will
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    c)   Cl"E    14   continue to cause irreparable harm to Retrophin that cannot be fully compensated by
    ~t
         .; 8
         JI ..
         !:,"t

    ~I   HIS          money and for which Retrophin has no adequate remedy at law. Retrophin is thus
         .9 '"

                 16   entitled to permanent injunctive relief preventing Questcor from continuing to engage
                 17   in the conduct alleged in this Complaint.
                 18                                   PRAYER FOR RELIEF
                 19         WHEREFORE, Retrophin respectfully demands judgment against Questcor:
                 20         A.     DECLARING that Questcor's acquisition of the rights to Synacthen is an
                 21   unlawful contract, combination or conspiracy in restraint of trade in violation of
                 22   Section 1 of the Sherman Act;
                 23         B.     DECLARING that Questcor's acquisition of the rights to Synacthen
                 24   constitutes unlawful monopolization of the Relevant Markets in violation of Section 2
                 25   of the Sherman Act;
                 26         C.     DECLARING that Questcor's acquisition of the rights to Synacthen
                 27   constitutes an unlawful attempt to monopolize the Relevant Markets in violation of
                 28   Section 2 of the Sherman Act;


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 1         D.     DECLARING that Questcor's acquisition of the rights to Synacthen
 2   constitutes an acquisition that may result in a substantial lessening of competition in
 3   the Relevant Markets in violation of Section 7 of the Clayton Act;
 4         E.     DECLARING that Questcor's acquisition of the rights to Synacthen
 5   constitutes an unlawful trust in restraint of trade and commerce in violation of
 6   California Business and Professions Code §§ 16720 et seq.;
 7         F.     DECLARING that Questcor's acquisition of the rights to Synacthen
 8   constitutes unfair competition in violation of California Business and Professions
 9   Code § 17200 et seq.;
10         G.     PERMANENTL Y ENJOINING Questcor from enforcing or maintaining
11   its Rights to Synacthen under its agreement with Novartis or any similar formal or
12   informal agreement;
           H.     PERMANENTLY ENJOINING Questcor from engaging in further
     anticompetitive conduct in violation of Section 1 of the Sherman Act;
           I.     PERMANENTLY ENJOINING Questcor from engaging in further
16   anti competitive conduct in violation of Section 2 of the Sherman Act;
17         J.     PERMANENTL Y ENJOINING Questcor from engaging in further
18   anti competitive conduct in violation of Section 7 of the Clayton Act;
19         K.     PERMANENTLY ENJOINING Questcor from engaging in further
20   anti competitive conduct in violation of California Business and Professions Code §§
21   16720,etseq.;
22         L.     PERMANENTL Y ENJOINING Questcor from engaging in further
23   unlawful and/or unfair business practices in violation of California Business and
24   Professions Code § 17200 et seq.;
25         M.     DISGORGING any profits generated by Questcor as a result of its
26   unlawful and/or unfair business practices to the extent it constitutes restitution to
27   Retrophin;
28

                                                 20
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                                     434
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                                     435
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                                     436
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                                     437
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                                     438
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 156 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  439
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 ACCREDO HEALTH GROUP, INC.                                                                                      Shelby County Sheriff
 1640 Century Center Parkway                                                                                     Commissioner of Insurance ($)
 Memphis, TN 38134
                                                                                                                 Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
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it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 157 of 222                                        PageID
                                   RETURN OF SERVICE
                                                440 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 158 of 222   PageID
                                         441




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 159 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  442
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 CURASCRIPT, INC. doing business as CURASCRIPT SD                                                                Shelby County Sheriff
 255 Technology Park                                                                                             Commissioner of Insurance ($)
 Lake Mary, FL 32746
                                                                                                                 Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

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the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 160 of 222                                        PageID
                                   RETURN OF SERVICE
                                                443 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 161 of 222   PageID
                                         444




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 162 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  445
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 JAMES A. TUMLIN, M.D.                                                                                           Shelby County Sheriff
 Nephrology Associates of Chattanooga                                                                            Commissioner of Insurance ($)
 2300 E. 3rd Street
                                                                                                                 Secretary of State ($)
 Chattanooga, TN 37404
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

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                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

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                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 163 of 222                                        PageID
                                   RETURN OF SERVICE
                                                446 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

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                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 164 of 222   PageID
                                         447




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 165 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  448
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 EXPRESS SCRIPTS HOLDING COMPANY                                                                                 Shelby County Sheriff
 1 Express Way                                                                                                   Commissioner of Insurance ($)
 Saint Louis, MO 63121
                                                                                                                 Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

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                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


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                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 166 of 222                                        PageID
                                   RETURN OF SERVICE
                                                449 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

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                                                                               By:
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                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 167 of 222   PageID
                                         450




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




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                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 168 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  451
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
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                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 EXPRESS SCRIPTS, INC.                                                                                           Shelby County Sheriff
 1 Express Way                                                                                                   Commissioner of Insurance ($)
 Saint Louis, MO 63121
                                                                                                                 Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

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                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

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TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 169 of 222                                        PageID
                                   RETURN OF SERVICE
                                                452 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 170 of 222   PageID
                                         453




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 171 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  454
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 MALLINCKRODT ARD, INC., formally known as QUESTCOR                                                              Shelby County Sheriff
 PHARMACEUTICALS, INC.                                                                                           Commissioner of Insurance ($)
 675 McDonnell Boulevard
                                                                                                                 Secretary of State ($)
 Hazelwood, MO 63042
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on         Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 172 of 222                                        PageID
                                   RETURN OF SERVICE
                                                455 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 173 of 222   PageID
                                         456




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 174 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  457
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 MALLINCKRODT PLC                                                                                                Shelby County Sheriff
 3 Lotus Park, The Causeway                                                                                      Commissioner of Insurance ($)
 Staines-upon-Thames
                                                                                                                 Secretary of State ($)
 Surrey, TW18 3 AG
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 175 of 222                                        PageID
                                   RETURN OF SERVICE
                                                458 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 176 of 222   PageID
                                         459




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 177 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  460
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 PRIORITY HEALTHCARE CORP.                                                                                       Shelby County Sheriff
 1680 Century Center Parkway                                                                                     Commissioner of Insurance ($)
 Memphis, TN 38134-8827
                                                                                                                 Secretary of State ($)
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
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items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 178 of 222                                        PageID
                                   RETURN OF SERVICE
                                                461 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 179 of 222   PageID
                                         462




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 180 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  463
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 UNITED BIOSOURCE CORPORATION                                                                                    Shelby County Sheriff
 n/k/a UNITED BIOSOURCE LLC                                                                                      Commissioner of Insurance ($)
 920 Harvest Drive
                                                                                                                 Secretary of State ($)
 Blue Bell, PA 19422
                                                                                                                  Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 181 of 222                                        PageID
                                   RETURN OF SERVICE
                                                464 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 182 of 222   PageID
                                         465




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
         Case 2:21-cv-02024-JTF-tmp   Document 1-10
                                 (CIRCUIT/CHANCERY)    Filed
                                                    COURT    01/08/21 Page 183 ofELECTRONICALLY
                                                          OF TENNESSEE            222 PageID FILED
                                                  466
                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103          2019 May 23 11:06 AM
                                            FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS                                     CLERK OF COURT

                                                       SUMMONS IN CIVIL ACTION
                                                                     Lawsuit
Docket No.                                                           Divorce                              Ad Damnum $


 ACUMENT GLOBAL TECHNOLOGIES,                                                         MALLINCKRODT ARD, INC.,
 INC.                                                                                 Formally known as QUESTCOR
                                                                                      PHARMACEUTICALS, INC., et al
                                                                           VS




                            Plaintiff(s)                                                                       Defendant(s)

TO: (Name and Address of Defendant (One defendant per summons))                                                         Method of Service:
                                                                                                                 Certified Mail
 PRIORITY HEALTHCARE DISTRIBUTION, INC.                                                                          Shelby County Sheriff
 doing business as CURASCRIPT SD AND
                                                                                                                 Commissioner of Insurance ($)
 CURASCRIPT SPECIALTY DISTRIBUTION SD, respectively
 1680 Century Center Parkway                                                                                     Secretary of State ($)
 Memphis, TN 38134-8827                                                                                           Other TN County Sheriff ($)
                                                                                                                  Private Process Server
                                                                                                                  Other
                                                                                                                          ($) Attach Required Fees

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on          Patrick Ardis, R.H. Chip Chockley, Daniel Parish Plaintiff's

attorney, whose address is      5810 Shelby Oaks Drive, Memphis, TN, 38134

telephone 901-763-3336                      within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you fail to do so, a judgment by default may be taken against you for the relief demanded in the Complaint.

                                                                                 TEMIIKA D. GIPSON, Clerk / DONNA RUSSELL, Clerk and Master


TESTED AND ISSUED                                                               By                                                                   , D.C.

                                                                 TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar ($10,000) personal property exemption from execution or seizure to satisfy a judgment. If a judgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you wish
to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as necessary; however, unless
it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed. These include items of necessary wearing apparel (clothing) for yourself and
your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible and school books. Should any of these
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek
the counsel of a lawyer.

                               FOR AMERICANS WITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341

I, TEMIIKA D. GIPSON / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certify this to be a true and accurate copy as filed this

                            20__

TEMIIKA D. GIPSON , Clerk / DONNA RUSSELL, Clerk and Master                 By: ______________________________, D.C.
        Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 184 of 222                                        PageID
                                   RETURN OF SERVICE
                                                467 OF SUMMONS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the             day of                                       , 20        at                  M. a copy of the summons

and a copy of the Complaint to the following Defendant

at



                                                                               By:
Signature of person accepting service                                                Sheriff or other authorized person to serve process




                                            RETURN OF NON-SERVICE OF SUMMONS

I HEREBY CERTIFY THAT I HAVE NOT SERVED THE WITHIN SUMMONS:

To the named Defendant

because                                   is (are) not to be found in this County after diligent search and inquiry for the following

reason(s):

This                   day of                                , 20         .



                                                                               By:
                                                                                     Sheriff or other authorized person to serve process
    Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 185 of 222   PageID
                                         468




                             The Shelby County, Tennessee Circuit Court




    Case Style:              ACUMENT GLOBAL TECH VS MALLINCKRODT ARD INC

    Case Number:             CT-2275-19

    Type:                    SUMMONS ISSD TO MISC




                                                  Kathryn Howard, DC




Electronically signed on 05/23/2019 03:24:12 PM
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 186 ofELECTRONICALLY
                                                                    222 PageID FILED
                                     469                             2019 Jun 05 3:31 PM
                                                                      CLERK OF COURT
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 187 of 222   PageID
                                     470
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 188 of 222   PageID
                                     471
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 189 ofELECTRONICALLY
                                                                    222 PageID FILED
                                     472                             2019 Jun 05 3:48 PM
                                                                      CLERK OF COURT
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 190 of 222   PageID
                                     473
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 191 of 222   PageID
                                     474
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 192 ofELECTRONICALLY
                                                                    222 PageID FILED
                                     475                             2019 Jun 05 4:14 PM
                                                                      CLERK OF COURT
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 193 of 222   PageID
                                     476
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 194 of 222   PageID
                                     477
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 195 ofELECTRONICALLY
                                                                    222 PageID FILED
                                     478                             2019 Jun 06 2:43 PM
                                                                      CLERK OF COURT
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 196 of 222   PageID
                                     479
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 197 of 222   PageID
                                     480
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 198 ofELECTRONICALLY
                                                                    222 PageID FILED
                                     481                             2019 Jul 23 3:15 PM
                                                                      CLERK OF COURT
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 199 of 222   PageID
                                     482
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 200 ofELECTRONICALLY
                                                                    222 PageID FILED
                                     483                             2019 Jul 23 3:15 PM
                                                                      CLERK OF COURT
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 201 of 222   PageID
                                     484
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 202 of 222   PageID
                                     485
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 203 of 222   PageID
                                     486
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 204 of 222   PageID
                                     487
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 205 of 222   PageID
                                     488
Case 2:21-cv-02024-JTF-tmp Document 1-10 Filed 01/08/21 Page 206 of 222   PageID
                                     489
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